                                           Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 1 of 91


          POLICY NUMBER: MP1 057 0130
          ITEM THREE SCHEDULE OF COVERED AUTOS YOU OWN
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                    Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 2 of 91


  POLICY NUMBKR: MP1Q57D130

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                 Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 3 of 91


  POLICY          UMBER: MP1 05701 30

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                            Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 4 of 91


 POLICY NUMBER: MP105 70130
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          Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 5 of 91




    BA140707 - ABC Concrete: Nelson v ABC Concrete & Montano
    Dick Harrison to: Ryan Gilmore                                                               05/04/2015 02:02 PM



     From:       Dick Harrison/NAICO

          To:    Ryan Gilmore/NAICO

          Cc:   Pat Giimore/NAICO@NAICO, Rick Evans/NAICO@NAiCO, Tony Gulley/NAICO@NAICO, tlagere@naico.com,

                James Bartodej/NA!CO@NAICO, James Malone/NAICO@NAICO




    Unless someone has a conflict, lets get together Wednesday, 9:30 AM, in Rick's
    conference room (B4-3).            Please advise if you have a conflict and need to reschedule.


    Dick
    4349

Ryan Gilmore—05/04/2015 01:05:55 PM —Below are my initial thoughts on this claim. I should be available this
week for a meeting if you wo


    From:       Ryan Gilmore/NAICO
    To:     Dick Harrison/NAICO@NAICO
    Cc:     Pat Gilmore/NAICO@NAICO
    Date:       05/04/2015 01:05 PM
    Subject:      Re: BA1 40707 - ABC Concrete: Nelson v ABC Concrete & Montano



    Below are my initial thoughts on this claim. I should be available this week for a meeting if you would like to
    discuss this claim, including our response to the tender of defense from the law firm hired by Scottsdale to
    defend Concrete and Montano.


    Is the DIV (Mr. Montano) entitled to coverage under the NAICO policy?


    Based on the facts as described by you in a previous email, I believe that a court would conclude that
    Montano was operating the covered "auto" at issue with the permission of both Septic and Concrete, and
    would therefore be entitled to an unqualified defense under the NAICO policy.


    Is Concrete an insured under the Scottsdale policy?


    I agree that Concrete is an insured under Paragraph 1,d. of the Scottsdale policy issued to Septic. This is
    because Concrete is a lessor of a covered "auto" that is leased to Septic under a written agreement that
    does not require Concrete to hold Septic harmless, and the covered "auto" at issue was being used in
    Septic's business as a "motor carrier" for hire. Concrete would also likely qualify as insured under Paragraph
    I.e. of the policy as someone iiable for the conduct of an "insured."

    Is the coverage afforded under the Scottsdale policy primary or excess over the the insurance
    afforded under the NAICO policy?


    Although there may arguments to the contrary, I believe that a court would likely conclude that the Scottsdale
    policy is excess over the NAICO policy. This is because I believe that, unlike Septic, Concrete is not a "motor
    carrier" for hire. In order to be a "motor carrier" under the Scottsdale policy, Concrete has to be a person or
    organization providing transportation by "auto" in the furtherance of a commercial enterprise (the definition of
    "motor carrier" in the policy). Unlike Septic, Concrete is not in the business of transporting persons or
    property. Rather, Concrete has someone else (Septic) transport its products. Thus, although the NAICO




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                                                    EXHIBIT
                                                    EXHIBIT 1
                                                                                                         NAICO 000681
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         Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 6 of 91




   policy issued to Concrete has several tractors and trailers listed, Concrete may not be a "motor carrier" as
   defined by the Scottsdale policy. Moreover, even if there were no dispute that Concrete is a "motor carrier"
    under the Scottdale policy, Concrete would still need to qualify as a "motor carrier" for hire (a phrase that is
    undefined in the Scottsdale policy). It should also be noted that unlike the Scottsdale policy (issued to
   Septic), the NAICO policy (issued to Concrete) contains neither a Form F endorsement nor an MCS
   90 endorsement. This is likely because Concrete is not required to have motor carrier authority. If Concrete
   was not required to have motor carrier authority, it may be difficult to argue that Concrete is a "motor carrier"
   for hire under the Scottsdale policy. However, if Concrete is a motor carrier for hire, I agree with you that the
    both the NAICO policy and the Scottsdale policy provide primary coverage to Concrete.




    Ryan Gilmore


    (406) 258-4263
    P.O. Box 9
    Chandler, OK 74834


Dick Harrison —04/27/201 5 1 1 : 30:44 AM — Ryan, This supplements my e-maiis of 4/22/1 5 & 4/24/1 5. We have
now received a copy of Scottsdale's


    From:      DickHarrison/NAICO
   To       Ryan Gilmore/NAlCO@NAiCO
   Co:      Pat Gilmore/NAICO@NAICO
    ate:       04/27/2015 11:30 AM
    Subject:     BA140707 - ABC Concrete: Nelson v ABC Concrete & Montano



    Ryan,


   This supplements my e-mails of 4/22/15 & 4/24/15. We have now received a copy of
    Scottsdale's policy. Attached is a copy that I have bookmarked & highlighted.

   The policy covers scheduled autos only. The involved vehicle is scheduled as vehicle #3.

    The key to our analysis of coverage will be the determination of whether or not ABC
    Concrete falls within the definition of "motor carrier" in the Motor Carrier Coverage Form
    (CA 00 20 10 13). The definition reads as follows: "Motor Carrier" means a person or
    organization providing transportation by "auto" in the furtherance of a commercial
    enterprise. Since the policy that NAICO issued to Concrete has several tractors & trailers
    listed, I think Concrete would fall within the definition of a "motor carrier"

    Concrete would be an insured under paragraph d of Who Is An Insured. The <1 ){a) &
    (1)(b) exceptions for "motor carriers" do not appear to apply to this situation. Therefore, I
    think Concrete is an insured under Scottsdale's policy.


    Under paragraph b of Other Insurance, Scottsdale's policy would be primary if Concrete is
    a "motor carrier". If Concrete is not a "motor carrier', Scottsdale's policy would be excess
    based on paragraph e of Other Insurance.




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                                                                                                          NAICO 000682
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   Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 7 of 91




If Concrete is a "motor carrier" as defined, I believe Concrete would be insured by both
policies and that both coverages would be primary. Therefore, they would apply on a
50/50 basis based on the limits.


Please review and advise your thoughts regarding the coverage issues and the
primary/excess issues. If you think we need additional information, please advise and I will
forward the request to the file handler.


Thanks,


Dick
4349


[attachment "BA140707 - 20131105 LT00015269 (Scottsdale).pdf' deleted by Ryan
Gilmore/NAICO]




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              Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 8 of 91

                                                                                                               darlene pis            check ownership

                                                                                                              report is different than
                                          . National                                                          named insured report


                                       American
                                        „ Insurance ^5%
                                          Company ^j/rr
                                                                                                             » TM
                                                     "Setting the standard that others strive for ...


March 12, 2013



                                                           REVIEWED
Mr. Doug Murray                By anita marshall at 12:40 pm, Mar 26, 2013
ABC Concrete Manufacturing Comjwr;                                T11U.



1004 South Lake Street
Farmington, NM 87401-5660


RE:        MP10570030 PR14100030 - 2/9/14


Dear Mr. Murray:


This is to confirm my March 1 1 telephone contact and thank you for taking the time to discuss the operations
at A B C Concrete Manufacturing Company, Inc. The purpose of my call was to obtain information for our
underwriting file and determine where I might be of assistance in your efforts to control costly accidents.


During our visit we discussed your operation, reviewed the loss control activities currently in place, and
discussed the past loss record.


As a result of my survey, I have no loss control recommendations to offer at this time.


I have enclosed for your use a copy of our safety video/DVD catalog. We encourage you to take advantage
of this free service for use in your safety program.


Thank you for your time and cooperation.                            If I can be of any service, feel free to contact me at 1-800-822-
7802 ext. 4506.


Sincerely,




Jimmie Mileham
Loss Control Consultant


cb
enclosure
cc:        Woods Insurance Service, Inc.
Our reports are based on observations or information available to us at the lime surveys are conducted which may not discover all hazards.     We cannot warrant
safety, health, or compliance with any ride or regulation. We can only assist you infulfilling your responsibility in controlling accidents.


                                          1010 Manvel Avenue              P.O. Box 9      Chandler, Oklahoma 74834
                                                         (405)258-0804         WATS 1-800-822-7802
                                                                                                                                               NAICO 003099


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                                                                          EXHIBIT 1
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Loss Control
Report Cover

 Account Name and P.O. Address                                                    Location(s) - Plants, Divisions, Other
 ABC Concrete Manufacturing Co., Inc.
  1004 South Lake Street
 Farmington, NM 87401-5660


 Coverage        Checklist           Date of            Surveyed     Office        Total           Policy Number                Expiration         Requested            Distribution of
                  LC No.             Report                         OK Only        Hours          (or "Prospective")               Date               Si           Loss Control Report:
                                                          Si

                                 3             13         JM                                      MP1 0570030               2       9        14       055         No.          Sent To:
    GL             NARR
                                      II                              OK


    AU           LC826                                                                                                                                             1             LCF



   PROP                                                                                           PR141 00030                                                      1             uw




 Person Contacted (Name and Titfe)                                                                                         Producing Agent                        Service Status

 Doug Murray, Owner                                                                                                        Woods Insurance                        NFS

 OWNERSHIP:        l~l INDIVIDUAL      n PARTNERSHIP               CORPORATION             dl OTHER (DESCRIBE):        (S PROFIT             NON-PROFIT)
 a) IN BUSINESS: 35 YEARS                           b) AT THIS ADDRESS:            YEARS                           c) UNDER PRESENT OWNERSHIP:                 YEARS



 INSURED IS    l~l TENANT I I GENERAL LESSEE I I OWNER.                       IS 90% OF THE PREMISES LEASED TO AND UNDER CONTROL OF A SINGLE LESSEE? I I YES I I NO
 COMMENT IN NARRATIVE AND ATTACH APPROPRIATE CHECKLIST(S) OR REPORT FORM(S).


 A. Nature and Size of Account (Briefly state nature of operations and indicate size; e.g., no. of employees, vehicles, etc):



The company is owned by Doug Murray - 49% and Juanita Murray - 51% (husband and wife). They operate
as a pre-cast concrete product company and manufacture over 200 items including manholes, septic tanks,
highway barriers, cattle guards, etc. This accounts for approximately 95% of their business. They also do ready
mix concrete. The ready mix operation hauls sand, gravel, and cement to their customers' locations and it is
mixed there for use on location. Pre-cast products are said to be sold in 46 states. They do no overseas sales.


Subcontractors are used very rarely and certificates of insurance are required.


f0n occasion the customer will be allowed on their yard, however, he must wear appropriate personal protective
equipment and be escorted by a member of management.


The company currently employs 1 1 of which two drive - the owner and his son.                                                                 Their busy season is from
April through November and employees may reach 20 at that time.


Vehicles consist of five trailers, two pickups, three truck tractors, and two mixer trucks.


 B. Summary of Loss Potential
     1.   Provide BRIEF comments on the strengths and/or weaknesses of present control measures, management and supervisory controls.
     2.   Provide BRIEF comments on significant loss problems and/or potentials. Delineate any exposures needing further evaluation.
     3.   List recommendations to correct substandard conditions noted in checklists (Indicate importance and probability of favorable action).
     4.   Explain any situation noted above where it is felt that conditions will not be brought to "standard risk" level.




LC820                                                                                                                                                 Additional Comments Attached
                                                               CONFIDENTIAL -FOR COMPANY USE ONLY                                       >
                                                                                                                                                                NAICO 003100


                                                                                EXHIBIT
                                                                                EXHIBIT 1
                                                                                        1
               Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 10 of 91


1.    Policyholder has several years of experience in this type of operation, having been in business since 1978.
The company is managed daily in a hands-on manner by the owner.                                     Policyholder was found to have a good
attitude toward safety and accident prevention and appears to be very proactive in his safety program.                                         It
appears that management does a good job of vehicle maintenance with proper documentation said to be
maintained.


2. Policyholder has had no significant loss problems in the past.


3. None.


4. None.


 C.   Loss Control Service Plan
      1 . Outline specific service plan to further evaluate and/or correct any conditions noted in B 1 or B 2.
      2. Show service contact months and indicate what foilow-up activity is planned for recommendations.


1. & 2. Due to size of account, no future loss control service is planned unless requested by underwriting. This
appears to be a standard risk for size and type of operation.




LC820                                                                                                                Additional Comments Attached
                                                      CONFIDENTIAL - FOR COMPANY USE ONLY
                                                                                                                            NAICO 003101


                                                                    EXHIBIT
                                                                    EXHIBIT 1
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              Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 11 of 91

Loss Control
Small or Incidental Fleet Survey Guide
(To be attached to LC820 - Report Cover)

Account Name:            ABC Concrete Manufacturing Company, Inc.                                                                       Policy No.          MP1 0570030

Surveyed By:                     JM                                                                                                     Report Date:            3   11   13


1.0    Vehicles

       1.1. Number of Vehicles                  Private                                                                      Semi-                            Other Special

                                              Passenger        Pickups             Vans         Trucks      Tractors         Trailers           Trailers       Equipment

                         Owned                                       3                             5                                                5

                         Leased

       1 .2. Are vehicles used for hauling?               8?] Yes        J"™] No          If yes, provide nature of cargo:
       Raw material and products.



       1.3. Is hauling done for hire?                         Yes        m.No
              If yes, percentage of time?                 %         Specialized Equipment:

              If yes, is hauling done for one firm only?         B Yes             ONo
       1.4. Normal radius of operations:            150 miles Vehicles taken out of State?                G Yes        IT"] No          Major cities:

       Comments:
       Policyholder is located in Farmington, NM, and will travel to Colorado, Arizona, and Utah.




2.0    Maintenance

       2.1. How often is regular maintenance performed?                  By mileage per manufacturer's recommendations

       2.2. Are records kept?                                    G Yes             13 No
       2.3. Who is responsible for having maintenance performed?                       Owner

       2.4. Who performs maintenance?              _Owner

       2.5. Any physical damage to vehicle(s)?                   G1 Yes            G No
              If yes, explain:

       2.6. Where are vehicles kept in evenings?              At insured's yard in Farmington

              If in lot, what type of security is in place?         Six foot chain link fence with razor wire & gated

              Sufficient lighting?                               |y] Yes           G No           Key control:     Yes
       Comments:




3.0    Drivers

       3.1. Are vehicles driven home by employees?                                           G Yes
       3.2. Are employees allowed other personal use of vehicles?                                 Yes     B No
       3.3. Are employee's family members allowed use of vehicles?                           B Yes        G No
              Youthful Drivers?                                                                   Yes     Bl No
       3.4. Any drivers with accidents or traffic violations?                                G Yes        B No




      LC826                                                                        Page 1 of 2
                                                                                                                                                        NAICO 003102


                                                                          EXHIBIT
                                                                          EXHIBIT 1
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           Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 12 of 91

 3.5. Hiring Practices for drivers:

                            MVRs checked?                           ElVes          10 No
                            Drug Testing?                           E Yes             No
                            Check of past work record?              Oves              No

                            Driver Turnover:                         Very little

                            Physicals?                              E Yes             No
 3.6. Are annual MVRs obtained on all drivers?                      E Yes            No
 3.7. Company use of personal vehicles?                                    Yes     E No
        If yes, certificates obtained?                                     Yes       No
        Limits required:

 3.8. Are all drivers property licensed?                            E Yes             No
 3.9. Total number of drivers?                                                         2

 3.10. Number of drivers with Commercial Driver Licenses:                              2

 3.1 1 . Are any drivers under the age of 25 or over 60?            El Yes         E No
 3.12. Driver Qualification files?                                  E Yes            No
 Comments:
 Currently only the owner and his son are driving.




 3.13. Describe driver training / orientation procedures:

 Informal driver training



 3.14. Policies on vehicle use?                                     E Yes             No
 3.15. Loss records?                                                E Yes             No
 3.16. Comments regarding previous losses / trends:

 Policyholder has had no large losses or trends.




LC826                                                        Page 2 of 2

                                                                                           NAICO 003103


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          Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 14 of 91



   ACORDn BUSINESS AUTO SECTION                                                                                                                                                          DATE (MMIDO/YY)

                                                                                                                                                      OP ID: NC                               1/29/2013
 PROOUCER
               I wc>o,ai): 506-326-1111                                       APPLICANT


                SSe.lto.M): 505-326-3130                                                   ABC Concrete Mfg. Co.
 Woods Insurance Service, Inc.                                                                                                                                 : Jr..:-
 P.O. Box 3830                                                                 EFFECTIVE DATE         EXPMATION DATE                WRECT aiL                    PAYMENT PLAN                            AUDIT
 Farmlngton, NM 87499
 Beverly Owen                                                                      02/09/13              02/09/14               X   AGENCY aii.
                                                                              FOR

 CODE:                                   8UBC00E:                             88RS3
 [customer c: ABCC001
 COVERAGE 8AJMTT8

      COVERAGES       COVERED AUTO SYMBOLS                                UMTS                                      COVERAGES          COVERED AUTO SYMBOLS                                   UMrrs


                      JL     1                 9
                                                    X [CSL I       I EAPER »                   1,000,000
 LIABILITY                  2          7            a EACH ACCIDENT            $

                             3           8          PROPERTY DAMAGE            $

 PERSONAL INJURY             5                      OR EQUIVALENT                          DEDUCTIBLE
 PROTECTION                                         NO-FAULT COVERAGE               $
                             7                                                                                                                         PHYSICAL DAMAGE

                            5                       TOTAL                wc    s
 AOOmONAL                                                                                                        TOWING                      3
 PIP.                                                                                                            & LABOR                                                    $
                            7                                            ME    $                                                             7.

 MEDICAL                JL*            rQT                                                                                                   2         « u»
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                                                    EACH PERSON                S                     6,000 COMPREHENSIVE
                            3          7 :                                                                                                   3

                        X   2          6            XJCSL (        | EA PER *                  1,000,000 SPECIFIED                           2
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 MOTORIST                              7                                                                                                     3         7
                            4                       PROPERTY DAMAGE            $
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                        X   2          6            XJCSL LJgLPER «                           1,000,000                                      3         7
 UNOERINSURED
                            3          7            a EACH ACCIDENT            S
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                            4                       PROPERTY DAMAGE            $
                      STATES
 HIRED/BORROWED      MM                             COST OF HIRE          |X | IF ANY BASIS                                      STATES      # DAYS        # VEH           COVERAGE/DEDUCTIBLE
 LIABILITY
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                        STATES
                                                    GROUPTYPE                              NUMBER OF         HIRED
                      NM                                                                                     PHYSICAL
                                                                                                                                                                                  copT        S
 NON-OWNED                                          _X EMPLOYEES                              10             DAMAGE                                                               COLL        $
 LIABILITY
                                                    _ VOLUNTEERS

                                                        PARTNERS                                                                     COVERAGE IS:                         PRIMARY                 SECONDARY
 ENDORSEMENTS, FORMS, CONDITIONS                                                                                           PIP P«r/Aoe UmJts:




 COVERED            (1 ) ANY AUTO                                     (4) OWNED AUTOS OTHER THAN PRIVATE PASSENGER                                     (7) AUTOS SPECIFIED ON SCHEDULE
AUTO                (2) ALL OWNED AUTOS                               (5) ALL OWNED AUTOS WHICH REQUIRE NO-FAULT COVERAGE                              (8) HIRED AUTOS
SYMBOLS             (3) OWNED PRIVATE PASSENGER AUTOS                 (6) OWNED AUTOS SUBJECT TO COMPULSORY U.M LAW                                    (9) NON-OWNED AUTOS
 DRIVER INFORMATION QncUgM drivf who fwqmntty 11— own VMM—)


DRIVER                                                                                                      YEAR                    DRIVERS LICENSE NUMBER/                           arATi
                            NAME (IocUmM addmss, i required)                            DATE OP BIRTH                                                                                             USE        *
  f                                                                                                          DC                     SOCIAL SECURITY NUMBER                             LIC        VEHt      USE

         Doug Murray                                                                                                  012186177
 001                                                                                     09/27/55                                                                                     NM

         John Clenin                                                                                                  029433224
 002                                                                                     05/08/48                                                                                     NM

         Jim Blevins                                                                                                  030424107
 003                                                                                     02/12/59

         Keith Bradley                                                                                                503430606
 004                                                                                     09/28/68                                                                                     NM

         Edward Dickson                                                                                               101926371
 005                                                                                     05/16/68                                                                                     NM




VEHKLE DESCRIPTION
 VEH §       YEAR   MAKE:        CPS                                                          TRAILER                                                                     SYMfAGE              COST NEW

  001        2000   model: Boltydump                                                    vm: 4Z41 1 1 6227P002979                                                                                         25,400
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city, state, ap Fanning ton NM
WHERE GARAGED 67401

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                                                                              * motor                   C OF L                                                                          $500               COLL
ACORD 127 (2/9*)                                                         PLEASE COMPLETE REVERSE 8PE                                                           C ACORD CORPORATION 1—3




                                                                                                                                                                                           NAICO 003740


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                                                                                   EXHIBIT 1
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           Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 15 of 91


                                                                                                                                                       ABCCQ01 OP lb; NC
  VEHICLE DESCRIPTION (continual)
   VEH,      YEAR    MAKE:    QtOka                                               Tfpl TRAILER                                                          SYWAGEI             COST NEW

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  KSS&d 87401                                                                                              68499
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                                                                                  tvwl- TRUCK
   003      1994     model;                                                       v.LN.:    1M1AA13Y1RW030174                                                                     16,000
                     Farmington NM                                     TERR                 GVWKJCW            CLASS         SIC     FACTOR    SEAT CI                     FARTHEST TERM
 ^^ 87401                                                                                                  36499
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 city, state, hp     Farmington NM
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   005      2006     Mooa^ Beaver                                                 VjM.:     1 1 2H8V3277L0721 22                                                                 18,530
                     Farmington NM                                     TERR                OVWQCW              CLASS         SIC     FACTOR    SEAT CI    RADIUS           FARTHEST YERM
 WSZ&o 87401                                                                                             68499
DRIVE TO WORK/SCHOOL USE                                    CHECK
                                             X   COMM'L     COVSIAGES             ADOrtPIp] X     MCHOR*         F           |L5p     DEDUCTIBLES I       | Acy I X [cpMpj        | "SPEC"
                                                                                                                                                                                     C OF L
       UNDER 15 MILES           PLEASURE         RETAIL      X   UAB          V   MEDPAY        ~Vm              FT      x^ COMP           I AA I       STAMT      *600
       15 MILES OR OVER         FARM             SERVICE         PIP         37 UN1NS                            FTW
                                                                             X motor                                     X    coa     $                            $500                coa
 ADDITIONAL NTERE8T 8/CERT1FICATE RECIPIENTS (ATTACH a«Ofri 45 FOR ADOITWNAL NAMES)

 MTEREST            RANK:         NAME AND AOORE8S [REFERENCE#:                                                  CERTWCATE REQUIRED                    INTEREST IN ITEM NUMBER

       ADDITIONAL MSURED         Ford Motor Credit (Atlanta)                                                           FORDM02              LOCATION:              BU1LDW3:

 X     LOSS PAYEE                                                                                                                           VEHICLE:     008       BOAT:
       MORTQAGEE                                                                                                                            SCHEDULED ITEM NUMBER:
       UENHOLDER                 P.O. Box 105704                                                                                            OTHER

       employee as lessor        Atlanta, GA 30348

                                 ITEM DESCRmON:
 GENERAL INFORMATION

 EXPLAIN ALL "YES" RESPONSES                                                         YES NO      7, DO OPERATIONS INVOLVE TRANSPORTING HAZARDOUS MATERIAL?                             X
 1, WITH THE EXCEPTION OF ENCUM BRANCHES, ARE ANY VEHICLES NOT SOLELY                           8. ANY HOLD HARMLESS AGREEMENTS?                                                       X
   OWNED BY ANO REGISTERED TO THE APPLICANT?
                                                                                                 0, ANY VEHICLES USED BY FAMILY MEMBERS? IF SO, IDENTIFY IN REMARKS,                   X
 2 . DO OVER 50% OF THE EMPLOYEES USE THEIR AUTOS IN THE BUSINESS?                          X   10. DOES THE APPLICANT OBTAIN MVR VERIFICATIONS?                                 X
3. IS THERE A VEHICLE MAINTENANCE PROGRAM IN OPERATION?                              X          11. DOES THE APPLICANT HAVE A SPECIFIC DRIVER RECRUITING METHOO?                       X
4. ARE ANY VEHICLES LEASED TO OTHERS?                                                       X   12. ARE ANY DRIVERS NOT COVERED BY WORKERS COMPENSATION?                               X
5 ARE ANY VEHICLES CUSTOMIZED, ALTERED OR HAVE SPECIAL EQUIPMENT?                           X   13, ANY VEHICLES OWNED BUT NOT SCHEDULED ON THIS APPLICATION?                          X
6. ARE ICC, PUC OR OTHER FILINGS REQUIRED?                                           X          14, ANY DRIVERS WITH MOVING TRAFFIC VIOLATIONS?                                        X
 DESCRIPTION OF GARAGE/STORAGE LOCATIONS                                                                                                   MAXIMUM DOLLAR VALUE 8USJECT TO LOSS



REMARKS




UMMSURED ANO UN0ERM3URED MOTORISTS COVERAGES (Ctwck ttw appropriate box{tt) Mow ami sRpi whwo appfeabte)

DO NOT USE M AR, AZ, CA, CT, DC, FL, OA, IA, t, MO, NJ, NV, OK, OR, PA, W, 8C, WV; USE SPECIFIC STATE SUPPLEMENT, MRSMUM UM LIMITS REQUPtED IN DC, ME, MN, MO, VT, VA, WA, WL


I UNDERSTAND ANO ACKNOWLEDGE THAT UNINSURED MOTORIST                                        X   .SELECTING UM ANO UIM UMITS EQUAL TO MY LIABILITY LIMITS,              "
(UM) AND UNDERINSURED MOTORISTS (UIM) COVERAGES HAVE                                            SELECTING UM ANO UIM UMITS LOWER THAN MY LIABILITY LIMITS. OR
BEEN EXPLAINED TO ME, I HAVE BEEN OFFERED THE OPTIONS OF:
                                                                                                REJECTING COVERAGE ENTIRELY.
I UNDERSTAND THAT THE COV                1. I SELECT UM AND UIM UMITS INDtC IN THIS APP                                                                 _ (APPLICANT'S SIGNATURE)
ERAGE SELECTION AND UMIT
                                         2. I REJECT UM BODILY INJURY COVERAGE                                                                          _ (APPLICANT'S SIGNATURE)
CHOICES INDICATED HERE WILL
APPLY TO ALL FUTURE POUCY                3. I REJECT UIM BOCXLY INJURY COVERAGE                                                                         _ (APPLICANTS SIGNATURE]
RENEWALS, CONTINUATIONS ANO
                                         4. I REJECT UM PROPERTY DAMAGE COVERAGE                                                                        _ (APPLICANT'S SIGNATURE)
CHANGES UNLESS I NOTIFY YOU
OTHERWISE IN WRITING.                    5. I REJECT UIM PROPERTY OAMAGE COVERAGE                                                                       _ (APPLICANTS SIGNATURE)
ACORD 127 (2/M)                                             ATTACH TO APPLICANT MFORMATION SECTION




                                                                                                                                                                       NAICO 003741


                                                                              EXHIBIT
                                                                              EXHIBIT 1
                                                                                      1
Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 16 of 91
       PR#119220          RAY, GLAETTA             2/28/2017


            IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEW MEXICO

 NATIONAL AMERICAN INSURANCE
 COMPANY,

             Plaintiff,

 vs.                                  No. 1:15-CV-01169-KG-KBM

 ABC CONCRETE MFG., CO., INC.;
 ABC CONCRETE MFG. CO., INC.
 d/b/a ABC SEPTIC SYSTEMS,
 INC.; NICHOLAS MONTANO;
 SCOTTSDALE INSURANCE COMPANY
 and NATIONAL CASUALTY COMPANY,
           Defendants.

                 DEPOSITION OF GLAETTA RAY
             TAKEN ON BEHALF OF THE DEFENDANTS
              ON FEBRUARY 28, 2017 AT 8:39 AM
                 IN OKLAHOMA CITY, OKLAHOMA

                      APPEARANCES
 On behalf of the PLAINTIFF:
 James H. Johansen
 BUTT, THORNTON & BAEHR, P.C.
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 On behalf of the PLAINTIFF:
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 NATIONAL AMERICAN INSURANCE COMPANY
 1010 Manvel Avenue
 Chandler, Oklahoma 74834
 405.258.4262
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 (Appearances continued on Page 2.)
 REPORTED BY:   Jody Graham, CSR, RPR, RMR, CRR


                                 1




                           EXHIBIT 2
Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 17 of 91
          PR#119220                            RAY, GLAETTA                               2/28/2017
 1   New Mexico to Arizona, would that be long-haul            1       Q And when you were writing long-haul trucking
 2   trucking business for you?                                2   business, did you oversee that business from an
 3      A Depends on what it's for. If it's something          3   underwriting perspective?
 4   that they do on a regular basis or if they're doing it    4       A For a short -- for a short period of time.
 5   for hire for others. It would depend on the nature of     5       Q Okay. And you understand that to cross
 6   the business.                                             6   state lines in a tractor-trailer -- which I'll define
 7      Q Okay. Let me just go back for a minute. So           7   as a vehicle with a gross vehicle weight of over
 8   would you define long-haul for me, please.                8   26,000 pounds -- that whatever entity is operating the
 9      A Long-haul?                                           9   truck has to have some sort of authority from the
10      Q I want to know how the company or how you           10   federal government?
11   understand NAICO defines the term "long-haul" in the     11       A Yes, sir.
12   context of your long-haul trucking --                    12       Q Okay. So, in other words, a private motor
13      A Program?                                            13   carrier crossing state lines, it's your understanding,
14      Q -- business.                                        14   still has to have authority from the federal
15      A Well, the long --                                   15   government?
16          MR. JOHANSEN: Object to the form. Are you         16       A Yes.
17   asking her whether -- how she defines it or how the      17       Q Okay. Now, when you would write long-haul
18   company defines it?                                      18   trucking business, I assume you would write some
19          MR. McMICKLE: How she understands the             19   private carriers and some for-hire carriers?
20   company defines it.                                      20       A I believe that we did. I think the majority
21          MR. JOHANSEN: Okay.                               21   of what we have is actual for-hire.
22          THE WITNESS: Okay. Well, I mean,                  22       Q Okay. Do you ever recall writing a private
23   long-haul -- I mean, definition of long-haul's           23   carrier?
24   anything that's over 200 miles.                          24       A Not -- no, not myself, I didn't.
25      Q (BY MR. McMICKLE) Where did you get that            25       Q Okay. Do you ever recall limiting coverage

                           18                                                           20

 1   definition?                                               1   or precluding coverage for a private carrier by the
 2      A That definition is from the Insurance                2   addition of something like a for-hire exclusion or an
 3   Services Organization.                                    3   exclusion that would preclude coverage if the motor
 4      Q The ISO?                                             4   carrier was acting in a for-hire capacity?
 5      A Yes, ISO which is what we follow.                    5          MR. JOHANSEN: Object to the form.
 6      Q Okay. And what do you classify -- or how do          6          THE WITNESS: No, sir.
 7   you define interstate?                                    7      Q (BY MR. McMICKLE) Have you ever heard or
 8      A Interstate, crossing one state line to the           8   seen of anything like that?
 9   other.                                                    9      A Not that I recall.
10      Q Okay. And how do you define for-hire?               10      Q Okay. Now, in this case with regard to this
11      A When they haul for people other than                11   policy -- and I'm talking about the NAICO policy from
12   themselves.                                              12   February of '14 to whenever it was canceled. Maybe it
13      Q Okay. And when you were writing long-haul           13   was the next one was canceled. But from February of
14   trucking business, did you rate for-hire motor           14   '14 to the -- February of '15 and the one that
15   carriers differently than private carriers?              15   preceded that; okay?
16      A Yes.                                                16      A Okay.
17      Q How did you rate them? What was the                 17      Q If you had known that Concrete, your named
18   difference?                                              18   insured, operated an interstate commerce as a private
19      A It was just a classification issue.                 19   motor carrier, would you have issued the policy?
20      Q Okay. Was one cheaper than the other?               20      A No, sir.
21      A Yes, I believe it was a little bit cheaper.         21      Q Okay. So whether they operated within a
22      Q Which one was cheaper?                              22   normal radius of 150 miles wouldn't have meant
23      A The one that they -- for themselves.                23   anything to you?
24      Q Private?                                            24      A No.
25      A Yes.                                                25      Q Okay. I show you what's been marked as

                           19                                                           21
                                                                                        6 (Pages 18 to 21)




                                                  EXHIBIT 2
Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 18 of 91
           PR#119220                           RAY, GLAETTA                               2/28/2017
 1   words, there was some sort of agreement that NAICO        1   me that it does provide coverage for Concrete's
 2   and Concrete reached that is either not memorialized      2   trucking operations?
 3   in here or improperly memorialized in here. I'm           3       A Well, it --
 4   referring again to the policy. What I want to know        4           MR. JOHANSEN: Object to the form.
 5   is what is that -- what was that mutual mistake, to       5   Foundation.
 6   your knowledge?                                           6           THE WITNESS: Yes, it does.
 7          MR. JOHANSEN: Object to the form.                  7       Q (BY MR. McMICKLE) Okay. And you're
 8   Foundation.                                               8   telling me that there's some sort of mistake or
 9          THE WITNESS: The mistake that we -- that I         9   mutual mistake between NAICO and Concrete that is
10   see, I mean, from now -- look -- with the knowledge      10   not included in the policy?
11   that we have now is that there was some trucking         11       A Yes, sir.
12   exposure that -- services that they were doing that we   12       Q And can you write those down, tell me what
13   were not aware of and was not the intent of writing      13   the first mistake was?
14   the policy.                                              14           MR. JOHANSEN: Object to the form.
15       Q (BY MR. McMICKLE) Would that be things             15   Foundation. Go ahead.
16   like Concrete operating an interstate commerce?          16           THE WITNESS: After the fact that we did not
17          MR. JOHANSEN: Object to the form.                 17   know when we wrote the policy, was that they did have
18          THE WITNESS: Could be.                            18   the trucking services. That's why we asked to cancel
19       Q (BY MR. McMICKLE) Okay. What I'm trying            19   it, or for them to move the coverage and cancel it.
20   to figure out is what was the agreement between          20   It's also why we changed the symbols to 7, 8 and 9.
21   NAICO and Concrete that you contend that exists that     21   It was not the intent to cover all those trucking
22   is not present in this policy or is improperly           22   operations. It's our understanding that was written
23   memorialized in this policy? Can you tell me that?       23   separately on a different policy and different
24          MR. JOHANSEN: Object to the form.                 24   operation.
25   Foundation.                                              25       Q (BY MR. McMICKLE) Okay. Now, you're

                          54                                                            56

 1          THE WITNESS: No. Because I don't really            1   aware that NAICO specifically scheduled
 2   know what you're asking me.                               2   tractor-trailers in its policy?
 3       Q (BY MR. McMICKLE) Okay. Is there any                3      A Yes, sir.
 4   agreement that you're aware of between NAICO and          4      Q Okay. And that in and of itself is not a
 5   Concrete that is not present in the policy that is        5   trucking operation, as far as you're concerned?
 6   Exhibit C -- Z, excuse me?                                6      A No. We write lots of accounts like that.
 7          MR. JOHANSEN: Object to the form.                  7      Q Okay. To be a trucking operation, it would
 8   Foundation.                                               8   have to include things like, say, crossing state
 9          THE WITNESS: The only -- I mean, the               9   lines; is that right?
10   trucking -- the for-hire trucking exposure is not part   10          MR. JOHANSEN: Object to the form.
11   of that policy which is -- isn't a part of the           11   Foundation.
12   agreement.                                               12      Q (BY MR. McMICKLE) I'm sorry. You can
13       Q (BY MR. McMICKLE) Would you agree with me          13   answer.
14   that, as written, this policy would cover really any     14      A I don't really understand what you're
15   trucking operation of Concrete?                          15   asking. Will you ask it a different way?
16          MR. JOHANSEN: Object to the form.                 16          MR. McMICKLE: Will you read the question
17   Foundation.                                              17   back, please.
18          THE WITNESS: That's not what the intent           18          (Whereupon the record was read: To be a
19   when we issued the policy was. We did not --             19   trucking operation, it would have to include things
20       Q (BY MR. McMICKLE) Go ahead.                        20   like crossing state lines; is that right?)
21       A -- anticipate having any coverage for the          21          THE WITNESS: It could include that.
22   trucking exposure.                                       22      Q (BY MR. McMICKLE) Okay. What about
23       Q Okay. What I'm trying to say is "as is".           23   operating -- well, let me ask you this: Doug Murray
24   And I'm not trying to argue with you. I'm just trying    24   testified in his deposition that Concrete trucks
25                                                            25   under Concrete authority, okay, went for numerous
     to say this policy, as written, would you agree with

                          55                                                            57
                                                                                      15 (Pages 54 to 57)




                                                  EXHIBIT 2
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          PR#119220                           RAY, GLAETTA                               2/28/2017
 1   trips from Farmington, New Mexico, to Fort Bliss,        1          MR. McMICKLE: Oh, no. I tend to take that
 2   Texas, about 400 miles each way, give or take            2   position, but I've had it taken otherwise. So, okay,
 3   20 miles; okay? He says in his deposition -- and         3   we'll play by that rule. Thank you.
 4   deposition says what it says, but I'm just repeating     4          THE WITNESS: Thank you.
 5   it for you -- that he intended for that trucking         5          MR. JOHANSEN: Thank you.
 6   operation, if you will, to be covered under the          6          (A recess was taken from 9:39 AM to
 7   NAICO policy; okay? That's what he says.                 7   9:56 AM.)
 8       A Okay.                                              8       Q (BY MR. McMICKLE) Ma'am, what is Exhibit
 9       Q Did you at NAICO intend for that type of           9   OO?
10   operation to be covered?                                10          MR. JOHANSEN: Look through that.
11       A No. That's not what we understood.                11          THE WITNESS: It's just an email from the
12       Q Okay. So there wasn't a mistake, if you           12   agent binding the February 9th, '13 property, GL,
13   will, because on the one hand you've got Doug saying    13   auto, crime and umbrella policies.
14   he expected it to be discovered and on the other hand   14       Q (BY MR. McMICKLE) Okay.
15   you're saying you did not expect it to be covered?      15       A Applications attached. And some signed
16       A Yes, sir.                                         16   terrorism forms, UM forms, a contractor's
17       Q So would you agree that that's not a mutual       17   supplemental.
18   mistake between NAICO and Concrete?                     18       Q So this is an email with attached documents
19       A We --                                             19   from the agent at Woods to Nichole Cottington?
20          MR. JOHANSEN: Object to the form.                20       A From her to Anita.
21   Foundation.                                             21       Q Marshall, okay. I'm sorry.
22       Q (BY MR. McMICKLE) I'm sorry?                      22       A Yes -- yes, sir.
23       A No.                                               23       Q And it looks like the email is on February
24       Q You would agree with that statement?              24   12th and you're binding coverage -- you're backdating
25       A No, I wouldn't think it was -- I mean, it         25   coverage for three days; is that right?

                          58                                                           60

 1   was a mistake, yes. I mean, whether it's mutual, I       1       A Yes, sir.
 2   don't know. That's a fact.                               2       Q It that typical at NAICO?
 3       Q Okay. Does it appear to you that it's not a        3       A It is at times. The -- sometimes the agents
 4   mutual mistake?                                          4   just call us and say, "We haven't got all the
 5          MR. JOHANSEN: Object to the form.                 5   documents together to formally send an email, but we
 6   Foundation.                                              6   want to renew the policy so" --
 7       Q (BY MR. McMICKLE) You can still answer.            7       Q Okay.
 8       A Well, he understood it one way and we              8       A So it's common.
 9   understood it a different way.                           9       Q I'm not sure if this was a renewal or a new
10       Q Okay.                                             10   policy. Do you know?
11       A So I wouldn't think that was mutual.              11       A I believe it was a renewal. I'm pretty sure
12       Q All right.                                        12   it was a renewal.
13          MR. JOHANSEN: We've been at it more than an      13       Q Okay. And, like, if you'll look at the next
14   hour. Let's take a quick break.                         14   page.
15          MR. McMICKLE: So how do we -- I go all           15       A No, it wasn't. Maybe it wasn't. This may
16   around the country and some lawyers say that when a     16   have been a new policy.
17   lawyer talks to a witness in between a -- in a break    17       Q I think it was the new one.
18   in a deposition that that's not a privileged            18       A I think this is the first year that we wrote
19   conversation. I don't care how we handle this, but I    19   it. It was, I believe.
20   just want it to be consistent.                          20       Q Okay. If you'll look at page 2 of that
21          MR. JOHANSEN: No.                                21   document.
22          MR. McMICKLE: Do you --                          22       A (Witness complies.)
23          MR. JOHANSEN: Ms. Ray's my client.               23       Q Looks like the applicant is CAB Concrete
24   Everything that we discuss is protected by              24   with a mailing address at ABC Septic Systems?
25   attorney/client privilege.                              25       A Yes, sir.

                          59                                                           61
                                                                                     16 (Pages 58 to 61)




                                                 EXHIBIT 2
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           PR#119220                           RAY, GLAETTA                                    2/28/2017
 1          MR. JOHANSEN: Object to the form.                  1   neither NAICO nor Concrete contemplated that NAICO
 2   Foundation.                                               2   would insure Concrete for any long-haul trucking
 3          THE WITNESS: It was not our intent.                3   activities?
 4       Q (BY MR. McMICKLE) I understand what your            4      A It was not our -- no, we did not intend to
 5   intent was, but what I'm -- your lawyers have made        5   cover long-haul trucking, no.
 6   an allegation to a Court, and I'm trying to find out      6      Q Okay. Okay. Paragraph 51 says, "When it
 7   if that allocation is true. Okay? I understand            7   issued the contract with NAICO, ABC MFG believed ABC
 8   what your intent was, but the allegation talks about      8   Septic was a separate entity." Do you see that?
 9   the intent of both NAICO and Concrete. Okay?              9     A Yes, sir.
10       A I don't know what the intent of Concrete           10      Q What did NAICO believe at the time?
11   was.                                                     11      A Well, we weren't aware of the Septic, but we
12       Q Okay. And is that because there was no sort        12   did believe that they had a separate operation and
13   of mutual understanding between NAICO and Concrete?      13   legal entity.
14          MR. JOHANSEN: Object to the form.                 14      Q So from the text we saw in the email about
15   Foundation.                                              15   separate operation, you concluded that that meant a
16          THE WITNESS: The information that we had          16   separate legal entity?
17   was that they were doing local radius; and then after    17      A Yes, sir.
18   the loss control, that they were going into -- hauling   18      Q Okay. Go to paragraph 54, please.
19   into other states.                                       19      A (Witness complies.)
20       Q (BY MR. McMICKLE) So did NAICO, to your            20      Q When the policy was issued or at least when
21   knowledge, know anything about ABC Septic when it        21   the loss control survey came in --
22   underwrote the policy at issue?                          22      A Uh-huh.
23       A No.                                                23      Q -- did NAICO intend to insure Concrete for
24       Q Go to paragraph 50, if you don't mind, on          24   interstate trucking operations?
25   page 718.                                                25      A There were some interstate operations, yes.

                          78                                                                80

 1      A (Witness complies.)                                  1       Q Okay. So the first sentence in paragraph 54
 2      Q If I were to take out the word "for-hire"            2   of the complaint is not entirely true; is that
 3   out of the allegation in paragraph 50, would that be a    3   correct?
 4   false statement?                                          4       A It was not for hire.
 5           MR. JOHANSEN: Object to the form.                 5       Q Okay. I'm sorry. You need to answer that
 6           THE WITNESS: No.                                  6   question. Then you can explain.
 7      Q (BY MR. McMICKLE) Okay. What about it                7       A Yes.
 8   would be false?                                           8       Q Is it correct to say that paragraph -- or
 9           MR. JOHANSEN: She said no to your question.       9   the first sentence of paragraph 54 as stated is not
10           THE WITNESS: It would not be false.              10   entirely correct?
11      Q (BY MR. McMICKLE) Oh, all right. Maybe I            11          MR. JOHANSEN: Object to the form.
12   asked a bad question. So if I took out the word          12   Foundation.
13   "for-hire" and it read, "Neither NAICO nor ABC           13          THE WITNESS: Yes.
14   Concrete contemplated that NAICO would insure ABC        14       Q (BY MR. McMICKLE) Okay. So what you're
15   Manufacturing for any long-haul trucking                 15   telling me is that -- and I've heard you say this
16   activities," do you think that would be a correct        16   several times -- that what really mattered to you
17   statement?                                               17   was for-hire?
18           MR. JOHANSEN: Object to the form.                18       A Okay.
19   Foundation.                                              19       Q What to you was the material difference in
20           THE WITNESS: No, I don't -- I don't think        20   risk between, say, a for-hire motor carrier and a
21   that's -- that would be -- that would still be a         21   private motor carrier?
22   correct statement.                                       22       A Well, the for-hire is one that they travel
23      Q (BY MR. McMICKLE) So, in other words, if            23   all over the country hauling all different kinds of
24   I were to say this: Is it true that at the time          24   merchandise.
25   this policy was issued, it is your contention that       25       Q Okay. Any other material distinctions

                          79                                                                81
                                                                                            21 (Pages 78 to 81)




                                                  EXHIBIT 2
Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 21 of 91
          PR#119220                            RAY, GLAETTA                               2/28/2017
 1   between for-hire and private motor carriers?              1      A No.
 2       A A private carrier could do the same. I              2      Q Okay. So you indicate in paragraph 54 --
 3   mean, they could go all over the country, as well.        3   and we've talked about the first sentence, but Had
 4       Q So what I'm trying to ask you is -- I'd like        4   you -- and the second sentence says had you known the
 5   for you to describe to the Court what you as the          5   true facts, you would have issued a specifically
 6   underwriting manager believe to be the material           6   described auto policy; right? Do you see that?
 7   distinctions, if any, from a risk perspective.            7      A Yes, I see it.
 8       A Well, the long-haul exposure going all over         8      Q Now, specifically described autos in a
 9   the country was potential --                              9   business auto form is just symbol 7; right?
10       Q Okay.                                              10      A Yes, sir.
11       A -- and the for-hire.                               11      Q So what NAICO's telling the Court there is
12       Q Well, so we're on a comparison and contrast        12   that, "Had we known the true facts, we would have
13   endeavor at the moment. And I want you to tell me        13   issued a symbol 7 policy"?
14   what it is about for-hire motor carriage that presents   14      A Right.
15   a greater risk, if you will, to NAICO than private       15      Q Okay. And it says you would not have
16   motor carriage.                                          16   included vehicles involved in for-hire, long-haul
17       A Well, for-hire, you're -- they're hiring a         17   trucking.
18   lot of drivers that are not employees of the company     18      A Correct.
19   and, in our opinion -- or my opinion, creates a larger   19      Q How would you do that?
20   risk to insure.                                          20      A How would you insure them?
21       Q So you're saying that you believe that             21      Q How would you not have included vehicles
22   for-hire carriers only hire owner/operators and that     22   involved in for-hire, long-haul trucking?
23   private motor carriers don't hire owner/operators?       23      A Well, they would have been specifically
24       A No, they could.                                    24   described on the policy by symbol 7.
25       Q Okay. So tell me -- again, we're trying            25      Q Okay. Well, this insured told you in an

                          82                                                            84

 1   to -- I just need to understand what NAICO believes       1   application that it wanted you to insure tractors and
 2   the material distinctions, if any, might be between a     2   trailers that were capable of operating over the road;
 3   for-hire motor carrier and a private motor carrier.       3   correct?
 4           MR. JOHANSEN: Object to the form.                 4      A Yes.
 5   Foundation.                                               5      Q If the insured had asked you to schedule
 6       Q (BY MR. McMICKLE) And we've kind of                 6   those trucks, wouldn't they be covered in any
 7   started a couple and then retracted. And so I             7   situation whether or not they were for-hire or
 8   just -- what I need to know is I need a list of all       8   private?
 9   material distinctions between a for-hire motor            9      A I believe there's some definitions in the
10   carrier and a private motor carrier.                     10   "Who is an insured" that would exempt for-hire.
11           MR. JOHANSEN: Object to the form.                11      Q Okay. Let's look at those. Exhibit Z is
12   Foundation.                                              12   that policy.
13       Q (BY MR. McMICKLE) From a risk                      13      A Oh.
14   perspective.                                             14      Q Are you talking about the "Who is an
15       A A risk perspective? Well, the distinct -- I        15   insured" in the business auto thing?
16   don't -- I don't really know what you're looking for     16      A Yes, sir.
17   here, but our largest -- our largest concern is the      17      Q Did you find it there? Is there anything in
18   amount of travel over the road.                          18   there about for-hire?
19       Q Like the number of miles?                          19      A No, but it does stipulate that anyone using
20       A Yes, the number of miles traveled.                 20   a covered auto you own, the owner is -- except the
21       Q Do you have any reason to believe that             21   owner of anyone else who you hire or borrow covered
22   private carriers haul or log less miles than for-hire    22   auto.
23   motor carriers?                                          23      Q Okay. Now, you, which would be Concrete, is
24       A I don't know.                                      24   always an insured for a covered auto; correct?
25       Q Okay. Anything else?                               25      A Yes.

                          83                                                            85
                                                                                       22 (Pages 82 to 85)




                                                  EXHIBIT 2
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          PR#119220                           RAY, GLAETTA                              2/28/2017
 1   answer to that question?                                1   controls the interpretation of your policy?
 2       A I haven't seen anything.                          2          MR. JOHANSEN: Object to the form.
 3       Q Okay.                                             3   Foundation.
 4       A We never got a request or a copy of the           4          THE WITNESS: No.
 5   authority so I don't know that we did.                  5       Q (BY MR. McMICKLE) If Doug Murray signed
 6       Q Okay. So what I'm hearing you say is that         6   the application for this policy the first time after
 7   she was looking into the authority question. You're     7   the effective date of the policy, would that have
 8   just not sure what questions she asked and what         8   been a breach of NAICO's protocols?
 9   information she received?                               9       A No.
10       A Well, we never received anything requesting      10          MR. JOHANSEN: Object to the form.
11   the filing.                                            11   Foundation.
12       Q Okay. Is it correct to say that from what        12          MR. McMICKLE: Okay. All right. I think
13   you're seeing here that you believe that Anita         13   I'm done. Give me about three minutes, if you will,
14   Marshall was looking into Concrete's authority?        14   to sort of go back through some notes. I don't want
15       A Yes.                                             15   you to sit here and have to watch me do that.
16       Q Okay. And she was asking questions about         16          THE WITNESS: Okay.
17   it?                                                    17          MR. JOHANSEN: Yeah. Let's take a break,
18       A She asked the question, yes.                     18   then.
19       Q Okay. And do you know who she would have         19          (A recess was taken from 10:50 AM to
20   asked the question to?                                 20   10:58 AM.)
21           MR. JOHANSEN: Object to the form.              21       Q (BY MR. McMICKLE) I show you what's been
22   Foundation.                                            22   marked as Exhibit PP. And I just want you to look
23           THE WITNESS: I don't know. Whoever she was     23   at page 8.
24   working with at the agency.                            24       A (Witness complies.)
25       Q (BY MR. McMICKLE) But you expect that she        25       Q Do you see number 20 there?

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 1   would have asked somebody at Woods?                     1       A Yes.
 2       A Yes, sir.                                         2       Q Read that if you will.
 3          MR. JOHANSEN: Object to the form.                3       A "Admit that" --
 4   Foundation.                                             4       Q You don't have it read it out loud.
 5       Q (BY MR. McMICKLE) Okay. And do you have           5       A Oh, okay.
 6   any -- is there any information in what we've looked    6       Q So what this is is I asked -- request to
 7   at that would suggest what the answer was?              7   admit to your company -- and so that request is my
 8          MR. JOHANSEN: Object to the form.                8   request and I'm just saying, hey, admit or deny
 9   Foundation.                                             9   whatever's there.
10          THE WITNESS: No.                                10       A Okay.
11          MR. McMICKLE: I'll give you a continuing        11       Q And it was denied. What I need to know from
12   objection to everything.                               12   you is as you sit here today, do you believe that the
13          MR. JOHANSEN: I know. But thank you.            13   denial of that request was correct?
14       Q (BY MR. McMICKLE) When did -- I'll ask           14       A Yes.
15   that later of someone else. There was an affidavit     15       Q Okay. So NAICO had no intention of covering
16   that was sent to Concrete after this loss occurred     16   trucks operating under ABC's authority as a private
17   trying to get Mr. Murray to sign an affidavit that     17   interstate carrier?
18   said certain things. Do you have any familiarity       18       A Correct.
19   with that affidavit?                                   19       Q I'm going to show you Exhibit QQ. Can you
20       A No, sir.                                         20   tell me what that is?
21       Q Did you draft it or participate in a             21       A It's a rate comparison from one year to
22   discussion about drafting it?                          22   another and premiums -- premium comparison --
23       A No.                                              23       Q Okay. And so --
24       Q Okay. Is it your position that what the          24       A -- for the different vehicles.
25   insured intends to be covered under your policy        25       Q -- it looks like there she's -- or

                          99                                                         101
                                                                                   26 (Pages 98 to 101)




                                                EXHIBIT 2
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                                                                                                                  Page 1
                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO



                 NATIONAL AMERICAN INSURANCE COMPANY,

                                 Plaintiff,
                 -vs-                                  No. 1:15-CV-01169 KG-KBM

                 ABC CONCRETE MFG. CO., INC.;
                 ABC CONCRETE MFG. CO., INC. d/b/a
                 ABC SEPTIC SYSTEMS, INC.,
                 NICHOLAS MONTANO;
                 SCOTTSDALE INSURANCE COMPANY;
                 and NATIONAL CASUALTY COMPANY,

                                 Defendants.


                                    DEPOSITION OF DOUGLAS MURRAY
                                    October 25, 2016
                                    8:52 a.m.
                                    105 North Orchard Avenue
                                    Farmington, New Mexico

                    PURSUANT TO THE NEW MEXICO RULES OF CIVIL
                 PROCEDURE, this deposition was:

                 TAKEN BY: MR. BRETT C. EATON
                      ATTORNEY FOR THE PLAINTIFF



                 REPORTED BY: CAROLYN B. McKEE, CSR, RPR, CM - NO. 173
                       518 County Road 4990
                       Bloomfield, New Mexico 87413

                                                             Trattel Court Reporting & Videography
                                                                         505-830-0600

                                                                    EXHIBIT 3
                                                                                                     c0878923-b549-437b-b228-08b62fa10972
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                                                                  Page 34                                                                Page 36
    1        Q. And when I say "your products", do you understand                  1      name of the applicant there?
    2      me to mean ABC Concrete Manufacturing?                                  2         A. ABC Concrete Manufacturing Company, Incorporated.
    3        A. Yes, sir.                                                          3         Q. Then under the FEIN or social security number,
    4        Q. Did ABC Septic ship other products in long haul                    4      what number's listed?
    5      or interstate transportation --                                         5         A. XX-XXXXXXX.
    6        A. Yes, sir.                                                          6         Q. Do you know why two different tax numbers are
    7        Q. -- aside from ABC Concrete?                                        7      listed on these forms?
    8        A. Yes, sir.                                                          8         A. Because they're two separate companies.
    9        Q. Okay.                                                              9         Q. So is it your understanding --
   10              MR. BURNS: Can we take a break for just one                    10               MR. McMICKLE: Where's that other one?
   11      moment?                                                                11               MR. EATON: Did I give you both?
   12              MR. EATON: Sure.                                               12            (A discussion was held off the record.)
   13           (Break taken from 9:31 a.m. to 9:33 a.m.)                         13         Q. Were you paying taxes -- in 2012, were you paying
   14        A. Okay, I'm ready.                                                  14      taxes for ABC Septic Systems?
   15        Q. (By Mr. Eaton) We're done with E for now.                         15         A. You need to clarify the question.
   16        A. Okay.                                                             16               MR. McMICKLE: Separate tax returns.
   17               (Deposition Exhibits F and G                                  17         Q. Separate tax returns, thank you. Did you have
   18               were marked for identification.)                              18      separate tax returns for ABC Septic Systems --
   19        Q. I'm going to hand you two. The first one we'll                    19         A. No.
   20      mark as Exhibit F is the Commercial Insurance                          20         Q. -- and ABC Concrete Manufacturing in 2012?
   21      Application dated 10/24/2012.                                          21         A. No.
   22           And then the second one, which we'll mark as                      22         Q. Were you filing a single tax return for both
   23      Exhibit G, is the insurance application -- Commercial                  23      companies?
   24      Insurance Application dated November 8th, 2012.                        24         A. I believe -- yes, I believe so.
   25        A. Okay, sir.                                                        25         Q. Based on these documents here, does it appear


                                                                  Page 35                                                                Page 37
    1        Q. Looking at Exhibit F, who's identified in the                      1      that there were two separate tax IDs?
    2      applicant information? And just for the record, this is                 2        A. Yes.
    3      Woods Bates number 0734.                                                3        Q. And one of them was for ABC Septic Systems and
    4        A. ABC Septic Systems, Incorporated. Then under                       4      one was for ABC Concrete Manufacturing?
    5      that is ABC Concrete, Incorporated.                                     5        A. That is correct.
    6        Q. And again, do you know why both were listed in                     6        Q. I just want to compare the two insurance
    7      this case?                                                              7      coverage -- or types of insurance coverage that were
    8        A. No, sir.                                                           8      being sought in each.
    9        Q. And would this -- again at the top under the                       9          In Exhibit F, Woods Bates number 734, you've
   10      agency, who is the agent listed in the agency box?                     10      identified you were seeking business auto and
   11        A. Woods Insurance Service, Incorporated.                            11      transportation/motor truck cargo.
   12        Q. Then moving over to the right, it's Carrier.                      12          What were you seeking for ABC Concrete
   13      Who's the carrier listed in that box?                                  13      Manufacturing Company on Exhibit G, which is Bates
   14        A. Cochrane & Company.                                               14      number Woods 677?
   15        Q. Under -- about two boxes underneath it says:                      15        A. Business auto, commercial general liability,
   16      Indicate - Sections Attached". Which two sections were                 16      equipment floaters, and property insurance.
   17      checked off in that section?                                           17        Q. Is there a reason why you were no longer seeking
   18        A. Business auto and transportation/motor truck                      18      transportation/motor truck cargo?
   19      cargo.                                                                 19        A. ABC Concrete does not have the authority to
   20        Q. Underneath the applicant information, it has the                  20      back-haul.
   21      FEIN or social security number. What number is listed                  21        Q. When you say they don't have the authority, what
   22      there?                                                                 22      do you mean?
   23        A. 012186177.                                                        23        A. We have -- we are a one-way haul under ABC
   24        Q. Now jumping over to Exhibit G, who's the                          24      Concrete. We can haul our own products only.
   25      applicant? Under the applicant information, what's the                 25        Q. And where would the authority come from to allow



  10 (Pages 34 to 37)
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                                                                    EXHIBIT 3
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                                                                  Page 66                                                                Page 68
    1                   (Deposition Exhibit O                                      1        A. That is correct.
    2                 was marked for identification.)                              2        Q. Okay. So when we talk about ABC Concrete hauling
    3        Q. Mr. Murray, do you remember seeing this --                         3      products, those are products that you manufacture or
    4      getting this letter from Jimmy Mileham at NAICO?                        4      that you sell to third parties? Government entities,
    5        A. No, sir, I don't remember it.                                      5      things like that?
    6        Q. Okay. Is it possible that you did get this                         6        A. That we manufacture, sir.
    7      letter, you just don't recall it?                                       7        Q. Yeah.
    8        A. Yes, sir, it's possible.                                           8        A. Solely manufacture.
    9        Q. Okay. I knew there was something in here I                         9        Q. Right.
   10      wanted to go over with you and I've since forgotten it.                10        A. Okay.
   11      I'm sorry.                                                             11        Q. So, and in the trucking world, what I -- I will
   12           What I'll purport to you is that this is a letter                 12      call somebody a private hauler and a for-hire hauler.
   13      memorializing the March 11, 2013, conversation you had                 13        A. That's correct.
   14      with Mr. Mileham about the operations of ABC Concrete.                 14        Q. You want to be -- ABC Concrete, it's my
   15           Do you recall having any kind of conversation                     15      understanding, was a private hauler.
   16      with somebody at NAICO over the phone about that time                  16        A. Correct.
   17      about your operations?                                                 17        Q. Okay. And they would haul things across state
   18        A. I don't, but --                                                   18      lines and interstate commerce, but it was all -- it was
   19        Q. Okay. Well, this was produced to us by NAICO. I                   19      limited to ABC Concrete's manufactured product.
   20      wasn't there in the conversation. All I can tell you is                20        A. That is correct.
   21      that there's a document in their files indicating they                 21        Q. Okay. And that is what you communicated to
   22      sent a letter to you that's there in front of you with                 22      Woods, and that's what you expected to be covered under
   23      some attachments.                                                      23      the NAICO policy; is that correct?
   24           Would you flip to page 3102 there at the back or                  24        A. 150-mile radius, ABC Concrete's products --
   25      on the bottom right.                                                   25        Q. All right.


                                                                  Page 67                                                                Page 69
    1       A. Okay.                                                               1        A. -- is correct.
    2       Q. It says on number 1.4 there, do you see that?                       2        Q. And you indicated that you also had told them
    3       A. Yes, sir, I do.                                                     3      that there would be occasional stepping out beyond the
    4       Q. It says Normal Radius of Operations is 150 miles?                   4      150-mile radius?
    5       A. That's correct.                                                     5        A. That is correct.
    6       Q. Okay. And earlier today you said that you told                      6        Q. And you expected, when you had one of these
    7     Woods and that you told NAICO that your radius would be,                 7      occasional stepping out incidences of hauling ABC
    8     for ABC Concrete, would be about 150 miles?                              8      Concrete product, that that would be covered under the
    9             MR. EATON: Objection, form.                                      9      NAICO policy.
   10       A. That is not correct.                                               10        A. That is correct.
   11       Q. Okay. How is that not correct?                                     11        Q. Okay. So if you sell goods -- what's a customer
   12       A. I did not inform NAICO. I informed Woods solely.                   12      that's about 200 miles away that you've sold products
   13       Q. Okay. Understood. And you expected Woods to                        13      to? It can be 250, somewhere in that range.
   14     communicate that to NAICO; is that correct?                             14        A. (No response.)
   15       A. I expected my insurance policy to be the way I                     15        Q. Or what's a city that's 250 miles?
   16     wanted it.                                                              16        A. Albuquerque. You know, if you go on the north
   17       Q. Okay. And at least as far as this document's                       17      side of -- or south side of Albuquerque, you're barely
   18     concerned, it appears that you communicated to                          18      outside that radius.
   19     Mr. Mileham that your normal radius of operations was                   19        Q. Yeah. What about Durango or --
   20     150 miles.                                                              20        A. Durango's 50 miles.
   21       A. That has always been my verbal radius to our                       21        Q. Okay.
   22     insurance people.                                                       22        A. Now you're talking a radius.
   23       Q. Okay. And it also says here "Policyholder," ABC                    23        Q. I understand.
   24     Concrete, "is located in Farmington, New Mexico, and                    24        A. Not a direct route. So --
   25     will travel to Colorado, Arizona, Utah."                                25        Q. Well, that's a good question. When you say



  18 (Pages 66 to 69)
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                                                                  Page 70                                                                 Page 72
    1      radius in this context, are you talking about an air                    1      coming back."
    2      radius or a driving radius?                                             2        A. Correct.
    3        A. I put a point in Farmington, take a circumference                  3        Q. So if you send a truck, one of your ABC -- or an
    4      of 150 miles and draw a circle. That is a radius to me.                 4      ABC Concrete truck out to deliver your product to
    5        Q. Okay. And some people, I would call that an air                    5      wherever the destination might be.
    6      radius, but I understand exactly what you're saying,                    6        A. Okay.
    7      sir.                                                                    7        Q. Okay? Just a hypothetical. Back in 2012, would
    8           What's a city that you deliver ABC Concrete                        8      you typically look for a back-haul to put freight on
    9      products to, say, 150 miles away in either Utah,                        9      that truck to get it back to Farmington?
   10      Arizona, or Colorado?                                                  10              MR. EATON: Objection, form.
   11        A. We go on the reservation. Possibly Kayenta would                  11        A. You've asked me two separate questions.
   12      fall within that.                                                      12        Q. Okay.
   13        Q. Okay.                                                             13        A. When we were talking about the 150-mile radius,
   14        A. Just outside of Kayenta, we may step outside 20                   14      we were referring to one. Now you're referring to
   15      miles and you're outside that radius.                                  15      another one. So which answer do you want?
   16        Q. Okay.                                                             16        Q. Let me ask you this. You talk about
   17        A. As a for instance.                                                17      government/commercial brokers hire for loads coming
   18        Q. And you would still expect that to be covered                     18      back.
   19      under the NAICO policy.                                                19        A. Correct.
   20        A. We would, sir.                                                    20        Q. That is what I would typically call a back-haul.
   21        Q. Okay. And in essence, we've seen some examples                    21        A. That's correct.
   22      in these documents where, and I think you even said,                   22        Q. All right. So is it correct to say that there
   23      you're a one-way hauler. And when you said that, you're                23      were instances where you would ship product out for ABC
   24      referring to ABC Concrete; is that right?                              24      Concrete and then look for a for-hire load, if you will,
   25        A. Correct.                                                          25      for a back-haul back to Farmington or at least close to


                                                                  Page 71                                                                 Page 73
    1         Q. And what you mean by that is that you would haul                  1      this area?
    2      your manufactured products, yours being ABC Concrete,                   2         A. Not to my knowledge.
    3      from Farmington to wherever the destination was. Might                  3         Q. Okay. So that never happened?
    4      be the locations that you just mentioned.                               4         A. Not to my knowledge. They may have got their
    5           And then you said you needed authority, which I                    5      tickets messed up, but their logs should have said
    6      assumed was DOT, FMCSA authority, to act as a for hire                  6      Septic going out, Septic coming back.
    7      carrier on the way back.                                                7         Q. Okay. So you would agree with me that you, when
    8               MR. EATON: Objection, form.                                    8      you're hauling ABC Concrete products, you would be
    9         Q. Is that correct?                                                  9      hauling under private authority given to ABC Concrete
   10         A. No, sir, that's not.                                             10      from the FMCSA.
   11         Q. Tell me how that's not correct.                                  11         A. Depending on where it's going.
   12         A. If it's specifically ABC Concrete, we would send                 12         Q. Okay. Well, the private authority given to you
   13      it on another truck. We would haul it to that                          13      by the FMCSA to ABC Concrete allowed you to go to all 50
   14      destination and return empty.                                          14      states, didn't it?
   15         Q. Well, let's look at a couple things. Like                        15         A. Correct.
   16      Exhibit F, do you have the original Exhibit F there?                   16         Q. Or 48 let's say.
   17         A. Yes, I'm sure. Yes, sir.                                         17         A. Correct. But we also had that authority way
   18         Q. Look there at the bottom. Can I call you Doug?                   18      before we ever started doing back-hauls. We had ABC's
   19         A. Yes, you can.                                                    19      authority for a long time before we had the Septic
   20         Q. All right.                                                       20      authority.
   21         A. Yes, sir.                                                        21         Q. I understand.
   22         Q. It says "For hire trucking company, own product                  22         A. Okay.
   23      out, 99 percent."                                                      23         Q. I'm not, I'm not --
   24         A. Correct.                                                         24         A. So the dividing line is do I need money for them
   25         Q. "Commercial/government brokers hire for loads                    25      trucks to come 150 miles is not advantageous for us to



  19 (Pages 70 to 73)
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                                                                  Page 94                                                                Page 96
    1         A. Twelve, sir.                                                      1     entities. We expect our insurance companies to cover
    2         Q. So if one would just do rough math, 150 to 200                    2     them.
    3      loads went for Fort Bliss approximately 395 miles away                  3       Q. So in 2015, were the operations of ABC Concrete
    4      from Farmington in 2014?                                                4     similar to the operations of ABC Concrete in 2014 in
    5         A. Yes, sir. And, you know, to be honest, we didn't                  5     terms of the use of trucks and those sort of things?
    6      care who covered it. We just knew we weren't getting                    6       A. Yes, sir.
    7      loads coming home. We had plenty of insurance covered                   7       Q. Okay. So in 2015, you reported 10,000 -- or
    8      under either one.                                                       8     excuse me, 210,000 miles to the DOT for ABC Concrete; is
    9           So our guys were usually, they would log it                        9     that correct?
   10      probably under ABC Concrete because we weren't getting                 10       A. That's what the form says.
   11      logs coming home. I mean loads coming home, I'm sorry.                 11       Q. And back in '13, you reported 55,000 miles for
   12         Q. Okay.                                                            12     ABC Concrete Mfg Company, Inc., d/b/a ABC Septic Systems
   13         A. And a lot of our drivers were registered under                   13     in Exhibit S.
   14      both companies.                                                        14       A. Okay.
   15         Q. What does that mean, "registered"?                               15       Q. Would the mileage that was reported in '14 and
   16         A. Well, you know, you have to keep separate DOT                    16     '15 for, let's call it Septic, would that have been
   17      files, so...                                                           17     roughly the same, to your knowledge?
   18         Q. I was gonna get to that. I call them the DQ                      18       A. Same amount of miles?
   19      file?                                                                  19       Q. Yeah.
   20         A. I don't know what they are. We call them                         20       A. I don't know.
   21      driver's file.                                                         21       Q. Roughly 55,000? To the best of your
   22         Q. So driver file, DQ file, whatever you want to                    22     recollection.
   23      call it. You had, like for example, for Montano, the                   23             MR. EATON: Objection, form.
   24      driver involved in this accident, did you have a DQ file               24       A. To the best I know. I'm not sure of that one,
   25      for him for Concrete and Septic?                                       25     sir.


                                                                  Page 95                                                                Page 97
    1        A. That one I'm not sure. Okay? I do not know.                        1        Q. Okay. Fair enough. So would you look at Exhibit
    2        Q. But typically, would you have --                                   2      T with me.
    3        A. Not all of them.                                                   3        A. Okay.
    4        Q. All right.                                                         4        Q. And if you'll look at the last -- well, the
    5        A. No, sir.                                                           5      second to last page.
    6        Q. What percentage of the drivers? 50 percent?                        6        A. Yes, sir.
    7        A. I know I was. I know I was on both of them. In                     7        Q. It looks to me like -- well, I'll tell you what
    8      '14, I'm not sure we had a lot of drivers in '14. I                     8      that is. That's an inspection history page.
    9      just don't remember.                                                    9        A. Okay.
   10        Q. So you understand -- let me tell you what I                       10        Q. Okay? And we're asking the FMCSA to send us the
   11      understand NAICO is trying to do in this lawsuit.                      11      2014, so we'll have that later. But this goes back to
   12           They're asking a court to rewrite this policy                     12      August of '15. Okay?
   13      issued to Concrete to not cover any shipments                          13           And, I mean, you know generally what DOT
   14      transported by ABC Concrete beyond a 50-mile radius.                   14      inspections are.
   15               MR. EATON: Objection, form.                                   15        A. Yes.
   16        Q. All right? We'll go through the Complaint and                     16        Q. And do you agree with me that this is a listing
   17      we'll do that. All right?                                              17      of different DOT inspections of eight tractors and
   18           Let's say that there's a loss that you don't know                 18      trailers being operated under the private authority of
   19      about that comes up for one of these 200 trips to Fort                 19      ABC Concrete?
   20      Bliss.                                                                 20        A. That I cannot say it's under the private
   21           Are you okay with NAICO not covering that loss by                 21      authority.
   22      virtue of this lawsuit and reforming the policy?                       22        Q. Okay.
   23               MR. EATON: Objection, form.                                   23        A. But that's what this is.
   24               MR. BURNS: You can answer it.                                 24        Q. Would you agree that it's part of the report for
   25        A. No. We pay our insurance in two separate                          25      ABC Concrete?



  25 (Pages 94 to 97)
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    1        A. Yes, sir.                                                          1      inspection, they would look at ABC Concrete's name on
    2        Q. Okay. And if you look at the bottom there,                         2      the side and not the DOT number that it was leased to.
    3      8/19/15, do you see that?                                               3           So they would put ABC Concrete on there instead
    4        A. Yes, sir.                                                          4      of ABC Septic like they should have. Same thing in this
    5        Q. There's a truck there that was stopped one, two,                   5      report of your crash.
    6      three, four times in about a one-month period; three                    6        Q. Well, let's just stay there a second. It says
    7      times in Arizona and one time in New Mexico. Do you                     7      Owner's Name, ABC Concrete Manufacturing Company.
    8      recognize that license plate number?                                    8        A. Mm-hmm.
    9        A. No. But I'm sure it's one of ours, sir.                            9        Q. It's correct to say that ABC Concrete
   10                  (Deposition Exhibit U                                      10      Manufacturing Company, Inc., owned the tractor and
   11                was marked for identification.)                              11      trailer.
   12        Q. Okay. Now, I'm gonna show you a police report                     12        A. That is correct.
   13      for this case which is Exhibit U.                                      13        Q. Did they own the trailer as well? ABC Concrete.
   14           And if you'll look, Doug, right here, this is                     14        A. Yes, sir. Yes, sir.
   15      where it talks about ABC Concrete.                                     15        Q. Okay. Did ABC Septic Systems, Inc., to the
   16        A. Yes, sir.                                                         16      extent it is a separate entity from ABC Concrete, own
   17        Q. It says 2007 Freightliner tractor green and it's                  17      any property, whether it's equipment or real property?
   18      got a license number?                                                  18        A. No, sir.
   19        A. Yes, sir.                                                         19        Q. Everything that was owned and utilized by ABC
   20        Q. Okay. Does that appear to be the same license                     20      Septic and ABC Concrete in '13-14 time frame would have
   21      number that's referenced on that page of Exhibit T that                21      been owned by ABC Concrete.
   22      we were just referencing?                                              22        A. Owned by ABC Concrete, leased to ABC Septic.
   23        A. It does, sir.                                                     23        Q. Gotcha. Okay. So you're telling me that you're
   24        Q. Okay. So it's correct to say that the tractor                     24      not sure about these DOT inspection reports in Exhibit T
   25      involved in this accident that occurred on -- what's the               25      because sometimes the investigating officer, the DOT


                                                                  Page 99                                                               Page 101
    1      date of the accident? August 5 of 2014? Is that right?                  1      officer, would see "ABC Concrete" on the truck, but not
    2               MR. EATON: I think it's the 7th.                               2      look at the DOT number?
    3        A. 8/5 is what this -- the report date.                               3        A. That is correct.
    4        Q. Yeah, I think it is 8/7. I think you're right.                     4        Q. Okay. And did you train your drivers to tell the
    5      But the accident in California involving Mr. Montano.                   5      DOT officers "Hey, I'm hauling this under Septic's
    6      Okay?                                                                   6      authority instead of Concrete's authority"?
    7           Would you agree with me that the tractor that he                   7        A. Their -- that's correct. Their logs would not
    8      was operating in California on the August 7th, 2014,                    8      match. That's when they'd have to pull out their lease
    9      accident was also a tractor that was operating at least                 9      and start showing it to them.
   10      in August of 2015 on behalf of ABC Concrete under its                  10        Q. Okay.
   11      private authority in Arizona?                                          11                 (Deposition Exhibit V
   12        A. No, sir.                                                          12               was marked for identification.)
   13        Q. What's wrong with that statement?                                 13        Q. I'm going to show you Exhibit V as in "Victor".
   14        A. I can't say. Even though the inspection says so,                  14        A. Okay.
   15      I can't say for sure it was.                                           15        Q. This is a Truckers Application from ABC Septic
   16        Q. Okay. Do you have any reason to believe that                      16      Systems to National Casualty Company.
   17      this SAFER report data that we're looking at is false?                 17        A. Yes, sir.
   18        A. I have a reason to believe it's incorrect.                        18        Q. And it says here on number 4 "Has there been any
   19        Q. Okay. And is the reason that the tractor                          19      change in the nature of operations, ownership,
   20      involved in this accident would have never been used to                20      management, or the name of the operation during the last
   21      transport ABC Manufacturer's products under ABC                        21      five years?"
   22      Concrete's private authority?                                          22        A. Okay.
   23        A. No, that is not true, sir.                                        23        Q. And it says "No." Is that an accurate statement?
   24        Q. Okay. Well, tell me what the reason is.                           24        A. As best of my knowledge, sir.
   25        A. A lot of times when the DOT would do their                        25        Q. Okay. Flip to the next page.



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                                                                 Page 114                                                               Page 116
    1        A. I'm not sure.                                                      1      that he may have transported with that tractor or that
    2        Q. Okay.                                                              2      trailer an ABC Manufactured load that was hauled under
    3        A. Okay?                                                              3      an ABC -- under ABC Concrete's authority at some time
    4        Q. Paragraph 28 says ABC Manufacturing failed to                      4      around the time of the accident?
    5      disclose to NAICO that ABC Manufacturing was registered                 5              MR. EATON: Objection, form.
    6      with the USDOT, and then it has a DOT number which is                   6        A. I can't answer that. I'd have to refer to his
    7      the Septic DOT number. Did you fail to disclose that to                 7      logs.
    8      NAICO?                                                                  8        Q. Okay. Would you have his logs for, say, all of
    9        A. What's the necessity? I didn't realize we had to                   9      2014?
   10      disclose anything.                                                     10        A. He only worked for us for a short time, sir.
   11        Q. Okay. Would you agree with me that if NAICO had                   11        Q. Okay. Would you have his logs for the entire
   12      just taken a look at the SAFER system, that they would                 12      time period that he worked for you?
   13      have figured this out?                                                 13        A. I think we've produced them already.
   14               MR. EATON: Objection, form.                                   14        Q. Okay.
   15        A. That's the agency's responsibility, not mine.                     15        A. If not, we should have them.
   16        Q. Okay.                                                             16        Q. Okay.
   17        A. I mean I didn't -- all right.                                     17        A. '14, '15, '16.
   18        Q. Would you agree with me that the trips to Fort                    18        Q. What is your log retention policy?
   19      Bliss, the 395 miles each way, I mean would you call                   19        A. One year.
   20      that interstate hauling?                                               20        Q. Okay. And after a year passes, do you throw them
   21        A. I would, sir.                                                     21      away?
   22        Q. You would?                                                        22        A. (Witness nods head.) That's all we're required
   23        A. It's across state lines.                                          23      by law.
   24        Q. Okay. And would you also call that long haul                      24        Q. All right. When you were asked in the tort suit,
   25      trucking or hauling?                                                   25      the liability lawsuit, to produce logs, did you produce


                                                                 Page 115                                                               Page 117
    1         A. It could be either way.                                           1      everything you had?
    2         Q. Okay. And I think we can agree that it would not                  2        A. We produced what they asked us for. When I say
    3      be for hire carriage.                                                   3      "they", what the lady attorney out of California asked
    4         A. That is correct.                                                  4      us for at that time, before the suit was settled.
    5         Q. All right. Paragraph 33 --                                        5        Q. Okay.
    6               MR. BURNS: You can go on.                                      6                MR. McMICKLE: I'll send you an e-mail or --
    7          (Mr. Burns leaves the deposition room briefly)                      7      just if you can ask. Or obviously if it's something
    8         Q. Hang on. So in paragraph 28 they say you never                    8      different, I'd appreciate you getting it to me.
    9      told them about Septic.                                                 9                MR. BURNS: Okay.
   10         A. Okay.                                                            10        Q. So in other words, you would agree with me that
   11         Q. Paragraph 33, they say it was the intent of ABC                  11      there were at least instances in 2014 where trucks that
   12      Manufacturing that Septic would pay for its own                        12      were leased to Septic hauled goods for ABC Concrete
   13      automobile liability coverage. Do you see that?                        13      under ABC Concrete's private authority in that radius.
   14         A. I see it.                                                        14        A. Yes.
   15         Q. If NAICO did not know anything about Septic, how                 15                MR. EATON: Objection, form.
   16      could there be some sort of mutual understanding between               16        Q. I'm sorry?
   17      you and NAICO that ABC Septic would pay for its own                    17        A. Yes.
   18      liability coverage?                                                    18        Q. That would have had to have happened?
   19               MR. EATON: Objection, form.                                   19        A. I'm sure it did.
   20         Q. That seems impossible, doesn't it?                               20        Q. Okay. Flip to page 6 of Exhibit Y. Look at
   21               MR. EATON: Objection, form.                                   21      number 40. Tell me, do you have any knowledge of that
   22         A. It does to me.                                                   22      or is that true?
   23         Q. All right. And would you agree with me that the                  23        A. That I'm not sure of, sir. I'm not sure what
   24      tractor operated by Mr. Montano at the time of the                     24      this is saying really, number 40.
   25      August 7, 2014, accident, that it's at least possible                  25        Q. Did you understand that your NAICO policy covered



  30 (Pages 114 to 117)
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    1             MR. McMICKLE: No, that's fine. I mean, you                       1        Q. All right. And you see it says #110 and #112 for
    2     asked and I'm just sort of telling you why I guess I                     2      the equipment?
    3     think that's important. I think they've got it                           3        A. Yes, sir.
    4     backwards. But anyway, so I'll leave it alone.                           4        Q. Would that have been the tractor and the trailer
    5       Q. (By Mr. McMickle) So let's look to paragraph 54.                    5      referenced in the police report?
    6     It says "Both NAICO and ABC Manufacturing labored under                  6        A. Yes, sir.
    7     the same erroneous conception that the NAICO policy                      7        Q. All right. And for example, on the trips where
    8     would not be insuring for-hire long haul or interstate                   8      ABC Concrete drivers would haul under ABC Concrete's
    9     trucking operations for ABC Manufacturing."                              9      authority to and from Fort Bliss in 2014, would those
   10          And you've already told me today that you                          10      drivers use logs like what we're seeing in Exhibit AA?
   11     expected that NAICO would cover interstate trips taken                  11        A. No, sir. These are logs I gave him. These are
   12     by ABC Concrete transporting ABC Concrete product,                      12      my personal logs.
   13     correct?                                                                13        Q. Okay. Would a driver that's driving across state
   14       A. That's correct.                                                    14      lines -- I assume Fort Bliss is across state lines.
   15       Q. Okay. So this statement that both NAICO and ABC                    15        A. It is.
   16     were laboring under the same erroneous conception, that                 16        Q. Is that Colorado?
   17     is a false statement.                                                   17        A. No. It's New Mex -- Texas.
   18       A. Yes. We're 35 miles to the Durango, Colorado,                      18               MR. BURNS: El Paso.
   19     border. It doesn't make sense I would cover -- write                    19        A. El Paso.
   20     insurance like that.                                                    20        Q. Okay. Wouldn't the drivers have needed logs to
   21       Q. It says in the second sentence in paragraph 54                     21      get across state lines?
   22     "Had NAICO known the true facts, it would have issued a                 22        A. Yes, sir.
   23     policy of insurance that provided insurance only for                    23        Q. Okay. Would they have used logs that look
   24     specifically described autos, and would not have                        24      generally like what's in Exhibit AA?
   25     included vehicles involved in for-hire long haul                        25        A. Generally like it. It would not have had this


                                                                 Page 123                                                               Page 125
    1      trucking." Did anybody ever tell you that?                              1      already imprinted. "ABC" and all this information would
    2        A. No.                                                                2      not have been imprinted. These are my personal logs
    3        Q. So they say that they would have issued a new                      3      that I had done for me. He didn't have any logs, so I
    4      policy that would not have included vehicles involved in                4      gave him these.
    5      for-hire long haul trucking.                                            5        Q. Okay. You recall that for this specific time
    6        A. They may have issued it, but that don't mean I                     6      frame?
    7      would have bought it.                                                   7        A. No one else uses these but me, sir.
    8        Q. Okay.                                                              8        Q. Okay.
    9        A. That's why we've got free enterprise.                              9        A. These are my logs.
   10                (Deposition Exhibit AA                                       10        Q. And when you say they're your logs, the ones with
   11              was marked for identification.)                                11      the scratched out "Concrete"?
   12        Q. I'm going to show you what's been marked AA. And                  12        A. No. No. I had these special printed for me.
   13      I'm gonna indicate that I believe these to be Mr.                      13        Q. Just so it's all on one page?
   14      Montano's logs for whatever dates are stated there.                    14        A. This is special printed in there for me, "ABC
   15        A. Okay.                                                             15      Concrete". All of this is special printed for me. This
   16        Q. Does that appear to be accurate?                                  16      is not handwritten. These are my logs --
   17        A. Yes, sir.                                                         17        Q. Gotcha. Understand.
   18        Q. All right. Now, you see there at the top on the                   18        A. -- that were made for me.
   19      first page, and it carries on, it says "ABC" and then                  19        Q. But other logs similarly compliant with the
   20      something's --                                                         20      federal regs would have been used by ABC Concrete
   21        A. Right.                                                            21      drivers going to and from Fort Bliss.
   22        Q. -- struck out.                                                    22        A. We require long form, sir. This is a long form
   23        A. Mm-hmm.                                                           23      log.
   24        Q. Is it "Concrete" that's struck out?                               24        Q. All right.
   25        A. Yes, sir.                                                         25        A. Three copies.



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    1        Q. And ABC Concrete would have endeavored to satisfy                  1      I'm not gonna go through it all. But at the end or at
    2      any other applicable federal regulations for those Fort                 2      the top, at least what I've been provided, says "This
    3      Bliss shipments; is that right?                                         3      letter takes your company out of the picture
    4        A. Yes, sir.                                                          4      completely."
    5        Q. All right. So there was a time where NAICO and                     5        A. What? That's, that's -- I think that's what I
    6      Woods asked you to sign an affidavit regarding this                     6      wrote.
    7      policy. Do you recall that?                                             7        Q. Yeah, that's what you wrote.
    8        A. There's some stuff that came to my office, sir.                    8        A. Right. I cannot sign this letter.
    9      I don't recall specifically. I know there was some I                    9        Q. All right. So you were telling somebody at NAICO
   10      would not sign.                                                        10      "I'm not signing this affidavit because it takes your
   11                 (Deposition Exhibit BB                                      11      company out of the picture completely."
   12               was marked for identification.)                               12        A. I don't know what was done in-between here, but
   13        Q. Right. I'm going to show you Exhibit BB.                          13      that was my -- that's coming from my iPad it says right
   14        A. Okay.                                                             14      there.
   15        Q. Now it looks like this is a letter to somebody                    15        Q. Right. All right. And you recall saying
   16      named Jackie at Woods Insurance Services. And the                      16      something like that?
   17      second page is an affidavit and then some e-mails that                 17        A. I wasn't very polite with him.
   18      follow.                                                                18        Q. So over the phone is where the "sunshine" thing
   19        A. Okay.                                                             19      came out?
   20        Q. Okay? So for your purposes, I'm just going to                     20        A. Yes, sir.
   21      have you look at the affidavit. Okay?                                  21        Q. All right.
   22           Is that the affidavit that you recall someone                     22        A. Looks like it was two separate e-mails.
   23      sending to you?                                                        23        Q. Okay.
   24        A. Yes, sir.                                                         24               MR. McMICKLE: All right. Why don't we take
   25        Q. All right. And that's the affidavit you refused                   25      a, just a couple minute break. And then what I'd like


                                                                 Page 127                                                               Page 129
    1      to sign.                                                                1       to do is -- I'll bet you're going to have a few more
    2        A. My specific words said "You could stick this                       2       questions.
    3      where the sun doesn't shine." That's my specific words.                 3               MR. EATON: Yes.
    4        Q. I like that. So, and the reason that you -- or                     4               MR. McMICKLE: I'm going to try and figure
    5      at least one of the reasons that you didn't sign this                   5       out what I have to do right now and then, you know, we
    6      affidavit was that you believed it would take NAICO out                 6       can hopefully speed through, be another 20, 30 minutes
    7      of the picture completely.                                              7       at the most.
    8        A. I believed two things. Number one is that they                     8               MR. BURNS: Okay.
    9      were trying to get off of something that they should                    9               THE WITNESS: Okay.
   10      have addressed before they ever wrote this policy.                     10               MR. McMICKLE: I hope so. Lawyers always
   11           Number two is, is that now they were trying to                    11       say that.
   12      get out of it after the fact.                                          12           (Break taken from 12:14 p.m. to 12:48 p.m.)
   13           And number three is, we didn't look at the                        13                  (Deposition Exhibit DD
   14      insurance company that a way as much as we did at Woods.               14               was marked for identification.)
   15      They should have told us what was going on. They were                  15         Q. (By Mr. McMickle) All right. So I've given you
   16      our representative.                                                    16       Exhibit DD. And is that a letter you recall receiving
   17                  (Deposition Exhibit CC                                     17       from somebody at Woods?
   18               was marked for identification.)                               18         A. They probably sent this over or sent it to me in
   19        Q. I'm going to send you Exhibit CC, or give you                     19       the mail. It looks like the same one that --
   20      Exhibit CC. We're gonna come back to the affidavit.                    20         Q. Do you recall any conversations with Edie
   21           But Exhibit CC, at least the first few pages, it                  21       Darrell?
   22      looks to me like that's somebody at NAICO named James                  22         A. I don't. But --
   23      Malone is trying to get you to sign the affidavit.                     23         Q. Do you recall any conversations about this
   24        A. Mm-hmm. He called me.                                             24       affidavit with anybody at Woods other than the "sun
   25        Q. And there's conversation that's depicted here.                    25       doesn't shine" thing we talked about?



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                                                                 Page 142                                                               Page 144
    1              MR. McMICKLE: Let me see what you've got.                       1     the truck was owned by ABC Concrete. And this is my
    2         A. Exhibit C?                                                        2     understanding after all this has been going on.
    3         Q. Exhibit C, yes, sir.                                              3          The truck's owned by ABC Concrete. ABC Septic
    4         A. Okay.                                                             4     had its own insurance. I'm the owner of both. I own
    5         Q. Under paragraph 6, this is on page 2 of the                       5     the Concrete division; I own the Septic division.
    6      lease, paragraph 6a, it states "Customer has exclusive                  6          So who's the insurance here to cover. Does it
    7      possession and control of equipment." Is that an                        7     cover me? Then both of you have a liability.
    8      accurate reading?                                                       8       Q. But your understanding is that NAICO was only
    9         A. Yes.                                                              9     providing coverage for ABC Manufacturing, correct?
   10         Q. And I'm looking on page 1. Is ABC Septic Systems                 10       A. Correct.
   11      listed as the customer for this lease?                                 11       Q. And ABC Manufacturing was not authorized under
   12         A. Yes.                                                             12     the DOT to provide for-hire --
   13         Q. So even if a vehicle that was owned by                           13       A. That's correct.
   14      ABC Concrete was leased to ABC Septic, while ABC Septic                14       Q. -- transport. And we discussed today, this is
   15      was operating that truck, according to the lease, they                 15     something I learned today, was that ABC did perform some
   16      were in exclusive possession and control of that                       16     we'll call it long haul trucking beyond 150 miles as
   17      tractor; is that correct?                                              17     long as it was just ABC Manufacturing's product.
   18              MR. McMICKLE: Object to the form. Thanks.                      18       A. That's correct.
   19         A. According to the lease, yes.                                     19       Q. So your intent was that NAICO would only be
   20         Q. I'm going to jump to Exhibit Y. This is the                      20     insuring ABC Concrete Manufacturing when it was shipping
   21      Complaint that was filed in this case.                                 21     its own product when discussing long haul shipping.
   22           On page 7, we're going to look at paragraph 54.                   22       A. Okay. You're really confusing me.
   23      And you had stated that --                                             23       Q. Okay. So I'm trying to make -- sorry. I'm just
   24              MR. BURNS: Do you mean the Amended                             24     trying to clarify --
   25      Complaint?                                                             25       A. I know what you're trying to get at. My intent


                                                                 Page 143                                                               Page 145
    1              MR. EATON: Yeah. This was the first --                          1     is to cover our companies. That's my job. Your jobs
    2      yeah, this is the First Amended Complaint.                              2     are to break it down now. Okay?
    3              MR. BURNS: Okay.                                                3          So as long as my trucks were covered and my
    4        Q. (By Mr. Eaton) Paragraph 54. You had indicated                     4     people were covered and I was covered, I'm happy.
    5      that this statement is inaccurate. And I just want to                   5        Q. So would you agree that it was your intent that
    6      kind of break it down real quick.                                       6     National Casualty Company did provide insurance for ABC
    7           So ABC Concrete was a private hauler, correct?                     7     Septic for its long haul for-hire or even for if it was
    8        A. Yes.                                                               8     hauling for ABC Manufacturing?
    9        Q. It was not authorized to provide for-hire                          9       A. As long as it was listed under that, yes. As
   10      transport?                                                             10     long as it was on their logs hauled that way.
   11        A. That is correct.                                                  11        Q. So it was your intent that ABC Septic was covered
   12        Q. And NAICO was just -- or NAICO only provided                      12     under that policy.
   13      coverage for ABC Concrete. That's your understanding,                  13       A. That was my intent.
   14      correct?                                                               14        Q. But your intent was also that NAICO was only
   15        A. (No response.)                                                    15     insuring ABC Manufacturing.
   16        Q. That NAICO only provided coverage to ABC                          16       A. Insuring my trucks, yes.
   17      Concrete?                                                              17        Q. When you say your trucks, what do you mean?
   18        A. That is correct.                                                  18       A. Anything that ABC Concrete owns. As long as
   19        Q. So would it be accurate to say that the NAICO                     19     they're listed on the policy.
   20      policy would not be insuring for-hire long haul trucking               20          Why don't you ask me that question another way
   21      operations for which ABC Manufacturing was not                         21     and you'll get the right answer.
   22      authorized to perform?                                                 22        Q. I mean all day you've testified that you'd only
   23        A. Not totally.                                                      23     intended NAICO to insure ABC Manufacturing.
   24        Q. Which part of that is inaccurate?                                 24       A. Correct.
   25        A. The truck was leased to ABC Concrete -- I mean                    25             MR. McMICKLE: Object to the form. Just go



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                                                                                                        TURING CO INC
10/24/2016                                             SAFER Web- Company Snapshot ABC CONCRETE MANUFAC




                                                 D MC/MX Number                  3 Name
                    USDOT Number                                                                                                                  Company Snapshot
                         Enter Value: 340457                                         j
                                                                                                                                  ABC CONCRETE MANUFACTURING CO INC
                                                                                                                                                 USDOT Number: 340457
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   ID/Operations | Inspections/Crashes In US | Inspections/Crash                                                                                     Other Information for this
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                                                                     information, please complete and submit form MCS-150 which can
   Carriers; If you would like to update the following ID/Operations
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   Carrier and other users: FMCSA provides the Company Safety                                                                                   please visit the CSP
             greater detail on a particular motor carrier's safety performanc  e then what Is captured in the Company Snapshot. To obtain a CSP
   obtaining
   order page or call (800)832-5660 or (703)280-4001 (Fee Required).

                                                                        field name or for help of a general nature go to SAFER General Help.
    For help on the explanation of Individual data fields, click on any

                                                            management information systems as of 10/23/2016.
    The information below reflects the content of the FMCSA



                                             Entity Typa;    CARRIER

                                                                                                          Out of Servlca Data:    Non«
                                                             ACTIVE

                                         Local Nam*:         ABC CONCRETE MANUFACTURING CO INC

                                             DBA Namt:

                                    Phv»icalAddr>««:         1004 SLAKE ST
                                                             FARMINGTON, NM      87401

                                                  Phorw:     (505)325-8289

                                     Mailing Addrats:        1004 SLAKE ST
                                                             FARMINGTON, NM      87401

                                                             340457                                    State Carrier {O Rumbar.
                                      USDOT Number
                                                                                                                DUNS Number:      61-275-808
                                 MC/MX/FF Numberfa):
                                                                                                                       Drivers:   8
                                             Power Units:    7

                                                                                                       MCS-jjO Ml|.»3« (Y.ir):    210,000(2015)
                                   MCS-150 Form Data:        04/25/2016


                                QP4t6«<W C|ai?IHc?Uon:


                                                                  Auth. For Hire          Priv. Pass.(Non-          State Gov't

                                                                   Exempt For Hire        business)                 Local Govt

                                                                 x Private(Property)
                                                                                          Migrant                   Indian Nation
                                                                                           U.S. Mail
                                                                   Priv. Pass.
                                                                   (Business)              Fed. Govt

                                Carrtnr Operation



                                                                      X Interstate          Intrastate Only         Intrastate Only
                                                                                            (HM)                    (Non+IM)


                                Carao Carried:



                                                                                         Liquids/Gases                   Chemicals
                                                            General Freight
                                                                                         Intermodal Cont.                Commodities Dry Bulk
                                                            Household Goods
                                                                                         Passengers                      Refrigerated Food
                                                            Metal: sheets, coils,
                                                            rolls                        Oilfield                        Beverages

                                                            Motor Vehicles               Equipment                       Paper Products

                                                            Drive/Tow away               Livestock                       Utilities
                                                            Logs, Poles, Beams,          Grain, Feed, Hay                Agricultural/Farm
                                                            Lumber                       Coal/Coke                       Supplies

                                                            Building Materials           Meat                            Construction
                                                            Mobile Homes                 Garbage/Refuse                  Water Well
                                                            Machinery, Large                                           X METAL AND CONCRE
                                                                                         US Mall
                                                                                                                                                        YY\u/f r
                                                            Objects
                                                            Fresh Produce




                                                                                                                                                          l/FKEE REPORTING, INC,




                                                                                             es In Canada | Safety Rating
                               ID/Operations | Inspections/Crashes In US | Inspections/Crash



   ht+rW/cafor fmrca riot nov/nt iftrv.asD                                               EXHIBIT
                                                                                         EXHIBIT • 4
                                                                                                   4
                                                                                                                                                                                   1/2
                       Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 34 of 91
                                                                                                      CTURING CO INC
10/24/2016                                            SAFER Web- Company Snapshot ABC CONCRETE MANUFA

                                                                US Inspection results tor 24 months prior to: 10123/2016

                                                                         Total Inspections: 19
                                                                       Total IEP Inspections: 0
                                                                                                                                       further information.
                                                                            driver, and hazmat Inspections. Go to Inspections Help for
               Note: Total inspections may be less than the sum of vehicle,

                                                                                               Inactions:
                                                                                                   Driver                    Hazmat                                IEP
                                      Inspection Type               Vehicle
                                                                                                                                 0                                 0
                                            Inspections                 B                           IS
                                                                                                                                 0                                  0
                                        Out of Service                  2                            0

                                                                                                                                 %                                 0%
                                                                      25%                           0%
                                     Out of Service %
                                       Natl Average %                                             4,96%                      3.91%                                 N/A
                                                                    20.34%
                                          (2014-2015)




                                                                                                        prior to: 10/23/2016
                                                      Crashes reported to FMCSA by states for 24 months

                                                                                                                                                       ity.
                                                                                 nt in reportable crashes, without any determination as to responsibil
                      Note: Crashes listed represent a motor carrier's involveme

                                                                                                  Crashes:
                                                                                                                                 Tow                               Total
                                                     Type              Fatal                        Injury

                                                                                                                                     0                                 0
                                                Crashes                  0                            0




                                                                                ons/Crashes In Canada | Safety Rating
                            ID/Operations | Inspections/Crashes In US | Inspecti

                                                              Canadian Inspection results for 24 months prior to: 10/23/2016

                                                                            Total inspections: 0
                                                                                                                                             information.
                                                                                  and driver inspections. Go to Inspections Help for further
                      Note: Total Inspections may be less than the sum of vehicle

                                                                                                 igsBaaaai
                                                                                                                                                          Driver
                                                              Inspection Type                       Vahicl*

                                                                                                         0                                                  0
                                                                  inspections
                                                                                                          0                                                 0
                                                                Out of Service
                                                                                                         0%                                                0%
                                                              Out of Service %




                                                                      Crashes results for 24 months prior to: 10/23/2016

                                                                                                                                                       ity,
                                                                                    In reportable crashes, without any determination as to responsibil
                       Note: Crashes listed represent a motor carrier's involvement


                                                                                                                                     Tow                                Total
                                                       Type             Fatal                         Injury
                                                                                                                                         0                                 0
                                                    Crashes                  0                                0




                                                                                         shes In Canada | Safety Rating
                             ID/Operations | Inspections/Crashes In US | Inspections/Cra

                                                                                                of the carrier when operating in intrastate commerce.
                              The Federal safety rating does not necessarily reflect the safety

                                                                                               Carrier Safety Rating;


                                                                                 The rating. below is current as of: 10/23/2016

                                                                                             Review Information:


                                                              n                                                                              01/26/2012
                                                               04/16/2012                                         Review Date;
                                       Rating Date:
                                                                                                                                             Co mp liance Review
                                            Ratln              Conditional
                                                Si




                                                                                                                                                                              Links | Plug-Iris
                                                                                                        Act (FOIA) | Accessibility { OIG Hotline { Web Policies and Important
                              SAFER Home { Feedback [ Privacy Policy { USA.gov | Freedom of Information
                                                                                      Federal Motor Carrier Safety Administratio n
                                                                                                         1-800-832-5660 • TTY: 1-80O-877-8339 • Field Office Contacts
                                                       1200 New Jersey Avenue SE. Washington, DC 20590 •




   httrW/safor fmr.sa rlof OOV/flUefV.aSD                                                   EXHIBIT
                                                                                            EXH IBIT 4
                                                                                                     4
                                                                                                                                                                                                  2/2
                     Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 35 of 91
                                                                                                   DOT# 340457)
                                            Safety Measurement System - Complete SMS Profile (U.S.
10/24/2016


                       Safety

         SMS           Measurement
                       System



    ABC CONCRETE
                                                  Safety Rating &OOS                                 Licensing and Insurance
    MANUFACTURING CO INC                                                                             (As of 10/23/2016 updated hourly
                                                  Rates
    U.S. DOT#: 340457                                                                                from L&l )
    Address: 1004 S LAKE ST                       (As of 10/23/2016 updated daily
                                                  from SAFER )                                               Active For-Hire Authority
     FARMINGTON.NM 87401
                                                                                                     Type                 Yes/No MC#/MX#
     Number of Vehicles: 7                        CONDITIONAL
     Number of Drivers: 8                                                                             Property             No
                                                  (Rating Date: 04/16/2012)
     Number of Inspections: 19                                                                        Passenger            No
                                                  Out of Service Rates                                Household Goods      No

                                                  Type            OOS% National Avg%                  Broker               No

                                                  Vehicle         25.0       20.3

                                                   Driver         0.0        5.0

                                                   Hazmat                    3.9



                                                                 with FMCSA.
    U.S. DOT# 340457 has no current for-hire operating authority

                                                                   Visit the SMS Preview Website
         See how the proposed enhancements impact carrier results.



     BASIC StatUS (Public Property Carrier View) ?
                                                               )                         Based on a 24-month record ending September 23, 2016
     Behavior Analysis & Safety Improvement Categories (BASICs



                                                                                                                     A

                                                                                                                   Not Public
                             Not Public
                                                                                              Controlled          Hazardous
                                                Hours-of-
                                                                            Vehicle           Substances           Materials
                                                 Service
                                                                                              and Alcohol         Compliance         Driver Fitness
                                               Compliance                Maintenance
      Unsafe Driving      Crash indicator




      On-Road Performance

                                                                        8.62              0                                         0
     0                                      0.51                                                                      NOT           Measure
                               NOT           Measure                    Measure           Measure
     Measure
                                                                                                                    PUBLIC
                             PUBLIC


      On-Road Performance Detail
                                                                                           Driver                                    Driver
                                             Driver                     Vehicle
      Driver                                                                                                                         Inspections: 19
                                             Inspections: 19            Inspections: 8     Inspections: 19
      Inspections with
                                                                                           with                                      with Driver
      Unsafe Driving                         with HOS                   with Vehicle
                                                                                           Drugs/Alcohol                             Fitness
      Violations: 0                          Compliance                  Maint.    .
                                                                                           Violations: 0                             Violations: 0
                                             Violations: 3              Violations: 7
      Safety Event
      Group: No Safety                                                   Safety Event      Safety Event                NOT           Safety Event
                                 NOT         Safety Event                                                                            Group: 11-20
      Event Grouping                         Group: 11-20                Group: 5-10       Group: No

                                                         .as ox
                                                                        EXHIBIT
                                                                        EXHIBIT4:.^:
                                                                                                                                                       1/4
                      Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 36 of 91
                                                                                                          DOT# 340457)
                                                   Safety Measurement System - Complete SMS Profile (U.S.
10/24/2016
                                                                                                                                                     relevant driver
 Avg, PU x UF:
                              PUBLIC          relevant driver        relevant vehicle      Safety Event                        PUBLIC                inspections
                                              inspections            inspections           Grouping
  10.5

  Segment:
  Straight Carrier




   Investigation Results

                                                                                           No Acute/Critical                                         No Acute/Critical
  No Acute/Critical                            No                     No Acute/Critical
                                              Acute/Critical          Violations           Violations                           NOT                  Violations
  Violations
                                                                                            Discovered                                               Discovered
  Discovered                    N/A           Violations              Discovered
                                                                                                                               PUBLIC
                                               Discovered



                                                                        Profile.
    Select a BASIC icon above to get details, or view your Complete SMS


                                                                                                                                                       Violations: 24
    VIOLATION SUMMARY

                                                                                              ft            #OOS                Violation Severity             BASIC
   Violations                                 Description
                                                                                          Violations       Violations                Weight
                                                                                                                                                                  HOS
  395.3A2-         Driving beyond 14 hour duty period (Property carrying                      1                0                        7
                                                                                                                                                            Compliance
  PROP             vehicle)
                                                                                                                                                                  HOS
                                                                                              2                0                         1
  395,8            Driver's record of duty status (general/form and manner)                                                                                 Compliance
                                                                                                                                                               Vehicle
                                                                                               1               0                         1
   392.2WC         Wheel (Mud) Flaps missing or defective                                                                                                      Maint.
                                                                                                                                                               Vehicle
                                                                                               1                0                        6
   393.19          Inoperative/defective hazard warning lamp                                                                                                      Maint.
                                                                                                                                                               Vehicle
                                                                                               1                1                        2
   393.201(a)      Frame cracked / loose / sagging / broken                                                                                                       Maint,
                                                                                                                                                               Vehicle
                                                                                               1                1                        7
   393.207(a)      Axle positioning parts defective/missing                                                                                                       Maint.
                                                                                                                                                               Vehicle
                                                                                                   1            0                        4
   393,45          Brake tubing and hose adequacy                                                                                                                 Maint.
                                                                                                                                                               Vehicle
                                                                                                   1               1                     4
   393.45UV        BrakeTubing and Hose Adequacy UnderVehicle                                                                                                     Maint.
                                                                                                                                                                  Vehicle
                                                                                                   1               0                         4
   393.47(e)       Clamp/Roto-Chamber type brake.(s) out of adjustment                                                                                             Maint,
                                                                                                                                                                  Vehicle
                                                                                                   1               1                         4
    393.48(a)       Inoperative/defective brakes                                                                                                                   Maint,
                                                                                                                                                                  Vehicle
                    Automatic brake adjuster CMV manufactured on or after                          1                0                        4
    393.53(b)                                                                                                                                                      Maint.
                    10/20/1994 -air brake
                                                                                                                                                                  Vehicle
                                                                                                   1                0                        1
    393.60(c)       Damaged or discolored windshield                                                                                                               Maint.
                                                                                                                                                                   Vehicle
                                                                                                       1            1                        8
    393.75(a)        Flat tire or fabric exposed                                                                                                                   Maint.
                                                                                                                                                                   Vehicle
                                                                                                       1            0                        8
    393.75(c)        Tire—.other tread depth less than 2/32 of inch                                                                                                Maint.
                                                                                                                                                                   Vehicle
                                                                                                       1               0                     1
    393.83(g)        Exhaust leak under truck cab and/or sleeper                                                                                                   Maint.
                                                                                                                                                                   Vehicle
                                                                                                       1               0                     2
    393,84           Inadequate floor condition                                                                                                                     Maint,
                                                                                                                                                                   Vehicle
                                                                                                       1               0                         2
    393.9            Inoperative required lamps                                                                                                                     Maint.
                                                                                                                                                                   Vehicle
                                                                                                       1               ft..-                     2
     396.3(a)(1)   . Inspection/repair and maintenance parts and accessories                                                                                        Maint.



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                                                                        EXHIBIT 4
                                                                                4                                                                                            2/4
                           Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 37 of 91
10/24/2016                                         Safety Measurement System - Complete SMS Profile (U.S. DOT# 340457)
. •* /           .
                                                                                                           0               I       MeasU/ghicle
' / 3AlB~            Brakes (gsfferai)                                                   Vefticle
                                                                                                                           _ Severity
                                                                                    Plate Stjte            1 Type          5 Weight
                               JointtoBi^Broken                ig &tffpMer
                                                                                                                                m
                                                                                                                                               Vehicle
                                                                                              3            0               3
 395.5(b)            Oil and/or grease leak                                                                                                    Maint.


                                                                                                                           Total Inspections: 19
       INSPECTION HISTORY

                                                                                          Vehicle                                      Measure
                              Report
                                                                                                                               Severity          Time

                                                                                     Plate State               Type            Weight           Weight
          Inspection Date              Number          State     Plate Number
                                                                                                                                 (SW)            (TiW)
                                                                                         NM             TRUCK TRACTOR                              3
               3/30/2016          NM3606100934          NM             IRH9768
                                                                                         NM             TRUCK TRACTOR                              2
               2/25/2016          AZ0YFC000255          AZ             IRH9768
                                                                                                                                  1
  HOS Compliance Violation: 395.8 Record of Duty Status violation (general/form and manner)
                                                                                                                                  2
  Vehicle Maint. Violation: 393,9 Inoperable Required lamp
                                                                                         NM             TRUCK TRACTOR                               2
               2/18/2016          NM3249108049          NM             IRJ7508
                                                                       IRH9768           NM             TRUCK TRACTOR                               2
               2/12/2016          NM3248104100          NM
                                                                                                                                   6
   Vehicle Maint. Violation: 393.19 Inoperative/Defective Hazard Warning Lamp
                                                                       IRH9768           NM             TRUCK TRACTOR                               2
               2/10/2016          AZ0Y0XQ00103           AZ
                                                                                                                                   1
   Vehicle Maint. Violation: 392.2WC Wheel (Mud) Flaps missing or defective
                                                                                                                                   1
   Vehicle Maint. Violation: 393.60(c) Damaged or discolored windshield
                                                                                          NM             TRUCK TRACTOR                              2
               1/25/2016          NM3643101254          NM             WD111453
                                                                                          NM             TRUCK TRACTOR                              2
               11/30/2015         NM3670101027           NM            IRH9768
                                                                                                                                   4
   Vehicle Maint. Violation: 393,45 Brake tubing and hose adequacy
                                                                        IRJ7508           NM             TRUCK TRACTOR                              2
               11/24/2015         NM3743100784           NM
                                                                                          NM             TRUCK TRACTOR                              2
               11/20/2015         AZ0YEM000867           AZ             IRH9768
                                                                                                                                   4
       Vehicle Maint. Violation: 396.3A1B Brakes (general) Explain:
                                                                                                                                   3
       Vehicle Maint, Violation: 396.5(b) Oil and/or grease leak
                                                                                          NM             TRUCK TRACTOR                                 2
               10/28/2015         NM3231107321           NM             IRH9768
                                                                                                                                   4
       Vehicle Maint, Violation: 393.47(e) Clamp or Roto type brake out-of-adjustment
                                                                                                                               4 + 2 (OOS)
       Vehicle Maint. Violation: 393.45UV Brake Tubing and Hose Adequacy UnderVehicle (OOS)
                                                                                                                               7 + 2 (OOS)
       Vehicle Maint. Violation; 393.207(a) Axle positioning parts defective/missing (OOS)
                                                                                                                               2 + 2 (OOS)
       Vehicle Maint, Violation: 393.201(a) Frame cracked /loose /sagging / broken (OOS)
                                                                                                                               4 + 2 (OOS)
       Vehicle Maint. Violation: 393.48(a) Inoperative/defective brakes (OOS)
                                                                                                                                       3
       Vehicle Maint, Violation: 396.5(b) Oil and/or grease leak
                                                                                                                                       2
       Vehicle   Maint. Violation: 393.84 Inadequate floor condition
                                                                                                                                       1
       Vehicle   Maint. Violation: 393.83(g) Exhaust leak under truck cab and/or sleeper
                                                                                                                               8 +2 (OOS)
       Vehicle   Maint. Violation: 393.75(a) Flat tire or fabric exposed (OOS)
                                                                                                                                       4
       Vehicle   Maint. Violation: 393.53(b) CMV manufactured after 10/19/94 has an automatic airbrake adjustment
       _____         system that fails to compensate for wear
                                                                                           NM             TRUCK TRACTOR                                 2
                10/5/2015          NM3670100722          NM             IRH9768
                                                                                                                                       1
       HOS Compliance Violation: 395.8 Record of Duty Status violation (general/form and manner)
                                                                                           NM             TRUCK TRACTOR                                 2
                10/5/2015          AZ0YDG000501           AZ            IRH9768
                                                                                           NM             TRUCK TRACTOR                                    2
                9/28/2015          AZ0YEJ000845           AZ            IRH9768
                                                                                                t (OOS)                        3 + 2 (OOS)
         Vehicle Maint. Violation: 396.3A1DSUJ Universal Joint Loose /Broken / Missing Componen
                                                                                                                                       2
       Vehicle Maint. Violation: 396.3(a)(1) Inspection, repair and maintenance of parts & accessories
                                                                                                                                       8
       Vehicle Maint. Violation: 393.75(c) Tire-other tread depth less than 2/32 of inch
                                                                                                                                       3
         Vehicle Maint. Violation: 396.5(b) Oil and/or grease leak
                                                                                           NM             STRAIGHT TRUCK                                   2
                9/25/2015           AZ0000779240          AZ            1RJ5601
                                                                                           NM             TRUCK TRACTOR                                    2
                9/24/2015          NM3670100662           NM            IRH9768
                                                                                                      vehicle)                             7
         HOS Compliance Violation: 395.3A2-PROP Driving beyond 14 hour duty period (Property carrying
                                                                                           NM             TRUCK TRACTOR                                    1
                9/21/2015           AZ0YEJ000832          AZ             IRH9768
                                                                                           NM              TRUCK TRACTOR                                   1
                9/20/2015           NM3583104388          NM             IRH9768
                                                                                            NM            TRUCK TRACTOR                                    1
                8/28/2015           AZ0000775601          AZ             IRH9768
                                                                                            NM             TRUCK TRACTOR                                   •1
                8/19/2015           AZOYEM000820          AZ             IRH9768




•I *
       httr«-//ai fm™a rH nw/RMS/Carrier/340457/CompleteProfile.aspx      EXHIBIT
                                                                          EXHIBIT 4
                                                                                  4                                                                             3/4
                    Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 38 of 91
10/24/2016                                       Safety Measurement System - Complete SMS Profile (U.S. DOT# 340457)


   CRASH ACTIVITY DETAIL (VEHICLES INVOLVED IN CRASHES)                                                                      Number of Crashes: 0



                                                         This carrier has no crashes to display.




   INVESTIGATION RESULTS                                                                                               Acute/Critical Violations: 0



                                               This carrier has no Acute/Critical violations to display.




   Summary of Activities                                  Carrier Registration                                Penalties History

   The summary includes information                       Subject to General Threshold                        (Six years as of 10/23/2016 updated
   on the 5 most recent investigations                                                                        daily from FMCSA)
   and 24 months of inspections and
                                                                                                                CLOSED
   crash history.
                                                                                                                DATE                CASE#

   Most Recent Investigation: 1/26/2012                                                                         10/9/2012           NM-20 12-0033-
   (Compliance Review)                                                                                          US1057
   Total Inspections: 19                                                                                                      392.9a(a)
             Total inspections without                                                                            Violation: (1)              $0.00
             Violations used in SMS: 10                                                                                       382.305(b)
             Total Inspections with                                                                               Violation: (1)              $3,460.00
             Violations used in SMS: 9                                                                                        382.401(c)
   Total Crashes* :0                                                                                              Violation: (6)              $790.00

    *Crashes listed represent a motor
    carrier's involvement in reportable
    crashes, regardless of the carrier's or
    driver's role in the crash. Continue
    for details.




    USE OF SMS DATA/INFORMATION

    FAST Act of 2015:

    Readers should not draw conclusions about a carrier's overall safety condition simply based on the data displayed in this system. Unless a
    motor carrier has received an UNSATISFACTORY safety rating under part 385 of title 49, Code of Federal Regulations, or has otherwise been
    ordered to discontinue operations by the Federal Motor Carrier Safety Administration, it is authorized to operate on the Nation's roadways.

    Safety Measurement System:


    The data in the Safety Measurement System (SMS) is performance data used by the Agency and Enforcement Community. A                     symbol, based

    on that data, indicates that FMCSA may prioritize a motor carrier for further monitoring.          .


    The      symbol is not intended to imply any federal safety rating of the carrier pursuant to 49 USC 31144. Readers should not draw conclusions
    about a carrier's overall safety condition simply based on the data displayed in this system. Unless a motor carrier in the SMS has received an
    UNSATISFACTORY safety rating pursuant to 49 CFR Part 385, or has otherwise been ordered to discontinue operations by the FMCSA, it is
    authorized to operate on the nation's roadways.                        .                                                    .

    Motor carrier safety ratings are available at http://safer.fmcsa.dot.gov and motor carrier licensing and insurance status are available at http://li-
    public.fmcsa.dot.gov/.




 https://al.fmcsa.dot.gov/SMS/Carrier/340457/CompleteProfile.aspx   EXHIBIT
                                                                    EXHIBIT 4
                                                                            4                                                                               4/4
                       Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 39 of 91
                                                                                                     ETE MFG CO INC
                                                              SAFER Web - Company Snapshot ABC CONCR
10/24/2016




                      USDOT Number               :> MC/MX Number ® Name                                                                         Company Snapshot
                           Enter Value; ABC septic systems in(                                                                                  ABC CONCRETE MFG CO INC
                                                                                                                                                     USDOT Number: 778953


                                                                                      Rating
                                             | Inspections/Crashes In Canada | Safety
   ID/Operations | Inspections/Crashes In US                                                                                                           Other Information for this
                                                                                                                                                                 Carrier
                                                                                                            submit form MCS-150 which can
                                                         ID/Operations Information, please complete and
   Carriers; If you would like to update the following                                                  y of your company's safety data, you
                                                    office. If you would like to challeng e the accurac
   be obtained online or from your State FMCSA                                                                                                         ¥ SMS Results
   can do so using  FMCSA    's DataQs system.
                                                                                                                                                        ¥ Licensing & Insurance

                                                                                                       and the general public Interested in
                                                      Company Safety Profile (CSP) to motor carriers
   Carrier and other users: FMCSA provides the                                                                                              a CSP please visit the CSP
                                          r motor  carrier's safety performance then what is captured in the Company Snapshot. To obtain
   obtaining greater detail on a particula
                                                  -4001   (Fee Required ).
   order page or call (800)832-5660 or (703)280
                                                                                                            nature go to SAFER General Help.
                                                           click on any field name or for help of a general
    For help on the explanation of individual data fields,
                                                                                                                                                      d.
                                                                                                 10/23/2016. Carrier Registration Information Outdate
                                                      FMCSA management information systems as of
    The information below reflects the content of the
    Carrier VMT Outdated.



                                         Entity Tyro:    carrier
                                                         NOT AUTHORIZED
                                                                                                        Qui of S«rvlc« Dat»: | Now
                                    Operating Status:

                                         Laoal Ham*:     ABC CONCRETE MFG CO INC

                                          QBANima:       ABC SEPTIC SYSTEMS INC

                                   Physical AUdrasa:      1004 SOUTH LAKE ST
                                                          FARMINGTON, NM 87401

                                                 PfW;     (505) 325-8289

                                     Mailing Addrt»»:     1004 SOUTH LAKE ST
                                                          FARMINGTON, NM 87401
                                                                                                     State Canter ID Number:
                                      USDOT Number,       778953
                                                                                                              DUNS Number       -
                                 MC/MX /FF Numbarfsh      MC-348533


                                                                                                                    BlWjrsj     3
                                         Power Units:     2


                                                          04/22/2014                                                         It 55,579 (2013)
                                  MCS-150 Form Data;


                               Operation Clarification:


                                                              x Auth. For Hire           Priv. Pass.(Non-         State Govt
                                                                                         buslness)                Local Govt
                                                                Exempt For Hire
                                                                                         Migrant                  Indian Nation
                                                                Private(Property)
                                                                                         U.S. Mail
                                                                Priv. Pass.
                                                                (Business)               Fed. Govt


                                Canter Operation:


                                                                   x Interstate           intrastate Only        Intrastate Only
                                                                                          (HM)                   (Non-HM)


                                Cargo Carriad:


                                                                                        Liquids/Gases                    Chemicals
                                                    X General Freight
                                                                                        Intermodal Cont.                 Commodities Dry Bulk
                                                    x Household Goods
                                                                                        Passengers                       Refrigerated Food
                                                    x Metal: sheets, colls, rolls
                                                                                      X Oilfield Equipment               Beverages
                                                        Motor Vehicles
                                                                                        Livestock                        Paper Products
                                                        Drive/Tow away
                                                                                      x Grain, Feed, Hay                 Utilities
                                                    x Logs, Poles, Beams,
                                                      Lumber                            Coal/ Coke                       Agricultural/Farm
                                                                                                                         Supplies
                                                    x Building Materials                Meat
                                                                                                                        x Construction
                                                        Mobile Homes                    Garbage/Refuse
                                                                                                                         Water Well
                                                    x Machinery, Large                  US Mail
                                                      Objects
                                                        Fresh Produce                                                                              liVWWTf-
                                                                                                                                                               "3
                                                                                                                                                          vS
                                                                                                                                                   MR<EE reporting. INC


                                                                         | Inspections/Crashes In Canada | Safety Rating
                               ID/Operations | Inspections/Crashes In US

                       j-r~~.'~.~^,t,or,oeoarrhtune=A
                                                              NY/!.auerv
                                                                                        EXHIBIT
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                   Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 40 of 91
10/24/2016                                                               SAFER Web - Company Snapshot ABC CONCRETE MFG CO INC

                                                                         US Inspection results for 24 months prior to: 10/23/2016

                                                                                                   Total Inspections: 1
                                                                                                 Total IEP Inspections: 0
                                                                                                          Go to Inspections Helo for further information.
             Note: Total Inspections may be less than the sum of vehicle, driver, and hazmat inspections.

                                                                                                       .l/MKiafei.
                                                                                                           Driver                      Hazmat                               IEP
                                   Inspection Type                             Vehicle

                                                                                                                                         0                                   0
                                           Ins pactions                           1                          1

                                                                                  0                          0                           0                                   0
                                      Out of Sarvica
                                                                                                            0%                           %                                  0%
                                  Out of Sarvica %                               0%

                                   Matl Average %
                                                                               20.34%                     4.96%                        3.91%                                N/A
                                           (2014-2015)




                                                             Crashes reported to FMCSA by states for 24 months prior to: 10/23/2016

                                                                                                               any determination as to responsibility,
                   Note: Crashes listed represent a motor carrier's involvement in reportable crashes, without

                                                                                                         -Sa^iis?/
                                                                                                            Injury                      Tow                                 Total
                                                         Type                    Fatal

                                                                                                              0                           0                                  0
                                                  Crashes                          0




                                                                                                           Rating
                        ID/Operations | Inspections/Crashes In US | Inspections/Crashes In Canada | Safety

                                                                     Canadian Inspection results for 24 months prior to: 10/23/2016

                                                                         Total inspections: 0
                                                                                                             Inspections Help for further Information.
                   Note: Total inspections may be less than the sum of vehicle and driver inspections. Go to

                                                                                                         Inspections:

                                                                                                           Vehicle                                                 Driver
                                                                     Inspection Type

                                                                                                                 0                                                   0
                                                                             Inspections

                                                                                                                 0                                                   0
                                                                       Out of Service

                                                                                                              0%                                                    0%
                                                                     Out of Service %




                                                                                 Crashes results for 24 months prior to: 10/23/2016

                                                                                                                    determination as to responsibility.
                    Note: Crashes listed represent a motor carrier's involvement in reportable crashes, without any

                                                                                                           Crashes:1           t                                                      __   ,,
                                                                                                                         ....                               „ ,,    —       ,. —
                                    I,,                i .       .     ...                 ...

                                                                                                             Injury                          Tow                             Total
                                                             Type                 Fatal

                                                                                                                  0                           0                                   0
                                                      Crashes                          0




                                                                                                             Rating
                          ID/Operations J Inspections/Crashes In US | Inspections/Crashes In Canada | Safety

                                                                                                                          In intrastate commerce.
                          The Federal safety rating does not necessarily reflect the safety of the carrier when operating

                                                                                                      Carrier Safety Rating:


                                                                                       The rating below Is current as of: 10/23/2016

                                                                                                     Review Information:



                                                                      04/16/2012                                        Review Date:               01/26/5012
                                   Rating Date:
                                                                                                                               Type:               Compliance Review
                                          Rati                        Conditional
                                                 2E




                                                                                                                               \ OiG Hotline j Web Policies and important links | Plug-Ins
                          SAFER Home I Feedback | Privacy Policy | USA.gov | Freedom of Information Act (FOIA) j Accessibility
                                                                                                      Federal Motor Carrier Safety Administration
                                                                                                                                                            Office Contacts
                                                             1200 New Jersey Avenue SE, Washington. DC 20590 • 1-800-832-5660 • TTY: 1-800-877-8339 • Field




' httD://safer.fmcsa.dot.qov/quefy.asp?searchtype=ANY&query_type=EXHIBIT        5
                                                                  querE:XHMBJX <5yjDaram=US DOT&originat_query_param=:NAME&query_strin . 2/2
                    Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 41 of 91
=MCSA Motor Carrier                                                                                                       3E
                                                                                                                               4V

                                                                                                                     s~
JSDOT Number: 778953
)ocket Number:      MC348533
                                                                                                                      FMC8A
egal Name:          ABC SEPTIC SYSTEMS, INC.

)BA (Doing-Business-As) Name




ddresses
3usiness Address:        1004 SOUTH LAKE ST
                         FARMINGTON, NM 87401
Business Phone:          (505) 325-8289       Business Fax:
Wail Address:


                                                   Mail Fax:                          Undeliverable Mail:            NO
Mail Phone:


authorities:

Common Authority:        NONE                 Application Pending:         NO
Contract Authority:      INACTIVE             Application Pending:         NO
Broker Authority:        NONE                 Application Pending:         NO
                         YES                   Passenger:                  NO          Household Goods:                   NO
Property:
Private:                 NO                    Enterprise:                 NO


nsurance Requirements:

                    NO         BIPD Waiver:   NO     BIPD Required:    $750,000        BIPD on File:            $0
BIPD Exempt:
Cargo Exempt:       NO                               Cargo Required:       NO          Cargo on File:           NO
                    YES                              Bond Required:        NO          Bond on File:            NO
BOC-3:
Blanket Company: TRUCK PROCESS AGENTS OF AMERICA, INC


Comments: 09/11/06 NAME CHANGE ASSIGNED TO WILLIE.

Vctive/Pending Insurance:


  Form:                             Type:                                       Posted Date:
                                                        Coverage From:                               $0   To:                       $0
  Policy/Surety Number:
  Effective Date:                                     Cancellation Date:



Rejected Insurances:


   Form:                            Type:
                                                         Coverage From:                              $0   To:                       $0
   Policy/Surety Number:
   Received:                                                    Rejected:

   Rejected Reason:




                                                             Page 1 of 3                       Data Source: Licensing and Insurance
Run Date: October 24, 2016                                                                                                  li carrier
Run Time: 08:47
                                                               EXHIBIT
                                                               EXHIBIT 5
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                         Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 42 of 91

MCSA Motor Carrier
5DOT Number. 778953
xket Number. MC348533                                                                               FMCSA
sgal Name:          ABC SEPTIC SYSTEMS, INC.

BA (Doing-Business-As) Name



>urance History:


Form:      91X                     Type: BIPD/Primary
                                                                                $0       To:          $1,000,000
                              CTP0000026               Coverage From
Policy/Surety Number:
                              11/06/1998             To: 07/16/1999        Disposition: Cancelled
Effective Date From:

Insurance Carrier         FARWEST INSURANCE COMPANY(FAR WEST)                                                            ;
                                                                                                                         !
              Attn:       NATALIE A. WEST
          Address:        P.O. BOX 4500
                          WOODLAND HILLS, CA 91367 US
         Telephone:       (818)871 -2000      Fax:


 Form:     91 X                     Type: BIPD/Primary
                                                                                $0        To:          $1,000,000
                              CTP0000026                Coverage From
 Policy/Surety Number:
                              11/06/1998             To: 11/06/1998        Disposition: Replaced
 Effective Date From:

Insurance Carrier         FARWEST INSURANCE COMPANY(FAR WEST)
                 Attn:    NATALIE A. WEST
           Address:       P.O. BOX 4500
                          WOODLAND HILLS, CA 91367 US
         Telephone:       (818)871 -2000      Fax:


 Form:       91X                    Type: BIPD/Primary
                                                                                 $0        To:         $1,000,000
                               BAW (07) 52911357    Coverage From
 Policy/Surety Number:
                                       006       To: 10/29/2006             Disposition: Replaced
 Effective Date From:          02/09/2

 Insurance Carrier        WEST AMERICAN INSURANCE CO.
                 Attn:     DENISE MACKENDRICK
           Address:        9450 SEWARD RD.
                           FAIRFIELD, OH 45014 US
          Telephone:       (513)867-3828       Fax:


  Form:      91 X                    Type: BIPD/Primary
                                                                                  $0       To:            $750,0 00
                               TN505638                  Coverage From
  Policy/Surety Number:
                               10/29/2006             To: 10/30/2011        Disposition: Replaced
  Effective Date From:
                                                                                                                             :


 Insurance Carrier         NORTHLAND INSURANCE COMPANY
                  Attn:
            Address:       385 WASHINGTON STREET MAIL CODE 103
                           ST. PAUL, MN 55102-1309 US
          Telephone:       (651 ) 310-41 00    Fax:    (651)310-4949




                                                                                     Data Source: Licensing and Insurance
Run Date: October 24, 2016                                   Page 2 of 3                                          li carrier
Run Time: 08:47
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                                                               EXHIBIT 5
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                      Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 43 of 91

"MCSA Motor Carrier                                                                                               I

SDOT Number: 778953
             MC348533
locket Number:                                                                                                  FMCSA
egal Name:        ABC SEPTIC SYSTEMS, INC.

IBA (Doing-Business-As) Name



surance History:


 Form:     91X                    Type: BIPD/Primary
                                                                                           $0       To:           $750,000
 Policy/Surety Number:      LT00002480                  Coverage From

                            10/30/201 1               To; 12/06/2012                  Disposition: Cancelled
 Effective Date From:

 Insurance Carrier     NATIONAL CASUALTY COMPANY
              Attn:    ROBERT L WELCH
          Address:     8877 N. GAINEY CTR DR,PO BOX 4110
                       SCOTTSDALE, AZ 85261 US
         Telephone:    (480)948-0505           Fax:


 Form:     91X                    Type: BIPD/Primary
                                                         Coverage From                     $0        To:           $750,000
 Policy/Surety Number:      LT00007622
                            1 2/06/201 2              To: 12/16/2014                  Disposition; Cancelled
 Effective Date From :

 Insurance Carrier     NATIONAL CASUALTY COMPANY
              Attn:    ROBERT L WELCH
           Address:    8877 N. GAINEY CTR DR.PO BOX 4110
                        SCOTTSDALE, AZ 85261 US
         Telephone:     (480) 948 - 0505     _ Fax:


authority History:

                                          Original Action                             Disposition Action
Sub No.     Authority Type

           MOTOR PROPERTY
                                           REINSTATED                    10/24/2006   REVOKED                          12/22/2014
           CONTRACT CARRIER


           MOTOR PROPERTY
                                           GRANTED                       01/19/1999   REVOKED                          10/01/1999
           CONTRACT CARRIER



'ending Application:
                                                                       Filed          Status               Insurance   BOC-3
Authority Type




(evocation History:
Authority Type          1st Serve Date           2nd Serve Date           Reason

                        11/19/2014               12/22/2014               INVOLUNTARY REVOCATION
CONTRACT                                                                                                                               i
                        08/11/1999               10/01/1999               INVOLUNTARY REVOCATION
CONTRACT




                                                             Page 3 of 3                        Data Source: Licensing and Insurance
*un Date: October .24, 2016                                                                                                   li carrier

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                     Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 44 of 91
10/24/2016                                        Safety Measurement System - Complete SMS Profile (U.S. DOT#778953)


                       Safety

        SMS            Measurement
                       System



    ABC CONCRETE MFG CO
                                                         Safety Rating & OOS                               Licensing and Insurance
    INC                                                                                                    (As of 10/23/2016 updated hourly
                                                         Rates
                                                                                                           from L&l )
    DBA: ABC SEPTIC SYSTEMS                              (As of 10/23/2016 updated daily
    INC                                                  from SAFER )                                             Active For-Hire Authority
                                                                                                           Type                Yes/No MCff/MX#
    U.S. DOT#: 778953                                    CONDITIONAL
                                                         (Rating Date: 04/16/2012)                         Property             No
    Address: 1004 SOUTH LAKE ST
     FARMINGTON.NM 87401                                                                                   Passenger            No
                                                         Out of Service Rates
     Number of Vehicles; 2                                                                                 Household Goods      No
     Number of Drivers: 3
                                                         Type          OOS % National Avg%                 Broker               No
     Number of Inspections: 2
                                                         Vehicle       0.0        20.3

                                                         Driver        0.0        5.0

                                                          Hazmat                  3.9




    U.S. DOT# 778953 has no current for-hire operating authority with FMCSA.

        See how the proposed enhancements impact carrier results. Visit the SMS Preview Website



    BASIC StatUS (Public Property Carrier View) ?
    Behavior Analysis & Safety Improvement Categories (BASICs)                                Based on a 24-month record ending September 23, 2016




                                                                                                                          A

                                                                                                                        Not Public
                              Not Public
                                                       Hours-of-                                   Controlled           Hazardous
                                                       Service                   Vehicle           Substances            Materials
                                                                              Maintenance          and Alcohol          Compliance       Driver Fitness
     Unsafe Driving         Crash Indicator           Compliance




     On-Road Performance

                                                  0                       0                    0                                         0
    0                                                                                                                      NOT
                                 NOT              Measure                    Measure           Measure                                   Measure
    Measure

                               PUBLIC                                                                                    PUBLIC



     On-Road Performance Detail

                                                                             Vehicle           Driver                                    Driver
    Driver                                         Driver
                                                                             Inspections: 2    Inspections: 2                            Inspections: 2
    Inspections with                               Inspections: 2

    Unsafe Driving                                                           with Vehicle      with                                      with Driver
                                                   with HOS
    Violations: 0                                                            Maint.            Drugs/Alcohol                             Fitness
                                                   Compliance
                                                                             Violations: 0     Violations: 0                             Violations: 0
     Safety Event                                  Violations: 0
                                  NOT                                                                                      NOT
     Group: No Safety                                                        Safety Event      Safety Event                              Safety Event
                                                   Safety Event
     Event Grouping                                                                            Group: No                                 Group: No Safety
                                                                         EXHIBIT
                                                                         EXHIBIT 5
                                                   Group: No
                                                                                 5                                                                        1/3
   httns'//ai fmosa.dot.aov/SMS/Carrier/778953/CornpleteProfile.aspx
                    Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 45 of 91
10/24/2016                                       Safety Measurement System - Complete SMS Profile (U.S. DOT#778953)

 Avg. PU x UF: 2       Reppnt | R| |f          SafetylEvent            Safety Evey^hicte Safety Event              PI ip[ IT Meafey^it Grouping
                           1   ''i'iiv        [Group ng                Groubing
                                                                                              Grouping              Severity Weight      Time Weight
 sft%9g£ribn Date              Number          State     Plate Nuriber       Plate State              ype
                                                                                                                           (SW)               (TiW)
 Combination
 Carrier




   Investigation Results

                                               No                      No Acute/Critical      No Acute/Critical                       No Acute/Critical
  No Acute/Critical
  Violations                                   Acute/Critical          Violations             Violations              NOT             Violations
                                                                                                                                      Discovered
  Discovered                    N/A            Violations              Discovered             Discovered
                                                                                                                    PUBLIC
                                               Discovered



   Select a BASIC icon above to get details, or view your Complete SMS Profile.


                                                                                                                                         Violations: 0
   VIOLATION SUMMARY



                                                         This carrier has no violations to display.



                                                                                                                                   Total Inspections: 2
    INSPECTION HISTORY

                                                                                    Vehicle                                        Measure
                        Report
                                                                                                                     Severity Weight        Time Weight
                                Number           State    Plate Number        Plate State             Type
     Inspection Date                                                                                                        (SW)               (TiW)
                                                                                    NM          TRUCK TRACTOR                                      1
        7/31/2015           AZ0YEL001469          AZ          IRG9309
                                                                                    NM          TRUCK TRACTOR                                      1
       10/22/2014          TNTCDK000660           TN          IRG9309


                                                                                                                                  Number of Crashes: 0
    CRASH ACTIVITY DETAIL (VEHICLES INVOLVED IN CRASHES)


                                                           This carrier has no crashes to display.



                                                                                                                           Acute/Critical Violations: 0
     INVESTIGATION RESULTS



                                                 This carrier has no Acute/Critical violations to display.




     Summary of Activities                                  Carrier Registration                                  Penalties History

                                                                                                                  (Six years as of 10/23/2016 updated
     The summary includes information                       Flags
                                                                                                                  daily from FMCSA)
     on the 5 most recent investigations
     and 24 months of inspections and                       Subject to General Threshold                           CLOSED
     crash history.                                                                                                 DATE             CASE#

     Most Recent Investigation: 1/26/2012                                                                           10/9/2012        NM-2012-0034-

     (Compliance Review)                                                                                            US1057

     Total Inspections: 2                                                                                            Violation: 391.51(a)     $790.00
               Total Inspections without                                                                             Violation: 382.115(a)    $1,210.00
               Violations used in SMS: 2
               Total Inspections with
               Violations used in SMS: 0
     Total Crashes* : 0

  httns://ai.fmcsa.dot.qov/SMS/Carrier/778953/CompleteProfrle.aspx ,
                                                                        EXHIBIT
                                                                        EXHIBIT 5
                                                                                5                                                                         2/3
                   Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 46 of 91
10/24/2016                                        Safety Measurement System - Complete SMS Profile (U.S. DOT#778953)

   "Crashes listed represent a motor
  'Carrier's involvement in reportable
   crashes, regardless of the carrier's or
   driver's role in the crash. Continue
   for details.




   USE OF SMS DATA/INFORMATION

   FAST Act of 2015:

   Readers should not draw conclusions about a carrier's overall safety condition simply based on the data displayed in this system. Unless a
   motor carrier has received an UNSATISFACTORY safety rating under part 385 of title 49, Code of Federal Regulations, or has otherwise been
   ordered to discontinue operations by the Federal Motor Carrier Safety Administration, it is authorized to operate on the Nation's roadways.

   Safety Measurement System:


   The data in the Safety Measurement System (SMS) is performance data used by the Agency and Enforcement Community. Asa symbol, based
   on that data, indicates that FMCSA may prioritize a motor carrier for further monitoring.


   The       symbol is not intended to imply any federal safety rating of the carrier pursuant to 49 USC 31144. Readers should not draw conclusions
    about a carrier's overall safety condition simply based on the data displayed in this system. Unless a motor carrier in the SMS has received an
    UNSATISFACTORY safety rating pursuant to 49 CFR Part 385, or has otherwise been ordered to discontinue operations by the FMCSA, it is
    authorized to operate on the nation's roadways.

    Motor carrier safety ratings are available at http://safer.fm csa.dot.gov and motor carrier licensing and insurance status are available at http://ll-
    Dublic.fmcsa.dot.gov/.




  https://al.fmcsa.dot.gov/SMS/Carrier/778953/CompieteProfile.aspx
                                                                     EXHIBIT
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                   Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 47 of 91
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I#




                             A National
                            American
                                    Insurance
                              Company


                         AGENCY/COMPANY AGREEMENT




                                                                 MCKEE REPORTING, INC.




                                              EXHIBIT
                                              EXHIBIT 6
                                                      6
             Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 48 of 91
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        The Company and the Agent agree as follows:
(
        I.                               AGENTS AUTHORITY

                A.      The Agent has the authority to solicit, receive and transmit applications for
                        insurance contracts for which a commission is specified in the prevailing
                        Commission Schedule.


                 B.     The Agent agrees to:

                         1.    Bind and execute insurance contracts subject to the underwriting
                               rules and regulations of the Company; and

                        2.     Forward to the Company copies of all binders, policies, certificates,
                               and endorsements issued by the Agent within three (3) business
                               days of inception of coverage.


        II.           COLLECTION, ACCOUNTING, AND PAYMENT OF PREMIUMS

                 For premium collection, accounting and payment purposes, the Agency and the
                 Company shall designate policies as either agency bill or direct bill. The rules
                 governing premium collection, accounting and payment are contained in the
                 attached Addendum A. All premiums which the Agent receives for business that
                 it places with the Company are the property of the Company and will be held by
                 the Agent as a fiduciary in an account as required by taw.

         ill.                                 COMMISSIONS

                 The Agent shall earn commissions at the percentage rates set forth in the
                 prevailing Commission Schedule, or as otherwise negotiated and agreed.


         IV.                   AMENDMENTS TO THIS AGREEMENT

                 A.      This Agreement may be amended at any time by a written agreement
                         signed by both the Agent and the Company.

                 B.      This Agreement may be amended by the Company after giving the Agent
                         ninety (90} days advance written notice, except that no advance notice is
                         required of the Company to:

                         1.     increase commission rates; or


                         2.     add lines of business to the Commission Schedule.

                 C.      Individual commission rates will remain in effect for not less than one year.
                         Changes in commission rates will apply to policies or endorsements with
                         effective dates after the change in commission becomes effective.


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                                                EXHIBIT
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           Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 49 of 91



          v.                                          CLAIMS

                    A.    the Agent shall immediately report all claims and losses and forward all
                          legal process involving the Company to the appropriate Company claims
                          office.


                    B.     Unless otherwise authorized by the Company in writing, the Agent may not
                          commit the Company to any liability in connection with any claim or loss.


          VI.                                      ARBITRATION

                    The Agent and the Company may, by mutual consent, agree to arbitrate any
                    controversy arising out of this Agreement Their agreement to arbitrate shall be
                    indicated by their executing the Company's Consent to Arbitration Form.


          VII.                                 INDEMNIFICATION

                    Whenever any lawsuit is filed against the Agent which allegedly arises out of the
                    Company's act or omission ("Suit"):

                    A.    The Company shall indemnify the Agent and hold it harmless against liability
                           for damages and reasonable expenses incurred in the investigation and
                           defense of the Suit, including reasonable legal fees, except to the extent that
                           the Agent:


                           1.       Caused, compounded, or contributed to the Company's act or
                                    omission, or

'                          2,       Assumes any liability or makes any payment by way of compromise
                                    or settlement or incurs any expense with regard to the Suit without
                                    the Company's prior written consent.

                    B.     The Agent shall immediately notify the Company in writing of the Suit and
                           shall fully cooperate with the Company. If the Agent fails to do so, the
                           Company shall be relieved of any obligations to indemnify and hold the
%                          Agent harmless.


                    C.     The Company shall have the right to assume or associate itself in the
                           defense of the Suit.


          VIII.                                    SUSPENSION

                    If the Agent violates any of the terms of this Agreement, including any Company
                    rules or regulations, the Company may suspend the Agent's authority to bind any
                    new or renewal business and to increase coverage (s) on any policy. The
                    suspension shall take effect when the Company provides the Agent written notice
                .   of the suspension. If the suspension is because the Agent is delinquent in
                    accounting for, or in payment of, monies due, the Company may aiso place
    ;V;             policyholders on direct bill premium collection.




    *
                                                    EXHIBIT 6
                                                    EXHIBIT-6                                  -   7T
            Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 50 of 91
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            IX.                   #           TERMINATION                 %

!                 A.    The Agreement may be terminated at any time by either party's giving
                        ninety (90) days prior written notice to the other, subject to applicable
                        regulatory requirements.

                  B.    The Company may terminate this Agreement immediately upon giving
                        written notice to the Agent if:

                        1.     The Agent's authority to engage in the business of insurance is
                               canceled, suspended, revoked or not renewed;

                        2.     The Agent materially breaches any provision of this Agreement,
                               including any Company rules or regulations, or any other agreement
                               between the Agent and the Company;

                        3.     The Agent commits fraud, gross negligence or willful misconduct
                               related to the business of insurance or trust fund money;

                        4.     The Agent abandons its business or becomes insolvent or is placed
                               in receivership or a petition is filed proposing the adjudication of the
                               Agent as bankrupt; or

                        5.     The Agent or any of the Agent's principals are convicted of a crime
                               for activity related to the business of insurance or that of trust fund
                               money.


                  C.    The Company, at its sole discretion, may offer the Agent a written plan of
                        rehabilitation prior to giving a notice of termination.   Such written plan of
                        rehabilitation may include:

                         1.    The identification by the Company of the specific problem areas;

                         2.    Performance objectives and specific dates for accomplishment;

                         3.    Periodic meetings at which time the performance objectives will be
                               mutually reviewed; and


                         4.    The specific length of the rehabilitation plan.

             X.                   AFTER NOTICE OF TERMINATION

                   A.    If this Agreement is terminated, then, unless and until the Company notifies
                         the Agent in writing to the contrary, the Agent shall:

                         1.     Continue to service policies which are in force on the effective date
                                of termination and renewals;
                                                                                                                               a

                         2.     Refrain from increasing or extending the Company's liability under,
                                or alter the terms of, any policy without the Company's prior written
                                consent;


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                      Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 51 of 91
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             ::




I|v
                                      3.      Continue to abide by the Addendum A collection, accounting and
                                              payment rules in effect as of the effective date of termination, except

IK                                            that the Company in its sole discretion may place policyholders on
                                              direct bill premium collection; and


                                      4.      Continue to receive commissions at the rates prevailing on the
                                              effective date of termination, unless otherwise notified in writing by
i-                                            the Company.
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l
£:
                              B.      If this Agreement is terminated, the Company may cancel or nonrenew any
£                                     insurance policy for any reason allowed by law.


                      XI.                         OWNERSHIP OF EXPIRATIONS

                              The records of the Agent and the use and control of expirations on business
                              written by the Company shall remain the property of the Agent and will be left in
!
                              the Agent's undisturbed possession so long as the Agent has accounted for and
                              paid to the Company ai! premiums collected or held for the Company. If the Agent
                              fails to fulfill all of these obligations, then the title, use and control of the Agent's
!:
                              records and expirations on business written by the Company immediately vest in
                              the Company with the right to sell, assign or transfer, and the Company has the
                              right to require from the Agent the immediate delivery of ail relevant records; but
r
                              the Company will refrain from exercising its right to sell, assign or transfer if the
i
f                             Agent promptly furnishes security acceptable to the Company for the payment of
                              the Agent's debt to the Company.


r.                    XII.                 SALE OF AGENT'S BUSINESS; ASSIGNMENT
i:

                              The Agent shall not sell the book of business it has with the Company, or assign
E                             or otherwise transfer this Agreement, without giving the Company prior written
I                             notice so that the Company can determine whether it wishes to appoint the

I                             successor agency or otherwise do business with the successor agency regarding
                              the assigned, transferred or sold insurance business. When providing such notice
I                             to the Company, the Agent will provide information and documentation (such as
                              the Company normally requires when considering the appointment of, an agent)
t:                             regarding the successor agency and the proposed sale, assignment or transfer at
    £
                               least ninety (90) days prior to the effective date of the sale, assignment or transfer.
I                              If the Agent fails to comply with these requirements, then the Agent shall be
    t;V:                       deemed to have elected to terminate this Agreement as of the sale, assignment or
    li : :                     transfer.
     p
     I                XIII.                                      NOTICES
     I
     ,sv '
     Sy
                               Any notice which is required by this Agreement must be written,              It shall be
     K
                                deemed given as of the date it is delivered to or delivery is refused at the
     W '                      ' addresses given on the fast page of this Agreement, or any other addresses of
                                which the parties give written notice to the other,




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    XIV.                         GENERAL PROVISIONS

I
           A.   This Agreement is not a contract of employment and does not create the
                relationship of employer and employee between the Company and Agent.
                The Agent is an independent contractor with regard to the performance of
                the duties imposed and rights conferred by this Agreement.

           B.   Ail forms, materials and other supplies furnished to the Agent shall remain
                the property of the Company.      The Agent shall return ail unused forms,
                materials and supplies to the Company immediately upon the Company's
                request.


           C.   The Agent shall pay all of the expenses which it incurs pursuant to this
                Agreement.


           D.   Other than premium disputes which the Agent has contested, in writing, in
                accordance with Addendum A, the Company has the right to offset any
                amount owed to the Agent under this Agreement or any other agreement
                between the Agent and the Company against any amount the Agent owes
                the Company, regardless of whether the Agent owes the amounts pursuant
                to this Agreement.


           E.   The Company has the right to inspect and audit the records maintained by
                the Agent on business the Agent places with the Company. The Company
                may exercise the right as often as necessary during normal business hours,
                upon giving the amount of notice which, is reasonable under the
                circumstances.

           F.   The Agent shall carry appropriate amounts of            Professional   Liability
                insurance throughout the term of this Agreement.


           G.   The failure of the Company or the Agent to insist on strict compliance with
                this Agreement, or to exercise any right or remedy, shall not constitute a
                waiver of any rights contained in this Agreement, stop the parties from
                demanding full and complete compliance, or prevent the parties from
                exercising such remedy in the future.


           H.   This Agreement amends, restates and supersedes any prior agency
                agreement, whether written or oral, between the Company and the Agent
                or their predecessors with respect to commercial insurance business, it
                constitutes the full and final agreement between the parties as to the subject
                matter hereof.


           I.   If any provision of this Agreement should be invalid under or in conflict with
                governing laws, this Agreement shall be deemed amended to comply with
                the requirements of those laws without affecting the remaining provisions of
                this Agreement.


           J.   This Agreement shall be interpreted according to the laws of the state
                where the Agent has its principal place of business.
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    ' :•••;




              This Agreement is effective as of   January 31,             , 19   96   , by and between
              Woods Insurance Service,     Inc.                 (the "Agent") and National American
              Insurance Company (the "Company").




              AGENT

              BY:


              TITLE:     (
              DATE:


              WITNESS:            -laJ

              COMPANY

              BY:
                         vwfr'
<
              TITLE:


              DATE:


              WITNESS: UflJUu^ ALcL^.1




                                      Notices shall be sent to the Company at:
                                  P.O. Drawer 9, 1010 Manvel, Chandler, Ok 74834



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             National Ameri^n Insurance Company                                              t ••
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                                 ADDENDUM A TO AGENCY/COMPANY AGREEMENT
                                  PREMIUM COLLECTION, ACCOUNTING AND PAYMENT RULES
                                                        (Agency BUI and Direct Bill)                        '

        A.   DIRECT BILL - For policies designated as "direct bar, the Company shall assume responsibility for premium
             collection.    Each month the Company will mall to the Agent a commission check and a statement based on the
             gross premiums recorded by the Company for the Agent's account during the prior month. The Company shall
             determine and pay commissions within thirty (30) days after the end of the month in which such premiums are
             received and recorded by the Company, less any commission on return premiums. No commission shall be due
             or payable to the Agent on items which the Company determines have become doubtful accounts. Whenever the
             Company refunds or returns premiums to a policyholder, the Company wil offset against commissions otherwise
             payable to the Agent that portion of the commission which is unearned because of the return or refund. The Agent
             wifi return any net amount due the Company within thirty (30) days of the Company's giving notice of the amount
             due.

        B.   AGENCY BILL - For policies designated as "agency biH", the Agent is required to coiiect premium on the Company's
             behaif, pursuant to the Agency/Company Agreement and the following rules:
             1.       Definitions
                      Accounting Month means the month for which the premium accounting is to be made.
                      Documents means premium bearing documents, including but not limited to policies, bonds, endorsements,
                      renewal certificates, audits, interim reports, cancellations, and binders.

             2.       Reporting of Premium
                      The Company designates the Agent as:
                      n An Account Current Agent
                           A Statement Agent


                      a.        Account Current Agent
                                       An Account Current Agent must report all amounts due from Documents which were
                                       effective or issued (whichever is later) during the Accounting Month. The Company must
                                       receive the Agent's account current report by the tenth (10th) day of the month following
                                       the Accounting Month,

                                       The Agent must        provide   the   reason    for          omitting        items     and   provide   supporting
                                       documentation.     The omission of an Hem from an account current does not relieve the
                                       Agent from responsibility for accounting and paying premium to the Company, affect the
                                       Company's right to collect sums which are due or extend the time within which the Agent
                                       must make payment.


                      b.        Statement Agent
                                       The Company wSl send Statement Agents a statement of premiums charged by the
                                       Company to the Agent's account which are unpaid as of the end of the Accounting Month,
                                       including the name of each insured, policy number, gross premium, net premium due, and
                                       total balance due the Company.   Within thirty (30) days of the statement date, the Agent
                                       shall provide written notice to the Company of the items on the statement with which the
                                       Agent disagrees, the reason for the disagreement, and supporting documentation.


                                       The Company's omission of an item or items from a monthly statement shall not affect the
                                       Agent's responsibility to account for and pay ait amounts due the Company.

             3.       Payment of Premium


                      The Company must receive payment in full by the fifteenth (15th) day of the second (2nd) month after the
                      Accounting Month,    For Account Current Agents, the amount due Is the amount reported In the applicable
                      account current. For Statement Agents, the amount due Is the amount reported in the applicable Company
I                     statement




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               The Company shall relieve the Agent from the duty to pay premiums In the following circumstances:
(
               a.      Flat Cancellation of Coverage
                               The Company shall relieve the Agent from responsibility to pay premium for flat canceled
                               Insurance coverage only ff the coverage is canceled as set forth below and no losses have
                               been incurred.
                               0        For flat cancellation of short term coverage of ninety (90) days or less (including
                                        short term policies, renewal certificates, and endorsements), the Company must
                                        receive the original of the applicable Document prior to the effective date of
                                        coverage.

                               to       For flat cancellation of any other coverage, the Company must receive the original
                                        .of the applicable Document or lost policy release within thirty (30) days after the
                                         effective date of coverage or the Document's Issue date (whichever is later).
                                                NOTE: in no case shall a short rate or pro-rata cancellation relieve the
                                                Agent from responsibility for earned premiums.

               b.      Collection Difficulties on Audits
                               The Company shall relieve the Agent from responsibility for paying premium resulting from
                               audits and interim reports so Song as the Company receives from the Agent timely written
                               notice (inciuding a copy of the audit invoice)   that the Agent has made reasonable efforts
                               to collect but has been unable to collect the premium due.        -


                               The Company must receive the Agent's notice within forty-five (45)- days after the billing
                               date of the premium charges resulting from the audit or interim reports. By sending such
                               written notice, the Agent relieves the Company of any obligation to pay commission on the
                               premium In question.


               c.      Financed Premium
                               The Agent is not responsible for paying the premium of policies which are financed through
                               any premium financing arrangement, where the premium finance company sends the
                               premium directly to the Company.


                               However, the Agent is responsible far premiums on all other transactions on policies which
                               are financed, including, but not limited to:
                               f)       original premium which is forwarded by the premium finance company to the
                                        Agent; and
                               li)      all additional premium which may become due (after the original, financed premium
                                        is paid) as a result of policy activity, including, but not limited to, endorsement
                                        premiums or audit premiums which occur.


               d.      Premium Disputes                                 .
                               If the Company and the Agent disagree on the amount of a policy premium, the Agent may
                               delay payment of only that portion of the premium which the Agent specifically contests in
                               writing to the Company. The Company's decision about the disputed premium shall be
                               deemed final. The Agent shall deliver any payment which the Company decides is due
                               within fifteen (15) days of being given written notice of the Company's decision.


         4,    Agency Bill Commissions


                       The Company authorizes the Agent to retain commissions from premium collected by the Agent In
                       accordance with the prevailing Commission Schedule.             The Agent's privilege of retaining
                       commission does not change the Agent's fiduciary obligation to the Company to hold premiums in
                       trust for the Company,


         5.    Refunds and Return Premiums


                       Whenever the Company refunds or returns premiums, the Agent will return such premiums to the
(                      policyholder or the premium finance company, as appropriate, plus that portion of premium retained
                       by the Agent as commission which is unearned.




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    REVISED AMENDMENT                                                     Woods    Insurance Services,     Inc.

(                                                                         CIMI    #1053


                         AMENDMENT TO PRODUCER AGREEMENT
                       WITH CHANDLER INSURANCE MANAGERS, INC.

                  WHEREAS, the undersigned insurance producer hereinafter referred               to a$
           "Producer" has a currently effective Producer Agreement with Chandler insurance
           Managers, Inc. ("CIMI"); and


                 WHEREAS, CIMI has proposed an amendment to the Producer Agreement and
           Producer has agreed to such amendment;

                   NOW, THEREFORE, for good and valuable consideration, the receipt and
           sufficiency of which is hereby acknowledged, the parties agree that Paragraph 3 entitled
           "Guarantee of Payment" is hereby amended so that it reads in full as follows;

                  Guarantee of Payment: The Producer guarantees payment of all premiums,
                  excess and surplus lines taxes, policy fees, or any other charges or fees directly
                  related to the policies of insurance placed through CIMI. All such premiums,
                  taxes and other amounts, charges, or fees shall be paid upon the following terms
                  and conditions;


                  a.      Premiums, fees, charges or taxes owing from Producer to CIMI shall be
                          paid to CIMI based upon the terms and conditions ("quoted payment
                          terms") included in each quote delivered by CIMI to Producer.
(
                  b.      If the quote does not include "quoted payment terms", all premiums, taxes,
                          charges, or fees are due and payable to CIMI as follows:


                          i.        For monthly reporting policies and direct bill policies, deposit
                                    premiums are due at binding and reports and premiums are due
                                    fifteen (1 5) days following the end of each month.


                          ii.       For all other policies, premiums, taxes, charges or fees must be
                                    paid not later than ten (10) days following the end of each month
                                    based upon CIMI's statement of account.

                  c.      If the Producer cannot, with its best efforts, collect premiums determined
                          to be due by an audit conducted by CIMI or the insurer ("audit
                          premiums"), Producer is not liable to CIMI for "audit premiums" if:


                          i.        The Producer has notified CIMI in writing that the Producer cannot
                                    collect the additional premium within thirty (30) days of receipt of
                                    a notice that additional premiums are due as a result of a final
                                    audit; and


                          ii.       The Producer demonstrates proof of a good-faith effort to collect
                                    the "audit premiums"; and



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                        iii,       CIMI is not required to pay the insurer for such "audit premiums,"


                CIMi will owe no commissions to Producer on "audit premiums" returned for
                collection.

                This Amendment to Producer Agreement is signed by the parties on the respective
         dates indicated below and shall be effective as of the             £.       day of S&pfember* ,
         2009, but shall not be binding on either party until It is accepted by CI Ml at its office in
         Chandler, Oklahoma.


                                          PRODUCER: Woods insurance Services,                        Inc .


                                                  By:
                                                                   m

                                                                    Print or type name


                                                                  ~Pr£/3tt\en,4-
                                                                    Title


                                                  wr         LS

                                                  By:         1                       iX

                                                                    Print or type name

                 Accepted at Chandler, Oklahoma this                        day of             , 2009.
                                                                                       f
                                                  CHANDLER INSURANCE MANAGERS, INC.


                                                  By:     fill^
                                                          7 7T
                                                                    Print or type name

                                                                   V]& (fk ku
                                                                    Title




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                                     Insurance fTZfe
                                Company
       5/19/2008



       Re: Commissions and Profit Sharing Schedule for Woods Insurance Services
       in reference to Aztec Well Service account written through NAICO
       (National American Insurance Co.) & CIMI (Chandlers Insurance Managers
       Inc.)




       National American Insurance Co. agrees to give 1 5% on GL and Auto even though it is
       written through State National. This will be included in Profit Sharing.



       National American Insurance Co. agrees to give 1 0% on Work Comp policies and this
       will be included in Profit Sharing.



       Cargo and rigging coverage is written through Praetorian. Commission is a standard pay
       by CIMI (Chandlers Insurance Managers Inc.). This is not included in Profit Sharing.



       Umbrella is written with AIG through CIMI (Chandlers Insurance Managers Inc.).
       Commission is 1 0% and is not included in Profit Sharing.




       Brent LaGere
       CEO




(
                    1010 Manvel Avenue O P.O. Box 9 Q Chandler, Oklahoma 74834
                                (405)258-0804      WATS 1-800-822-7802



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                                          PRODUCER AGREEMENT

               This Agreement executed in duplicate by and between Chandler Insurance Managers Inc.,
       having its principal office at 1010 Manvel Avenue, Chandler, Oklahoma, 74834 (hereinafter referred
       to as "CMP' and         Mftodt) XnfrtirdrAe.
       a                                          C.6rPf>rfLHon
                                        (corpoiatio^paitaejSiip/sole prnprietcmhip)
       havingits principal office at 4 $01 kl.TiuMar                      fh'., taiOl T^ArmtndW^                 %>l46
       (hereinafter referred to as "the Producer").

               WHEREAS, the Producer desires to utilize the services and facilities of CIMI in obtaining
        insurance coverages for the Producer's clients; and

               WHEREAS, CIMI agrees to extend such services and facilities to the Producer subject to the
        terms and conditions set forth below.

               NOW, THEREFORE, in consideration ofthe mutual promises and covenants herein set forth,
        and for other good and valuable consideration, the receipt and sufficiency of which is hereby
        acknowledged, the parties hereto agree as follows:

        1.     Proper License: The Producer warrants that it is properly licensed to transact business as
               an agent or broker in accordance with the insurance laws of the state or states in which the
(              Pro ducer transacts such business.

        2.     Commission: CIMI agrees to allow the Producer commission on insurance coverages placed
               by the Producer through CIMI in accordance with the rate of commissions stipulated by
               CIMI. In the event that such coverages are canceled or modified (regardless ofwhether such
               cancellation or modification is instituted by the insurance company, the insured, legally-
               empowered regulatory offices, a premium finance entity, or by any other person), the
               Producer agrees to immediately remit to CIMI commissions on any return premiums at the
               same rate at which such return premiums are calculated within thirty (30) days following
               CJMTs demand for return commission. No insurance contract may be returned to CIMI by
               the Producer for flat cancellation unless no regulatory filings have been made and unless the
               policy is returned prior to its effective date. Earned premium shall be computed and charged
               on every contract canceled after effective date in accordance with the cancellation provisions
               of such contract unless otherwise prescribed by law.

        3,      Guarantee of Payment: The Producer guarantees payment of all premiums, excess and
                surplus lines taxes, policy fees, or any other charges or fees directly related to the policies of
                insurance placed through CIMI. All such premiums, taxes and other amounts, charges, or
                fees shall be paid upon the following terms and conditions:

                a.      Premiums, fees, charges or taxes owing from Producer to CIMI shall be paid to CIMI
                        based upon the terms and conditions ("quoted payment terms") included in each quote
                        delivered by CIMI to Producer. No policy will be bound unless and until CIMI has
(                       received payment of deposit premium for such policy.

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               b.        Ifthe quote does not include "quoted payment terms", all premiums, taxes, charges,
                         or fees are due and payable to CIMI not later than fifteen (15) days following the
                         effective date ofthe applicable policy or ifsuch premiums, taxes, charges, or fees have
                         not been calculated on or before the effective date ofthe applicable policy, then, such
                         payment is due within ten (10) days ofwritten notice or demand for payment sent by
                         CIMI to Producer's address as stated in this Agreement.

               o.        If the Producer cannot, with its best efforts, collect premiums determined to be due
                         by an audit conducted by CIMI or the insurer ("audit premiums"), Producer is not
                         liable to CIMI for "audit premiums" if.


                         i.      The Producer has notified CIMI in writing that the Producer cannot collect
                                 the additional premium within thirty (30) days of receipt of a notice that
                                 additional premiums are due as a result of a final audit; and

                         ii.     The Producer demonstrates proof of a good-faith effort to collect the "audit
                                 premiums"; and


                         ili,    CIMI is not required to pay the insurer for such "audit premiums."

                d.       CIMI will owe no commissions to Producer on "audit premiums" returned for
                         collection.


        4.      Reporting and Payment of Excess and Surplus Lines Tax: Producer shall be solely
                responsible for collecting, reporting and paying excess and surplus lines taxes, if any, with
                respect to any policy or polices placed by CIMI at the request ofProducer.

        5.      Direct Collection on Producer Default: Ifpremiums on any policy are not paid when due,
                CIMI may, at its option, and without waiving any of its rights as to Producer, collect the
                premium due from the insured. In the event CIMI collects the premium or any part thereof
                from the insured, the Producer shall not be entitled to any commission on the premium so
                collected. Attempts by CIMI to collect from the insured shall not relieve the Producer of
                liability to CIMI except to the extent ofamounts actually collected by CIMI from the insured.
                CIMI reserves the right to cancel or request that the insurer cancel any policies for which
                premium payments are delinquent.


        6.      Cost of Collection and Litigation: CIMI shall be entitled to recover the cost of collection
                from the Producer, including reasonable attorney's fees incurred in an effort to collect unpaid
                premium. The prevailing party in any litigation arising from or relating to this Agreement
                shall be entitled to recover reasonable attorney's fees and litigation expenses,




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       7.      Issuance of Certificates fa Producer's Sole Responsibility; Certificates of insurance are
               issued by Producer at its sole risk and expense. CIMI neither authorizes, encourages, or
               discourages the issuance of certificates. Certificates are merely an expression of Producer's
               opinion regarding coverage, CIMI shall confirm or deny the existence of a policy or policies
               if requested by Producer, but shall not issue certificates of insurance.

        8.     In rfpjnnffi ration: Each party agrees that it will indemnify and hold the other harmless from
               and against all claims, losses, damages, liabilities, judgments or settlements including
               reasonable attorney's fees, arising out ofor related to any negligence, wrongful act, violation
               oflaw or regulation or any error or omission of such indemnifying party, except to the extent
               that such act, error or omission was caused by, contributed to or compounded by the
               indemnified party.


        9.     E&O Insurance Coverage: Errors & Omissions Insurance Coverage shall be maintained
               by the Producer.   The undersigned Producer hereby represents and warrants that such
               coverage exists and is in good standing and is maintained to a limit ofliability of One Million
               Dollars ($1,000,00.00). It is further agreed that the Producer shall provide evidence of such
               coverage when requested by CIMI.

        10.     No In^pliwi Authority: The Producer shall not bind CIMI as respects any insurance without
                the prior written authorization of CIMI in each case; nor shall the Producer place any
                advertisement respecting CIMI in any publication, or issue or distribute any circular or paper
(               referring to CIMI without the prior consent of CIMI in writing. The Producer agrees to
                defend CIMI and pay all costs and damages incurred by CIMI resulting directly or indirectly
                from any such unauthorized binder, advertisement, publication, issuance or distribution.

        11.     Entire Agreement: This instrument constitutes the entire Agreement between the parties
                and supersedes all previous agreements entered into between the parties hereto; and all such
                previous agreements, whether oral or written, are hereby merged into this instalment.

        12.     Termination: This Agreement may be canceled at any time, upon thirty (30) days written
                notice of either party to the other, but said cancellation shall not alter, in any way, the
                continued application of this Agreement to insurance policies effective prior to the date of
                such cancellation.                               :


         13.    Choice of Law. Jurisdiction, and Venue: This Agreement shall be construed under the
                laws of the State of Oklahoma, and Producer consents to jurisdiction of the State Court of
                general jurisdiction in Lincoln County, Oklahoma, for any action arising from or relating to
                this Agreement and such court shall be the exclusive venue for any such action.




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              This Agreement is signed by the parties on the respective dates indicated below and shall be
       effective as ofthe      b         day of                              , 20 Ob, but shall not be binding
       on either party until it is accepted by CIMI at its office in Chandler, Oklahoma.

                                                      PRODUj


                                                      BY:.
                                                                 Nam*


                                                                     \/idA -"Pre.*> friend
                                                                 Title


                                                      WI'

                                                      BY:
                                                                 Name


               Accepted at Chandler, Oklahomathis            ^           day of J^y


                                                      CHANDLER INSURANCE MANAGERS, INC.

                                                      BY:          7~TU^v.o-                            ;
                                                                 Name


                                                                         V         'PL
                                                                 Title




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         PROFIT SHARING AGREEMENT




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                              Woods   Insurance     Service t   Inc.
                                                          (Agent)




          in addition to the commissions otherwise payable, National American insurance Company agrees to aiiow
          Agent a profit sharing commission to be computed as herein described.

          Premiums earned represent the actual premiums earned during the Plan Period as shown by the records
          of National American insurance Company,

          Losses incurred represent losses, reserves for losses and loss adjustment expenses paid and reserved.
          These losses are valued as of June 30th following the Ran Period,

          Loss Ratio is the percentage obtained by dividing losses incurred by premiums earned.

          The Plan period Is January 1st to December 31st.



                                                        CONDITIONS
!
                  Company reserves the right to amend this Agreement by giving sixty (60) days written notice to
                  Agent of the terms and conditions of the amendment. Company and Agent may amend this
                  Agreement at any time with an amendment executed by both parties.

                  In case of misunderstanding as to the interpretation or application of any provision of this
                  Agreement, it is agreed that such differences wii be submitted to two arbitrators, one to be
                  appointed by Company and one to be appointed by Agent.             The arbitrators wilt select an
                  experienced umpire who will have no conflict erf interest in the matter.   A decision rendered in
                  writing and signed by any two of the persons acting hereunder shall be final and binding upon both
                  Company and Agent, in the event of arbitration, Agent agrees to bear alt of the expenses of its
                  selected arbitrator and one half of the expenses of the umpire and Company agrees to bear al! of
                  the expenses of Its selected arbitrator and one half of the expenses of the umpire.

                  if Company charges off as uncollectible, premiums on business rot otherwise excluded under this
                  Agreement, which by agreement, Agent has been relieved from paying Company, such premiums
                  will be deducted from premiums earned for the profit sharing period during which. such charge off
                  occurred.


                  If Agent is delinquent in the payment of any monies due Company or in rendering an account
     ;            current statement, any amount due Agent under this Agreement wit! not be paid to Agent. When
                  the delinquency has been eliminated, payment of monies due Agent under this Agreement wii! be
                  adjusted to reflect any unreimbursed costs incurred by Company may appty any monies due under
                  this Agreement against any other amounts due Company Agent, including but not limited to, any
                  costs of collection Incurred by Company,                                                              ^8
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                                                 EXHIBIT  6
                                                 EXHIBIT :6
           Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 65 of 91
                         —-rr:TT



                                            'Wkfi
    r. '
                     This Agreement may be terminated by either party at any time upon written notice to the other
                     stating when, not less than ninety (90) days after the mailing of such notice, such cancellation will
                     become effective, or immediately upon termination of the Agency Agreement, whichever occurs first.
                     The final profit sharing calculation will be made as of June 30th following the plan period.
     ,v

                     Profit sharing commission is payable only by Company check or draft.                          -

                     This agreement is not assignable.


                     The following line descriptions oniv are included in the calculation of the profit sharing:
                     Workers' Compensation, Automobile Liability, Physical Damage and General Liability unless
                     rated under a retrospective rating plan or under the Municipality or School program.


                     No profit sharing payments will be made for any calendar year period during which the net
                     premiums written are less than $ 250,000.


                     The profit sharing amount due Agent will be paid within 60 days following June 30th after each Plan
                     Period.



                                                 PROFIT SHARING CALCULATION TABLE


                                           Loss Ratio                   Profit Commission Factor

                                           60% and over                          0%
                                           55% - 59.9%                           .5%
                                           50% - 54.9%                          t.0%
i                                          45% - 49.9%                          1.5%
                                           40% - 44.9%                          2.0%
                                           35% - 39.9%                          2.5%
                                           30% - 34.9%                          3.0%
                                           29.9% and below                      3.5%


            The Profit Sharing Commission Is determined by multiplying the Earned Premium, for the Plan Period,
            by the Profit Commission Factor.



            IN WITNESS WHEREOF, this agreement has been signed by the parties hereto this                     31       day of
           January   , f9 96 .
                 r, i,      i   i   i ——




                                                                  Woods       .suarante   Service ,   Inc .

                                                                                                                       (Agent)

                                                                BY:
                                                                        Roy Owen
                                                                        NATIONAL AMERICAN INSURANCE COMPANY
                                                                                             f/           ^   (Company)

                                                                 BY:
                                                                                               7




                                                          EXHIBIT
                                                          EXMIDIT 6
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                               Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 66 of 91
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        iv-, .
        P^SSIp^
        ^IIINAtional American Insurance Company
        H'":
                >X'
                                                PROFIT SHARING AGREEMENT

                                                                    Amendment A

                                       Beginning with the calculation of the 1998 Plan period your Profit
                                       Sharing Agreement is changed as follows:


                                               1.      The line description Property will be included in the
                                                       calculation of the profit sharing.


                                              2.       The line description Umbrella is not included in the
                                                       calculation of the profit sharing.



                                       In witness whereof, this amendment has been signed by the parties
                                       hereto this   ' o~   day of /^-HUL*Qr            19 Q&f.

                                                                       Lpoofij (U$v(/J-£KG&
                                                                                             (Agent)
                                                                             // /

                                                                       By:   L      y


                                                                National American insurance Company




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                                                                   EXHIBIT
                                                                   EXHIBIT 6
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    Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 67 of 91



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                                                   WH         tl.            d^HRftii' i.^1   . *   >             *

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                                  "Setting the standard that others strive for..."™




         ADDENDUM TO NATIONAL AMERICAN INSURANCE COMPANY PROFIT
                                              SHARING AGREEMENT
                                                    Growth Bonus



    Effective January 1 , 2010 (1/1/10), this addendum amends the NAICO Profit Sharing Agreement
    between Company and the Agent,                                                                      .


    If a Profit Sharing bonus is payable under the NAICO Profit Sharing Agreement, and if the total
    eligible Written Premium for the calendar year equals or exceeds one hundred twenty five
    percent (125%) of the total eligible Written Premium for the prior calendar year, a growth bonus
    shall be payable. The amount of the growth bonus shall be 25% of the Profit Sharing Bonus
    amount otherwise payable as calculated under the Profit Sharing agreement between the
    Company and the Agent.

i
    1NWI TNESS WHEROF, the Company and the Agent have signed this Addendum this
                       day of                             .



    FOR THE AGENT                                                   FOR THE COMPANY
                   u
    -By: S Ms                                                       By

    Name:     Stiff4^ f/A/SSif                                      Name:


    Title;                                                          Title;



    Agency Name:




                                1010 Martvel Avenue 0 P.O. Box 9 9 Chandler, Oklahoma 74834
(                                         (405)258-0804 0 WATS 1-8OO-822-7802




                                                  EXHIBIT
                                                  EXHIBIT 6
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(
                                        National American Insurance Company

                                                            COMMISSION SCHEDULE



        ' :.                 worSaS"'on
                                  kinrcm                                          Commission

    ';:a       -             ,
                                                                                           10%

    '           :                                $5,M0'
                                                  10,000,                                  9%

                    :'::•'        10,001. -       20,000,                                  8%

                                  20,001,         50,000.                                  7%

                                  50,001 .       100,000.                                  6%

                                 100,001.    -   250,000,                                  5%

                                 250,001.    -                                             4%



                             Commercial Auto                                               15%

                             Comprehensive General Uabllty                                 15%

                             Umbrella/Excess Liability                                     10%

                             Commercial Package                                            15%
(                            Commercial Property                                           15%

                             Inland Marine                                                 15%

                             01 PA Program                                                 20%

                             Municipality                                                  15%

                             Personal Auto                                                 15%

                             Schools - Package                                             10%

                             Schools - Workers' Compensation                               5% (Level)




               Commissions can be negotiated at any level.




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                                                               EXHIBIT
                                                               EXHIBITS6
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                                       r
    /
i
                                     National American Insurance Company


                                          COMMISSION SCHEDULE




            Workers' Compensation
            Premium Level
                                                                           Commission
            $0 - $25,000
                                                                                 10%

           $25,001 - 100,000
                                                                                 7.5%
           $100,001 & above
                                                                                  5%




           Commercial Auto
                                                                                 15%

           Comprehensive General Liability
                                                                                15%
           Umbrella/Excess Liability
                                                                                10%

           Commercial Package
                                                                                15%
          Commercial Property
                                                                                15%

          Inland Marine
                                                                                15%
          OIPA Program
                                                                                20%

          Municipality
                                                                                15%

          Schools - Package
                                                                                10%

          Schools - Workers' Compensation
                                                                           5% (Level)

         Commissions can be negotiated at any level.




         tS/lWWimb

         Sbjt&rti Cotnnwim Setters




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            Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 70 of 91


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    (
        I
                                     NATIONAL AMERICAN INSURANCE COM
                                                                     PANY

                                                COMMISSION SCHEDULE


                 Workers' Compensation
                   Premium Level
                                                                              Commission
                 $    0     -$    25,000
                                                                                     10%
                $25,001 -        100,000
                                                                                    7.5%
                $100,001 & above
                                                                                     5%



                Commercial Auto
                                                                                   15%
                Comprehensive General Liability
                                                                                   15%
                Umbrella/Excess Liability
                                                                                   10%
                Commercial Package
                                                                                   15%
               Commercial Property
                                                                                   15%
               Inland Marine
                                                                                   15%
               OIPA Program
                                                                                   20%
               Municipality
                                                                                   15%
               Personal Auto
                                                                                  15%
               Schools - Package
                                                                                  10%
               Schools - Workers' Compensation
                                                                            5% (Level)


              Commissions can be negotiated at
                                               any levei.



              6-1 9-96 Rev.


              STDCOMM.WPD


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                                                EXHIBIT
                                                EXHIBIT 6
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                                                                         i


                                 . National
(                              American 4
                                 Insurance
                                 Company
         5/19/2008



        Re: Commissions and Profit Sharing Schedule for Woods Insurance
                                                                         Services
        in reference to Aztec Well Service account written through NA1CO
        (National American Insurance Co.) & CIMI (Chandlers Insurance Manage
                                                                             rs
        Inc.)




        National American Insurance Co. agrees to give 15% on GL and Auto
                                                                                even though it is
        written through State National. This will be included in Profit Sharing.



        National American Insurance Co. agrees to give 10% on Work Comp policies
                                                                                 and this
        will be included in Profit Sharing.



        Cargo and rigging coverage is written tlirough Praetorian. Commission
                                                                              is a standard pay
(       by CIMI (Chandlers Insurance Managers Inc.). This is not included in
                                                                             Profit Sharing.



        Umbrella is written with AIG through CIMI (Chandlers Insurance Manager
                                                                               s Inc.).
        Commission is 10% and is not included in Profit Sharing.




        Brent LaGere
        CEO




(
                     1010 Manvel Avenue     P.O. Box 9     Chandler, Oklahoma 74834
                                (405)258-0804      WATS 1-800-822-7802


                                          EXHIBIT
                                          EXHIBIT 6
                                                  6
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DATE:            2/27/2017                             NATIONAL AMERICAN              INSURANCE            CO                     PMR0015
                                                      NOTE    PAD LISTING AS              OP   10 : 54 : 04                       PAGE:         1



POLICY           :      MP10570130
CLAIM        :          BA140707



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                                                                            Report & Diary Control Date:                           4/20/2015
*    BA140707                ABC   Concrete:           Nelson v ABC           Concrete         & Montano
*    BA140707                ABC   Concrete:           NAICO v ABC Concrete,                   et     al


  04-20-15 DHARRISON - Reviewed F9 on claim notepad.   I need to handle                                                                 coveage.
Opened coverage assist & set diary for initial review.
***      REVIEW DIARY              DATE       SET   FOR    04/22/2015         FOR DHARRISON.               * * *


     04-22-15           DHARRISON              Reviewed F9         from James Malone                  in claim notepad,                   IV was
added to schedule on policy 3 months after accident .
04-22-15              *DOC DHARRISON-MP10570130                        2/09/14-15
04-22-15              *DOC DHARRI SON-MB4 727013 0                     2/09/14-15
04-22-15              *DOC    DHARRISON-4/ 18/15              FIRST REPT W/           ENCL :         TENDER LETTER &              COMPLAINT
04-22-15              *DOC    DHARRISON-1/ 09/2012               TRUCK       LEASE    &    SERVICE AGREEMENT
     04-22-15           DHARRISON              Reviewed file.               Pltf's    file suit against ABC Concrete &
driver Nicholas                 Montano alleging                 that Montano         is an employee of ABC Concrete .
     04-22-15           DHARRISON              Sent EM to Ryan Gilmore for coverage review.
04-22-15              *DOC DHARRISON-4 /22/ 15          EM TO RYAN GILMORE FOR COVERAGE REVIEW
     04-22-15           DHARRISON -            Sent policy links to Ryan Gilmore.
4-22-15              *DOC DHARRI SON- DOCUMENT ACCESS                       BATCH 11652          SENT TO RGILMORE@NAICO.COM
Subject:             BA140707          ABC      Concrete
04-22-15              *DOC    DHARRISON-4 /22/ 15            EM TO RYAN GILMORE                       POLICY        LINKS
     04-22-15           DHARRISON              Reviewed & noted above.                     File has been               submitted to
Legal        for       review.
***      REVIEW DIARY              DATE       SET   FOR    04/27/2015        FOR     DHARRISON.            ***
  04-23-15 DHARRISON - Discussed with James Malone.    Apparently, Concrete pays
Septic ' s wages & insurance in exchange for Septic hauling Concrete's products.
All payroll              is    on Concrete ' s            checks .
     04-24-15           DHARRISON         -    Discussed with James                M yesterday.                 Sent      supplemental          EM
to Ryan Gilmore with additional information.
04-24-15 *DOC DHARRISON-4 /24/ 15 EM TO RYAN GILMORE - COVERAGE (SUPPLEMENTAL)
  04-24-15 DHARRISON - Reviewed & noted above.    Waiting for response from
Legal .
* * *
        REVIEW DIARY DATE SET FOR                          05/04/2015        FOR DHARRISON.                ***
     04-27-15          DHARRISON -             Reviewed F9         from James         B on       claim notepad.                  We have now
received             a copy of       Scottsdale's            policy.         Reviewed,           bookmarked & highlighted                       the
Scott sdale            policy.
04-27-15             *DOC     DHARRI SON- LTO 00152 69             -   11/05/13-14             (SCOTTSDALE)            BKMK'D         & HILITED
     04-27-15          DHARRISON          -    Sent    supplemental          em    to Ryan Gilmore regarding                           coverage.
04-27-15             *DOC DHARRISON-4 /2 7/ 15               EM TO RYAN GILMORE                  -    COVERAGE (2ND             SUPPLEMENTAL)
  05-01-15 DHARRISON - Reviewed file.  I have submitted this file to Legal                                                                   for
coverage review in 3 separate EMs dated 4/22, 4/24 & A/21.  I am currently
waiting for a response from Legal regarding the coverage & primary /excess
issues .
* * *
        REVIEW DIARY DATE                     SET   FOR    05/06/2015        FOR DHARRISON.                ***
05-04-15             *DOC     DHARRI SON- 5/04/15            RYAN GILMORE            EM -      COVERAGE
     05-04-15          DHARRISON -            Reviewed       & noted above.                Sent       EM   to      Ryan    &    Pat    asking   if
they are             available       to meet          on Wednesday.
     05-04-15          DHARRISON        -     Meeting       to   discuss      this        file       has   been      set       Wednesday    @
9:30 AM in Rick's                  conference room.




                                                                                                                           EXHIBIT n

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                                                                 EXHIBIT
                                                                 EXHIBIT 7
                                                                         7                                                 flffi.".".* "" 800.376.1006
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DATE:           2/27/2017                                    NATIONAL    AMERICAN         INSURANCE          CO                PMR0015
                                                            NOTE PAD LISTING AS            OE    10:54:04                      PAGE:             2




POLICY          :      MP10570130
CLAIM       :          BA140707




***   REVIEW DIARY DATE SET                             FOR       05/11/2015    FOR DHARRISON .               ***
05-06-15             *DOC       DHARRISON-4/3 0-5/0 5/15                    E-MAILS       (11)   SETTING MEETING
     05-06-15 DHARRISON -                        Discussed file              in meeting with Rick,                  Tony,     Pat,       Ryan,
James B & James M.                          Pat will draft letter for my signature in response to the
tender .
***   REVIEW DIARY DATE SET                             FOR       05/13/2015       FOR DHARRISON.             ***
     05-07-15 DHARRISON - Discussed with Pat at the Senior meeting.                                                           He is working
on letter.
***   REVIEW DIARY DATE SET                             FOR       05/15/2015       FOR DHARRISON.             ***
     05-08-15 DHARRISON -                        Reviewed           initial    draft prepared by Pat Gilmore.                             Made       1
addition and                sent       to    Pat       in    red-lined version.
  05-08-15 DHARRISON - Pat called to discuss my change.  He may incorporate
into his draft with some minor changes.  He is continuing work on the letter.
05-08-15             *DOC       DHARRISON-5/07/15                   PAT GILMORE MEMO RE PRIOR                     CLAIM NOT REPORTED
05-08-15             *DOC       DHARRISON-5/08/15                   EM TO PAT       GILMORE RE CLAIMS HISTORY
     05-08-15 DHARRISON -                        Received           final draft of RORL.                 Updated with CC             info      and
sent to             Cheryll       Griggs          for priting.
***   REVIEW DIARY DATE                          SET    FOR       05/18/2015       FOR DHARRISON.             ***
   05-11-15 DHARRISON - Received printed letter.  I forgot to update the RE:
information on the first page.   Updated letter & sent to Cheryll to print.
   05-11-15 DHARRISON - Signed & scanned letter.  Gave original to Tracy Beall
to mail.   Sent copies by EM to:  J Stephanie Krmpotic, Woods Insurance Service,
ABC Concrete Mfg Co.                         and James Malone.
05-11-15             *DOC DHARRISON-5 /11/15 ABC RORL TO KRMPOTIC
05-11-15             *DOC DHARRISON-5 / 11/15                       EM DISTRIBUTING COPIES                   OF ABC RORL TO KRMPOTIC
     05-11-15          DHARRISON             -   Reviewed A noted above.                     RORL has been mailed.
***    REVIEW DIARY DATE SET                            FOR       06/17/2015       FOR DHARRISON.             ***
05-13-15             *DOC DHARRISON- 5 /ll/ 15                      CERT MAIL RECIEPT FOR MAILING RORL TO KRMPOTIC
05-20-15             *DOC       DHARRISON-5/14/15                   SIGNED RECEIPT          FOR ABC RORL TO KRYMPOTIC
     05-21-15          DHARRISON             -   Michael           Heifort w/       National          Casualty called.              Wanted to
know why we                felt    our policy did not apply.                            NAICO's        coverage       symbol       for    liabili
liability             is    1    and    our       insured owns          the vehicle.              It    appears       to    him    that    the
NAICO policy applies                         and that NAICO             is primary.              Advised him I would discuss w/
Legal       and get back                to him          in    a    few days.        His   number        is    651-252-3151.
05-22-15             *DOC       DHARRISON-5/22 / 15                 EM TO    PAT    &   RYAN REQUESTING             MEETING
     05-22-15          DHARRISON             -    Exchanged          EMs and       discussed with Rick &                   Tony.     Meeting
is    set       Tuesday,          5/26/15          @    9:30      AM in Rick's          conference room.               Added       to my Lotus
calendar .
***    REVIEW          DIARY       DATE          SET    FOR       05/26/2015       FOR DHARRISON.             ***
     05-26-15          DHARRISON             -    Cheryll          called.     Rick       delayed due          to    travel       problems.
He will not be in the office until noon.  I need to reschedule the meeting.
Rescheduled for 2:00 PM today and sent confirming EMs to all.  Pat, Ryan & Tony
have acknowledged                      that       they are          available       for    the new time.              Updated my Lotus
calendar .
     05-26-15          DHARRISON             -    Discussed          file    in meeting with             Pat,       Ryan,    Rick,       Tony,
Tracie          & James M.              Policy does                not apply because             it    was    issued w/       sym 1       in
error.              Should have             been       7,8&9.        UW has    reformed          the    current policy.              We are
not    issuing             change       on this             policy because          it has       expired.           However,       if we are
pushed          &/or       sued    for       coverage,            we will     counter with a dec action                      to reform.              I




                                                                     EXHIBIT
                                                                     EXHIBIT 7
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DATE:        2/27/2017                      NATIONAL    AMERICAN   INSURANCE      CO            PMRQ015
                                          NOTE PAD LISTING AS OF         10:54:04               PAGE:            3




POLICY       :    MP1057 013 0
CLAIM    :         BA1407 07



will advise Heifort of our position.                     We will not participate in defense and
will not take any further action unless pushed by National Casualty or Insured.
  05-28-15 DHARRISON - Discussed with Tony.  In the meeting, we discussed that
someone should call Bunky (agent) to see if they are the agent on the Nat Cas
policy and if so,            request a copy of the application submitted.                    It was my
understanding that James M or Tony would call agent.                            However,    Rick wanted me
to make the call.               I will   call Bunky today.
  05-28-15 DHARRISON - Called Bunky Owen @ Woods Insurance Service,                                 Inc.:
505-326-1111.            L/M.
  05-29-15         DHARRISON      -   Called Bunky Owen.        L/M.
                                                                                  ** *
***    REVIEW DIARY DATE SET             FOR    06/02/2015    FOR DHARRISON.
  05-29-15 DHARRISON - Bunky Owen called.   He wasn't aware of claim.  I went
over the issues that are going on and explained whey we wanted National
Casualty's application.   He doesn't recall, but doesn't think they were the
broker of Septic' s coverage.  He will check their files and call me back.
  05-29-15 DHARRISON - Bunky Owen called.   They were not the agent for Septic's
policy with National Casualty.   Bunky asked for copies of correspondence for
his    file.
05-29-15         *DOC DHARRISON-5/29/15 EM TO BUNKY OWEN -                   COPIES OF    LETTERS
  06-02-15 DHARRISON -                Discussed with Jackie w/ Woods            Insurance.     She had some
questions        regarding this          claim.    NAICO has cancelled         the current policy
effective         6/06/15.
  06-02-15 DHARRISON - Discussed above with Pat Gilmore.                               He will call Bunky.
Pat asked for copies of cancellation docs for his file.
06-02-15         *DOC   DHARRISON- 6/02/15        EM TO PAT    GILMORE   -    CANCELLATION DOCS
   06-03-15 DHARRISON - Discussed with Pat Gilmore.  He will be discussing this
file in Senior today.   He asked for a copy of the letter mailed to Low Ball.
Sent    copy to         Pat by EM.
***    REVIEW      DIARY    DATE SET      FOR   06/08/2015    FOR DHARRISON.      ***
  06-03-15 DHARRISON - Discussed file in Senior meeting.  Due to info provided
by agent in EMs exchanged with UW during the application process and some
incorrectly answered questions on the application, it is onr position that the
policy should have been issued with symbols 7,8&9 instead of 1 for liability.
If the policy had been issued correctly, NAICO would have not coverage.  Our
position will be our policy does not apply.  If Scottsdale pursues further, we
will file a Dec Action to reform the policy,
  06-04-15 DHARRISON -                Called Michael Heifort.          Explained our position.              He
will pass it on up the chain of command and go from there.
*** REVIEW DIARY DATE SET FOR 06/17/2015 FOR DHARRISON. ***
06-08-15         *DOC    DHARRI SON -6/05/15      PAT   GILMORE EM -     INSD HAS NEW AGENT
  06-10-15 DHARRISON -                Reviewed file.
                                                                                  * * *
***    REVIEW DIARY         DATE SET FOR        07/22/2015    FOR DHARRISON.
  06-17-15 REVANS Note - ins'd changed agents.. Not sure we have much leverage
 as to affadavit from Ins'd on coverage application ....
  07-01-15 REVANS               Dick -- Thought we were going to contact                  the insured
about an affidavit              that other policy was         to be applicable?
Did I    misunderstand?
                                                                                                                 * * *
***    NOTEPAD REVIEW REQ.             CREATED ON 07/01/2015       BY REVANS.      SENT TO DHARRISON.
  07-03-15 DHARRISON -                Reviewed & noted above.




                                                   EXHIBIT
                                                   EXHIBIT 7
                                                           7
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DATE:        2/27/2017                                 NATIONAL      AMERICAN        INSURANCE             CO                 PMR0015
                                                   NOTE PAD LISTING AS                   OF       10:54:04                    PAGE:            4



POLICY       :      MP1057 013 0
CLAIM    :          BA1407 07




   Rick:  No.  You did not misunderstand.   The agent is going to try to get the
insured to sign the form that Pat Gilmore provided to the agent .  Pat was the
one who talked to the agent about this.   I will follow-up with Pat next week.
Dick
                                                                                                                                               * * *
***   NOTEPAD REVIEW REQ.                    CREATED ON 07/03/2015                   BY DHARRISON.                SENT TO REVANS .
***  REVIEW DIARY DATE SET FOR 07/08/2015 FOR DHARRISON. ***
   07-06-15 DHARRISON - Discussed with Pat Gilmore during a meeting on another
file.   He has not heard from the agent since their 6/05/15 EM.  He will call
the agent          to    follow-up.
07-09-15          *DOC DHARRISON-7 / 08/15                    RPG EM FWD'G AGENT'S                   EM -       AFFIDAVIT NOT         SIGNED
   07-09-15 DHARRISON - Reviewed & noted above.  Insured is out of town for
three months.   Insured has new agent, our agent suggests the adjuster try to
get the affidavit signed during the investigation.   I will discuss with James
Malone.           Sent       IM to James          to    drop by my office.
  07-09-15 DHARRISON -                     Discussed above with James Malone.                                    He will see if            the
insured pricipal               will        sign    the affidavit.
  07-09-15          DHARRISON          -   Affidavit not              in    file.        I    will       need    to   get    from Legal.
07-13-15 *DOC DHARRISON-7/13/15 JANET TAYLOR EM - 6/3/15 LETTER & AFFIDAVIT
  07-13-15 DHARRISON - Sent IM to James Malone that Affidavit is now in file.
  07-15-15 DHARRISON - Reviewed F9 from James Malone on claim notepad.  The
insured has             declined to          sign       the    affidavit.
  07-15-15          DHARRISON          -    Sent EM to          Pat Gilmore w/                copies       of    Doug Murray's           EMs       &
asking Pat opinion regarding how to proceed.   CCed Ryan & CMG
07-15-15 *DOC DHARRISON-7 /15/15 EM TO PAT GILMORE W/ DOUG MURRAY'S EMAILS
07-15-15          *DOC DHARRISON-7 /15/15 RPG EM -                          WE     SHOULD WAIT             TO SEE WHAT HAPPENS
  07-15-15          DHARRISON          -   Reviewed & noted above.
***    REVIEW DIARY DATE SET FOR                         08/19/2015          FOR DHARRISON.                ***
  08-11-15          DHARRISON          -   Reviewed file.                  Still    no       response       from Scottsdale.
***    REVIEW       DIARY DATE             SET    FOR    10/21/2015          FOR    DHARRISON.             ***
  10-15-15          DHARRISON - Reviewed file.
***   REVIEW DIARY DATE                    SET    FOR 12/23/2015             FOR DHARRISON.                ***
11-05-15          *DOC DHARRISON-11/05/15                      NCC   LETTER:        1/05/16          MEDIATION         &    SETTLEMENT
  11-05-15          DHARRISON - Reviewed & noted above.                                      NCC    is    looking to NAICO to
participate             in    settlement          at mediation as             a    co-primary             insurer.          They   are     going
after NAICO             for    reimbursement             if    we do not participate.                       Sent      email    to Ryan
Gilmore with a copy of the letter.                                   CCed Pat Gilmore                & CMG.
11-05-15          *DOC DHARRI SON -11/05/15                    EM TO RYAN GILMORE W/                      NCC LETTER
  11-05-15          DHARRISON - Reviewed & noted above.                                      Response       from Legal pending.
***   REVIEW        DIARY DATE             SET    FOR    11/18/2015          FOR    DHARRISON.             ***
11-06-15          *DOC DHARRISON-11/05/15                      RYAN GILMORE EM -                   NEED TO MEET TO DISCUSS
  11-06-15          DHARRISON          -   Discussed with              Pat Gilmore after the                      Senior meeting
yesterday PM.                 He told Ryan to review and then get Pat up to speed on this.                                                         We
can set          meeting after that.
  11-06-15          DHARRISON          -    Sent       email    to Ryan asking him to                      let me      know when he            &
Pat are          ready so       that       I can set up a meeting .
11-06-15          *DOC DHARRISON-11/06/15                      EM TO RYAN GILMORE RE MEETING
  11-20-15          DHARRISON          -    Reviewed file on diary.                          Still       waiting      for    Legal    to
advise when             they are       ready to discuss                this       file       in    a meeting.
***   REVIEW        DIARY       DATE       SET    FOR    11/30/2015          FOR    DHARRISON.             ***




                                                               EXHIBIT
                                                               EXHIBIT 7
                                                                       7
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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO



NATIONAL AMERICAN INSURANCE COMPANY,


              Plaintiff,


vs.                                                      No. l:15-cv-01169 KG-KBM


ABC CONCRETE MFG. CO., INC.;
ABC CONCRETE MFG. CO., INC.,
d/b/a ABC SEPTIC SYSTEMS, INC.;
NICHOLAS MONTANO;
SCOTTSDALE INSURANCE COMPANY;
and NATIONAL CASUALTY COMPANY,


              Defendants.


      PLAINTIFF NATIONAL AMERICAN INSURANCE COMPANY'S RESPONSES
              TO DEFENDANT NATIONAL CASUALTY COMPANY'S
                            FIRST REQUESTS FOR ADMISSION


        COMES NOW, Plaintiff National American Insurance Company, by and through its

attorneys of record, Butt Thornton & Baehr PC (James H. Johansen), and for its Responses to

Defendant National Casualty Company's First Requests for Admission, states as follows:




        REQUEST NO. 1.       Admit that Woods Insurance Service, Inc. was an agent of both


NAICO and ABC Concrete with regard to the procurement of the subject policy.


        RESPONSE: Admit.




                                        EXHIBIT 8
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       REQUEST NO. 31.          Admit that NAICO did not rely upon any information from the

FMCSA website found at www.safersys.org in the underwriting of the NAICO policy at issue.

       RESPONSE: Admit.




       REQUEST NO. 32. Admit that Nicholas Montano was issued a federal W-2 form or a


federal 1099 form from ABC Concrete for his work for ABC Concrete in 2014.


       RESPONSE: Admit.




       REQUEST NO. 33.           Admit that, with respect to the allegations in paragraph 40 of


NAICO's amended complaint, NAICO is not suggesting that Woods Insurance Service, Inc. or


ABC Concrete asked that the inclusion of the Freight liner on the NAICO policy be backdated to


the date of the accident or before the date of the accident.


       RESPONSE: Admit.


                                                       Butt Thornton & Baehr PC




                                                       iame/fl. Johansen
                                                       Attorneys for Plaintiff
                                                       National American Insurance Company
                                                       P.O. Box 3170
                                                       Albuquerque, NM 87190
                                                       Telephone: (505) 884-0777
                                                       ihiohansen@,btblaw.com


DATE: January 13,2017




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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO



NATIONAL AMERICAN INSURANCE COMPANY,


              Plaintiff,


vs.                                                        No. 1 : 1 5 -cv-0 1 1 69 KG-KBM


ABC CONCRETE MFG. CO., INC.;
ABC CONCRETE MFG. CO., INC.,
d/b/a ABC SEPTIC SYSTEMS, INC.;
NICHOLAS MONTANO;
SCOTTSDALE INSURANCE COMPANY;
and NATIONAL CASUALTY COMPANY,


              Defendants.


   PLAINTIFF NATIONAL AMERICAN INSURANCE COMPANY'S ANSWERS TO
  DEFENDANT NATIONAL CASUALTY COMPANY'S FIRST INTERROGATORIES


       COMES NOW, Plaintiff National American Insurance Company, by and through its

attorneys of record, Butt Thornton & Baehr PC (James H. Johansen), and for its Answers to


Defendant National Casualty Company's First Interrogatories, states as follows:


       INTERROGATORY NO. 1.             To the extent NAICO denied any request for admission


contained in NCC's First Requests for Admission to NAICO, please identify the bases for such


denial and any fact or item of real or documentary evidence that supports such contention.


       ANSWER:


       Request No. 5: NAICO was not aware that at the time it had agreed to provide coverage

for ABC Concrete under the policy in effect at the time of the 8/7/14 accident, that ABC

Concrete had interstate authority from the FMCSA to operate as a private motor carrier.




                                          EXHIBIT 9
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           Request No. 6: NAICO would have only reviewed information from the FMCSA website

had NAICO known that ABC Concrete was a motor carrier.

          Request No. 7: NAICO would have only reviewed information from the FMCSA website

had NAICO known that ABC Concrete was a motor carrier.

          Request No. 8: NAICO never intended for its policy to cover autos that were being used

by ABC Concrete to operate as a private motor carrier in interstate commerce.


          Request No. 9: NAICO was not aware that ABC Concrete had authority to operate as a

private motor carrier. NAICO intended their policy to cover "all autos" but not those operating

"for hire."


          Request No. 1 1 : NAICO was unaware of "the numerous trips to/from Ft. Bliss, Texas and

Naco, Arizona, performed in 2014," but acknowledges that there would be coverage absent

reformation based upon the mutual mistake of the parties.


          Request No. 12: NAICO is seeking, among other things, a Judgment to reform the

NAICO policy to limit liability coverage to "Specifically Described 'Autos'" that were not


intended to be used as for-hire, long-haul, interstate trucking.


          Request No. 13: NAICO is seeking, among other things, a Judgment to refonn the

NAICO policy to limit liability coverage to "Specifically Described 'Autos'" that were not


intended to be used as for-hire, long-haul, interstate trucking.


          Request No. 14: NAICO is unaware if any of the scheduled autos that were not intended


to be used as for-hire, long-haul, interstate trucking were mechanically or administratively


capable of transporting goods in interstate commerce.




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          Request No. 15: NAICO is unaware if any of the scheduled autos that were not intended

to be used as for-hire, long-haul, interstate trucking were mechanically or administratively

capable of transporting goods in interstate commerce.


          Request No. 20: NAICO did not intend to insure "trucks operated under ABC Concrete's

authority as a private, interstate motor carrier."


          Request No. 25: NAICO was under the belief, as was Doug Murray, that ABC Septic was


not "doing business as" ABC Concrete but rather the entities were distinct legal entities.


          Request No. 28: NAICO has no way of knowing if Doug Murray had changed the


substantive content of his website during any relevant time period.


          Request No. 29: NAICO's underwriting protocols did not require NAICO to review a


proposed insured's website as part of the process of determining whether NAICO will issue a


policy to the potential insured.


          Request No. 30: NAICO did not know that ABC Concrete was a "for-hire" motor carrier.


NAICO directs counsel to its Response to Request No. 6 and 29.




          INTERROGATORY             NO,   2.    Please   specify   whether   NAICO's   underwriting


department made any attempt to verify whether ABC Concrete and ABC Septic Systems were or


were not separate legal entities before issuing the subject policy. If there was any attempt, please


specify each act taken by NAICO identifying the act by person performing the act, when the act


was performed and identify any item of real or documentary evidence that was produced or


reviewed as a result of such act.




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          ANSWER:       NAICO's underwriting department did not attempt to verify whether ABC

Concrete and ABC Septic Systems were or were not separate legal entities. NAICO relied on the

representations made to it by Doug Murray.




          INTERROGATORY NO, 3.           Please specify all efforts by NAICO to determine the

identity of the "separate operation" and/or to review the "separate insurance policy" referred to

in Paragraph 25 of NAICO's Amended Complaint. If there was any act by NAICO responsive


hereto, please specify each act taken by NAICO identifying the act by person performing the act,

when the act was performed and identify any item of real or documentary evidence that was


produced or reviewed as a result of such act.


          ANSWER: No efforts were taken.




          INTERROGATORY NO. 4. Please identify any exclusion issued by or relied upon by


NAICO that precludes or in any way limits coverage for "for -hire" operations of a motor carrier


in the last 20 years.


          ANSWER: Please see NAICO 004649M683. Additionally, NAICO may have created


manuscript exclusions for insureds over the span of the last twenty years, but NAICO has no


practical or efficient way to search for those manuscript exclusions.




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          INTERROGATORY NO. 7. Please specify each action or inaction of Woods Insurance

Service, Inc. that was inappropriate.


          ANSWER:     NAICO objects to Interrogatory No. 7 on the grounds that the term

"inappropriate" is overly broad and vague. See Rule 26(b)(1). NAICO does not contend that

actions undertaken by Woods Insurance Service, Inc. were "inappropriate," but NAICO does

contend that information provided to NAICO did not properly represent the risks associated with


ABC Concrete's operation.



                                                   ButtiThornton & Baehr PC




                                                         0
                                                   James I I. Johansen
                                                   Attorneys for Plaintiff
                                                   National American Insurance Company
                                                   P.O. Box 3170
                                                   Albuquerque, NM 87190
                                                   Telephone: (505) 884-0777
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DATE: January 13.2017




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                                           VERIFICATION
                                                                                                          s

        R. Patrick Gitmore affirms, under penalty of perjury under the laws of the State of New Mexico,


the following to be true and correct:


         That he is General Counsel with National American Insurance Company, that he has read over,

knows and understands the contents of the foregoing Answers to Defendant National Casualty

Company's First Interrogatories, and that the statements therein made are true and correct to the best

of his knowledge, except those statements that are made upon information and belief, and as to those


he believes them to be true.
                                                                                                          f




                                                       R. PATRICK GILMORE
                                                       General Counsel
                                                       National American Insurance Company




                                            EXHIBIT 9
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    PR#119220           MARSHALL, ANITA               2/28/2017


            IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEW MEXICO

 NATIONAL AMERICAN INSURANCE
 COMPANY,

             Plaintiff,

 vs.                                  No. 1:15-CV-01169-KG-KBM

 ABC CONCRETE MFG., CO., INC.;
 ABC CONCRETE MFG. CO., INC.
 d/b/a ABC SEPTIC SYSTEMS,
 INC.; NICHOLAS MONTANO;
 SCOTTSDALE INSURANCE COMPANY
 and NATIONAL CASUALTY COMPANY,
           Defendants.

                DEPOSITION OF ANITA MARSHALL
              TAKEN ON BEHALF OF THE DEFNDANTS
              ON FEBRUARY 28, 2017 AT 1:15 PM
                 IN OKLAHOMA CITY, OKLAHOMA

                      APPEARANCES
 On behalf of the PLAINTIFF:
 James H. Johansen
 BUTT, THORNTON & BAEHR, P.C.
 4101 Indian School Road, NE, Suite 300
 Albuquerque, New Mexico 87110
 505.884.0777
 jhjohansen@btblaw.com
 On behalf of the PLAINTIFF:
 R. Patrick Gilmore
 NATIONAL AMERICAN INSURANCE COMPANY
 1010 Manvel Avenue
 Chandler, Oklahoma 74834
 405.258.4262
 pgilmore@naico.com
 (Appearances continued on Page 2.)
 REPORTED BY:   Jody Graham, CSR, RPR, RMR, CRR


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       PR#119220                                MARSHALL, ANITA                               2/28/2017
 1       Q And when you were underwriting the policy          1      A I would -- I would decline it as an
 2   that we're here about today, you knew that Concrete      2   underwriter.
 3   operated heavy tractor-trailers; right?                  3      Q If what?
 4       A They had it listed on the schedule.                4      A If it was for-hire.
 5       Q Okay. So you knew that. And did you also           5      Q Why?
 6   know that they operated in interstate commerce?          6      A Because we don't do for-hire trucking.
 7       A That they traveled, yes.                           7      Q Well, do you do private trucking?
 8       Q Across state lines?                                8      A If they're hauling their own goods. A lot
 9       A Yes.                                               9   of companies do haul their own goods.
10       Q Okay. And what was your understanding about       10      Q Okay. So have you -- what's the difference
11   the radius of their operations?                         11   between for-hire motor carriage and private motor
12       A I believe the application said 50-mile            12   carriage other than who owns the goods that are on the
13   radius.                                                 13   truck?
14       Q Okay. And did you rely upon that in               14      A I don't know what you're asking me.
15   underwriting this policy?                               15      Q In your mind -- or, well, are you aware of
16       A Yes.                                              16   any material distinction between for-hire motor
17       Q If they had said that they had a 500-mile         17   carriage and private motor carriage from an insurance
18   radius, would you have written this policy?             18   risk perspective?
19         MR. JOHANSEN: Object to the form.                 19         MR. JOHANSEN: Object to the form.
20   Foundation, answer if you can.                          20   Foundation. You can answer if you can.
21         THE WITNESS: I don't know if it would have        21         THE WITNESS: I would say it would be a
22   changed anything. It might have.                        22   bigger -- greater exposure for-hire.
23       Q (BY MR.McMICKLE) Do you have any reason           23      Q (BY MR.McMICKLE) Okay. Why?
24   to believe it would have changed anything, or would     24      A More on-the-road exposure.
25   it have been the same?                                  25      Q So is that out of a -- is it your belief

                             10                                                        12

 1      A I believe it would have been the same.              1   that for-hire motor carriers are on the road more than
 2      Q Okay. Do you know the difference between            2   private motor carriers?
 3   for-hire motor carriage and private motor carriage?      3      A I would say in some instances.
 4      A Yes.                                                4      Q Okay. Can you give me any specific instance
 5      Q What's the difference?                              5   where you've had that experience?
 6      A The for-hire is goods of other people.              6      A No.
 7      Q Okay.                                               7      Q Okay. Are you aware that the for-hire motor
 8      A And private is your own goods.                      8   carrier drivers are subject to the same
 9      Q Does NAICO, when it does underwrite someone         9   hours-of-service regulations as the private motor
10   that operates as a motor carrier, does it distinguish   10   carrier drivers?
11   between for-hire motor carriers and private motor       11      A No.
12   carriers?                                               12      Q Okay. If that is, in fact, true, would your
13         MR. JOHANSEN: Object to the form.                 13   statement about more hours, would that -- what I'm
14   Foundation. Answer if you know.                         14   looking for is what is it that supports this argument
15          THE WITNESS: I don't understand what you're      15   or suggestion that for-hire is different because it
16   asking me.                                              16   involves more hours?
17      Q    (BY MR.McMICKLE) Have you ever seen NAICO       17         MR. JOHANSEN: Object to the form.
18   distinguish between insureds in terms of whether or     18   Foundation.
19   not they're a for-hire motor carrier versus a           19         THE WITNESS: I don't know.
20   private motor carrier?                                  20      Q (BY MR.McMICKLE) Okay. Have you ever
21      A I don't write trucking.                            21   seen anything in any underwriting guideline,
22      Q Okay.                                              22   bulletin, rule, et cetera within NAICO that says,
23      A Or for-hire.                                       23   "We don't insure for-hire motor carriers"?
24      Q Okay. So is the answer you've never seen           24      A I don't know.
25   any distinction?                                        25      Q Have you ever had any discussion with

                             11                                                        13
                                                                                        4 (Pages 10 to 13)




                                                       EXHIBIT 10
Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 86 of 91
      PR#119220                           MARSHALL, ANITA                                    2/28/2017
 1      A For-hire?                                           1   Foundation. You can answer if you can.
 2      Q -- for-hire at least being rated.                   2          THE WITNESS: I don't know.
 3      A No. Then I misunderstood the question.              3       Q (BY MR.McMICKLE) I'm going to show you
 4      Q Okay. How do you know that the rating for           4   Exhibit KK. Is that a document you're familiar
 5   for-hire motor carriers is different or higher than      5   with?
 6   for private motor carriers?                              6       A Yes. These are in the file.
 7      A I don't.                                            7       Q Okay. And are these -- on page 2, is that
 8      Q Okay. When NAICO -- and you want to talk            8   the checklist that you and/or Misty Molloy were to
 9   about somebody that's operating as a long-haul           9   follow with regard to the renewal of this policy?
10   trucker, okay, with "long-haul" being the word I'm      10          MR. JOHANSEN: Object to the form.
11   trying to define. How do you define long-haul?          11          THE WITNESS: This was a renewal process
12         MR. JOHANSEN: Object to the form.                 12   checklist.
13   Foundation. Answer if you can.                          13       Q (BY MR.McMICKLE) Okay.
14         THE WITNESS: Over 200 miles.                      14       A Not every item has to be done on every file.
15      Q (BY MR.McMICKLE) So if somebody told you           15       Q Well, how do you know which items have to be
16   that they're regularly going 150 miles, that            16   done and which items don't have to be done?
17   wouldn't be long-haul for you?                          17       A During the renewal process you should be
18      A No.                                                18   able to tell when you have the file in front of you.
19      Q Okay. If somebody were to tell you that,           19       Q Okay. Would there be some communication
20   "Our normal radius of operations is, say, 150 miles,"   20   from you to Misty Molloy about, "Hey, I know the list
21   would that suggest to you that there were occasions     21   says all these things, but only do a certain subset of
22   that they went beyond the 150 miles?                    22   those things"?
23      A I don't know how I'd know that.                    23       A No.
24      Q Okay. Did you know at the time that you            24       Q Okay. How is it that you communicate to
25   underwrote the policy that's at issue that Concrete     25   Misty Molloy that some of the things that she's tasked

                          18                                                           20

 1   operated in multiple states and had a radius -- a        1   with here she doesn't have to do?
 2   normal radius of operations of 150 miles?                2       A It's part of their training as an assistant.
 3      A Not at the initial underwriting.                    3       Q Okay. And is that training anything that
 4      Q If you had known that at the initial                4   might be in writing?
 5   underwriting, would you have issued this policy?         5       A No. That's what this checklist process is,
 6          MR. JOHANSEN: Object to the form.                 6   is for an assistant to be able to look at the document
 7   Foundation. You can answer if you can.                   7   and determine what needs to be done to renew the file.
 8          THE WITNESS: For ABC Concrete?                    8       Q Okay. So some of these things need to be
 9      Q (BY MR.McMICKLE) Correct.                           9   done and some of these don't?
10      A Hauling Concrete products? Their own goods?        10       A That's correct.
11      Q (Nodding head.)                                    11       Q All right. And Misty Molloy is to do some
12      A I don't think that it would have made any          12   of these things and not do some of these things based
13   difference if they occasionally went over the 50-mile   13   upon her experience and training?
14   radius.                                                 14       A That's correct.
15      Q Well, you were told in the loss control            15       Q All right. So, for example, was she
16   survey that the normal radius of operations was         16   supposed to get a Safer report for this insured?
17   150 miles; right?                                       17       A This file didn't have a Safer report in it
18          MR. JOHANSEN: Object to the form.                18   initially or a filing, therefore she wouldn't have
19   Foundation. You can answer if you can.                  19   ordered one at renewal.
20          THE WITNESS: After --                            20       Q Okay. So you're saying by her experience
21      Q (BY MR.McMICKLE) I wasn't through with my          21   and training she knew that a Safer report was not
22   question. If you had known that when you were           22   needed?
23                                                           23       A She would not have pulled one.
     underwriting this policy, would you have issued the
24                                                           24       Q Okay. I mean, is that, like, a direction
     policy?
25          MR. JOHANSEN: Object to the form.                25   from you; or is that just something she would have

                          19                                                           21
                                                                                       6 (Pages 18 to 21)




                                                EXHIBIT 10
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      PR#119220                            MARSHALL, ANITA                                    2/28/2017
 1          Did you ask any questions about what               1   that the long-haul trucking operation is conducted
 2   "separate operation" meant?                               2   under the same name, would you have issued this
 3      A I didn't ask any questions about it.                 3   policy?
 4      Q Okay. Did you assume that that meant a               4      A We wouldn't.
 5   separate company, separate legal entity?                  5      Q So the answer's no?
 6      A I understood it that way, yes.                       6      A No. We would have declined.
 7      Q Okay. I want you to flip over to                     7      Q Do you feel like -- well, let's leave it
 8   Exhibit GG. I tell you what, before we -- well, we'll     8   there. And is it -- let's see. Exhibit XX. Is
 9   go there. Put this pencil there.                          9   Exhibit XX an email chain or exchange you had with
10          MR. JOHANSEN: Did you say you were on GG?         10   Nichole Cottington?
11          MR.McMICKLE: Correct.                             11      A Yes.
12      Q (BY MR.McMICKLE) Do you consider Woods              12      Q And were you, in fact, looking at ABC
13   Insurance Agency to be a representative of both          13   Concrete's website around December 19 of 2012?
14   NAICO and the insured?                                   14      A The email says I did. I don't remember it
15      A Yes.                                                15   specifically.
16      Q Okay. And would you expect Woods to                 16      Q Okay. Does that refresh your recollection?
17   communicate to you information that it had regarding     17   We're looking at Exhibit X.
18   Concrete operations that was material to the risk?       18         MR. JOHANSEN: Object to the form. Lack of
19      A Yes.                                                19   foundation, misleading.
20      Q Okay. Read through Exhibit GG, just this            20         MR.McMICKLE: Just asking if she's seen it.
21   top part, if you will. And I'll submit to you just to    21      Q (BY MR.McMICKLE) Have you seen Exhibit X?
22   kind of get you going, is that Amanda Gill is            22      A I saw it yesterday.
23   responding to Nichole Cottington. Do you know who        23      Q Okay. Well, we asked -- was this in your
24   that is?                                                 24   underwriting file?
25      A Yeah. She's a CSR at Woods.                         25      A At what time was it in our underwriting

                          26                                                            28

 1       Q Okay. And what's happened is Nichole                1   file?
 2   Cottington has pushed out a email looking for somebody    2       Q Okay. You told me earlier today that the
 3   to provide coverage to Concrete. And this lady,           3   only documents you reviewed are documents in your
 4   Amanda Gill, at EMC is responding; okay? Read that        4   underwriting file; right?
 5   first paragraph there or the first two paragraphs.        5       A That's correct. I -- you know, you have to
 6       A (Witness complies.)                                 6   click on a document and open it up. I did not click
 7       Q Look at the date on that, if you would.             7   on every single document and open it up so I couldn't
 8       A (Witness complies.)                                 8   tell you if that is in our file or not.
 9       Q That's November 10th; right?                        9       Q Okay. I'm sorry. I thought --
10       A Correct.                                           10       A That I reviewed.
11       Q And then on November 26th, so couple weeks         11       Q I thought I understood you to just say that
12   later, she sends somebody at NAICO this email that's     12   you saw this document that's Exhibit X yesterday.
13   Exhibit Q. Does that appear to be the case?              13       A Yesterday.
14       A Yes.                                               14       Q Is that true?
15       Q Okay. So in Exhibit GG she is specifically         15       A Yes, it is.
16   told by EMC that the trucking operation -- the           16       Q Okay. And did you that see while you were
17   long-haul trucking operation is conducted under the      17   looking in the underwriting file as you described
18   same name. Do you see that?                              18   earlier?
19       A I do see it.                                       19          THE WITNESS: When I was reviewing --
20                                                            20          MR. JOHANSEN: What time are you talking
         Q But here she says it's a separate operation.
21                                                            21   about because you're trying to mislead the witness
     Is that misleading to you?
22          MR. JOHANSEN: Object to the form.                 22   here.
23                                                            23          MR.McMICKLE: You need to be careful about
     Foundation.
24                                                            24   what you claim.
            THE WITNESS: I wasn't aware of it.
25                                                            25          MR. JOHANSEN: Yeah. Well, no, I'm claiming
         Q (BY MR.McMICKLE) If you had been aware

                          27                                                            29
                                                                                        8 (Pages 26 to 29)




                                                EXHIBIT 10
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       PR#119220                                MARSHALL, ANITA                               2/28/2017
 1      A I did not.                                           1   the Federal Motor Carrier Safety Administration,
 2      Q Did you follow up with anybody at Woods to           2   would you have written this policy?
 3   your recollection about five semi trucks that deliver     3       A Yes.
 4   products all over the United States?                      4       Q Okay. If you had known that ABC Concrete
 5      A I did not.                                           5   represented to the FMCSA that its trucks operated
 6      Q Okay. Did you ever run any MVRs for the              6   approximately 210,000 miles -- let's say this was 2013
 7   Concrete drivers?                                         7   or '14. It says '15, but just assume that there was a
 8      A I don't run MVRs, and I don't remember               8   Safer report that says 210,000 miles in 2013 or '14;
 9   seeing any in file.                                       9   okay? If you had seen that, would you have issued
10      Q Okay. Why don't you flip over. If we go to          10   that policy?
11   Exhibit R. Does Exhibit R appear to be an                11       A I didn't see it prior to.
12   application?                                             12       Q Okay. And I understand that. What I'm
13      A It's a contractor supplemental.                     13   saying is if you had seen it.
14      Q Is this something that you would have relied        14           MR. JOHANSEN: Object to the form.
15   upon in the underwriting process?                        15   Foundation.
16         MR. JOHANSEN: Object to the form.                  16       Q (BY MR.McMICKLE) You can answer.
17   Foundation.                                              17       A I don't know that it would have made a
18         THE WITNESS: Sometimes we get this prior to        18   difference.
19   underwriting a file. Sometimes it's given at binding,    19           MR. JOHANSEN: While you're doing that,
20   information.                                             20   let's take a break for a few minutes.
21      Q (BY MR.McMICKLE) Okay. Have you ever                21           (A recess was taken from 2:00 PM to
22   seen NAICO use a radius exclusion?                       22   2:09 PM.)
23      A Never seen it.                                      23       Q (BY MR.McMICKLE) Was it important to you
24      Q Okay. Have you ever heard of NAICO using a          24   in the underwriting of this policy that Concrete
25   radius exclusion?                                        25   identify all trucks that it owned in the

                             34                                                         36

 1      A I've never heard of it.                              1   application?
 2      Q Do you know what I'm talking about when I            2       A Yes.
 3   say a "radius exclusion"?                                 3       Q Okay. Why was that important?
 4      A No, I don't.                                         4       A I believe it's on the application.
 5       Q Okay. Have you ever seen an exclusion for           5       Q Okay. I understand it's in the application.
 6   for-hire trucking that says, "We don't cover a loss if    6   We can find it if we want to, but I figured you'd
 7   it involves for-hire trucking"?                           7   know. But my question is is why is it important?
 8       A Have I ever seen it? No.                            8       A I guess I don't understand the question.
 9      Q Okay. Have you ever heard of any kind of             9       Q Okay. Why is it important to NAICO that the
10   exclusion or endorsement like that?                      10   insured tell NAICO -- or that an insured identify all
11      A No.                                                 11   vehicles that it owns in the application that it
12      Q I'm going to show you what's been marked as         12   submits to NAICO?
13   Exhibit T. And I'll submit to you that this is some      13       A To get the correct premium to know what your
14   Safer data on ABC Concrete. If you had known that ABC    14   exposure is.
15   Concrete had private authority to operate in             15       Q Okay. Will you pull out Exhibit OO. It's
16   interstate commerce from the Federal Motor Carrier       16   somewhere over there.
17   Safety Administration, would you have issued this        17          MR. JOHANSEN: There aren't very many
18   policy?                                                  18   exhibits there. I've got my OO, but where are the
19         MR. JOHANSEN: Object to the form.                  19   rest of the exhibits?
20   Foundation. You can answer if you can.                   20          THE REPORTER: It's in there.
21         THE WITNESS: I don't understand what you're        21          MR. JOHANSEN: I have it. Sorry.
22   asking.                                                  22       Q (BY MR.McMICKLE) So there's Exhibit OO.
23                                                            23   Is that an email with an application that you relied
        Q (BY MR.McMICKLE) If, when you underwrote
24                                                            24   upon in issuing this policy?
     this policy or issued this policy, you had known
25                                                            25       A It looks like it.
     that Concrete had private interstate authority from

                             35                                                         37
                                                                                       10 (Pages 34 to 37)




                                                      EXHIBIT 10
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      PR#119220                           MARSHALL, ANITA                                             2/28/2017
 1                                                            1   Foundation.
        Q Bear with me one second while I get to a
 2   page. Okay. Do you see the bottom right-hand corner      2          THE WITNESS: Seven.
 3   there's some numbers. Will you go to 3638, please.       3          MR. JOHANSEN: Go ahead and answer if you
 4      A (Witness complies.)                                 4   can.
 5      Q Okay. Do you see that? There at the bottom          5          THE WITNESS: Seven, 8 and 9.
 6   talks about some general information?                    6      Q      (BY MR.McMICKLE) That's what you would
 7      A Yes.                                                7   have issued?
 8      Q And is that general information material to         8      A On auto liability, symbol 7.
 9   your underwriting process?                               9      Q Okay. And 8 and 9?
10      A Yes.                                               10      A Yes.
11      Q Okay. So, for example, it says, "Are any           11      Q Okay. Would you -- or is it fair for
12   vehicles leased to others?" And it says, "No." Do       12   Concrete to expect that Woods would communicate to
13   you see that, number 4?                                 13   NAICO what Doug Murray at Concrete had communicated to
14      A Yes.                                               14   Woods about Concrete's operations?
15      Q If, in fact, Concrete had leased trucks to         15          MR. JOHANSEN: Objection. Form, foundation.
16   others, would that have been material to the            16          THE WITNESS: I rely on the information the
17   underwriting process?                                   17   agent provides.
18      A They're supposed to explain all "yes"              18      Q      (BY MR.McMICKLE) Okay. And do you feel
19   responses.                                              19   like Woods was either not completely forthright or
20      Q Okay. If they had told you that they were          20   in some way misled NAICO in the underwriting of this
21   leasing trucks to others, would you have still issued   21   policy?
22   this policy?                                            22          MR. JOHANSEN: Objection. Form, foundation.
23         MR. JOHANSEN: Object to the form.                 23          THE WITNESS: I don't know.
24   Foundation.                                             24      Q      (BY MR.McMICKLE) Okay. Based upon what
25         THE WITNESS: I have no way of knowing.            25   we saw in Exhibit GG and what they told you in

                          38                                                                40

 1       Q (BY MR.McMICKLE) Okay. Number 6 says,              1    Exhibit R -- excuse me, Exhibit Q -- do you remember
 2   "Are ICC, PUC or other filings required?" It says,       2    that where we talked about separate operations and
 3   "Yes." Do you see that?                                  3    Exhibit G where they said it was under the same
 4       A Yes, I do.                                         4    operation?
 5       Q Do you recall there being any kind of              5           MR. JOHANSEN: Objection.
 6   discussion between you and the agent about filings?      6       Q (BY MR.McMICKLE) Do you feel like that
 7       A No.                                                7    was misleading?
 8       Q Would you have followed up on that since it        8           MR. JOHANSEN: Object to the form,
 9   said, "Yes"?                                             9    foundation.
10       A No.                                               10           THE WITNESS: I don't know what their intent
11       Q Okay. Now, over there at number 13 it says,       11    was.
12   "Are any vehicles owned but not scheduled in this       12       Q (BY MR.McMICKLE) Okay. If you -- do you
13   application?" It says, "No." If they had said,          13    feel like they should have told you that information
14   "Yes," what would have happened next?                   14    that was in Exhibit GG?
15           MR. JOHANSEN: Object to the form.               15           MR. JOHANSEN: Object to the form.
16   Foundation. You can answer if you can.                  16    Foundation. You can answer if you can.
17           THE WITNESS: We would have changed the auto     17           THE WITNESS: I don't know what their intent
18   liability symbol --                                     18    was.
19       Q (BY MR.McMICKLE) What would the auto              19       Q (BY MR.McMICKLE) I'm not asking about
20   liability sym --                                        20    their intent. Is that something you would have
21       A -- to a specific -- a 7.                          21    liked to have known?
22       Q A symbol 7?                                       22       A Well, I was relying on this email
23       A Yeah.                                             23    information sheet to provide them.
24       Q Would you have included a symbol 8?               24       Q Okay. But would you have liked to have
25           MR. JOHANSEN: Object to the form.               25    known that, in fact, the long-haul trucking

                          39                                                                41
                                                                                          11 (Pages 38 to 41)




                                                EXHIBIT 10
                          Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 90 of 91
             National American Insurance Company v. ABC Concrete Mfg. Co., Inc., et al.                               November 29, 2017
             Patrick Gilmore                                                                                    NO: 1:15:CV-01169-KBM



                                                                                                                          Page 1
                                         IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF NEW MEXICO

                             NATIONAL AMERICAN INSURANCE COMPANY,
                                     Plaintiff,
                             -vs-        NO: 1:15:CV-01169-KBM

                             ABC CONCRETE MFG. CO., INC,; ABC CONCRETE MFG. CO., INC.
                             d/b/a ABC SEPTIC SYSTEMS, INC.; NICHOLAS MONTANO; and
                             NATIONAL CASUALTY COMPANY,

                                       Defendants.



                                   DEPOSITION OF PATRICK GILMORE
                                    November 29, 2017
                                    4:05 p.m.
                                    4101 Indian School Road, Northeast
                                    300 S
                                    Albuquerque, New Mexico 87110
                               PURSUANT TO THE FEDERAL RULES OF CIVIL
                             PROCEDURE, this deposition was:
                             TAKEN BY: SCOTT W. MCMICKLE
                                 ATTORNEY FOR NATIONAL CASUALTY COMPANY

                             REPORTED BY: Ruth A. Elwell
                                  CCR-RPR
                                  Trattel Court Reporting & Videography
                                  609 12th Street, Northwest
                                  Albuquerque, New Mexico 87102




                                                                     Trattel Court Reporting & Videography
                                                                                  505-830-0600

                                                                           EXHIBIT 11
Electronically signed by Ruth Elwell (501-067-367-6980)                                                      e44eb372-19db-443a-b420-0c38d22eb0bb
                          Case 1:15-cv-01169-KG-KBM Document 80-1 Filed 02/07/18 Page 91 of 91
             National American Insurance Company v. ABC Concrete Mfg. Co., Inc., et al.                                                            November 29, 2017
             Patrick Gilmore                                                                                                                 NO: 1:15:CV-01169-KBM


                                                                           Page 34                                                                         Page 36
                 1     681?                                                                1     guess if what you're telling me is you're saying that he put
                 2     A. Yes.                                                             2     it on formal letterhead and called it a conclusive legal
                 3     Q. I mean, basically says he believes that "the Court               3     opinion I don't see those words and I don't see that.
                 4     will conclude the Scottsdale policy is excess to the NAICO          4     A. No. That's not my point.
                 5     policy"; correct?                                                   5     Q. Fair enough.
                 6     A. That's what that says. If you're asking me if that's             6     A. That's not my point. My point is he says it's his
                 7     correct that's what it says. That's what it says, yes.              7     initial thoughts. And that's what it was. When he says
                 8     Q. Yes. I'm not -- yes. Okay. And then he goes on to                8     that, he's asking for more discussion on it.
                 9     say that he reached this conclusion because he believes             9     Q. So -- do you have Exhibit WW in front of you?
                10     Concrete is not a motor carrier for-hire; correct?                 10     A. Yes.
                11     A. I think, right. Yeah, he says Concrete is not a motor           11     Q. Will you look at Page 359 Bates number. It's the
                12     carrier for-hire.                                                  12     fourth page.
                13     Q. Okay. What's Ryan's position in the company?                    13     A. Yes.
                14     A. He's associate general counsel.                                 14     Q. So you say there -- or Dick Harrison says there at the
                15     Q. Okay. And you would agree with me that then, as now,            15     top, "Our preliminary examination indicates that the
                16     you believed that the NAICO policy would provide coverage          16     freightliner is not listed among the autos to be covered by
                17     for the tractor involved in the accident unless the policy         17     the NAICO policy." Okay.
                18     was reformed; correct?                                             18     A. It doesn't say exactly that. But...
                19     A. Yes. The way you phrased the question, "the tractor             19     Q. Well, it says what it says. I'm just trying --
                20     involved in the accident," there was also a trailer, and you       20     A. I'm reading it.
                21     have other issues that arise out of that. But I agree with         21     Q. I'm not going to suggest -- try to get a witness to
                22     what you're wanting me to agree with.                              22     say it says something different. I'm trying to get through
                23     Q. I purposely didn't include the trailer because --               23     it.
                24     A. That's a whole different thing.                                 24     A. Right.
                25     Q. I know that it's probably something that's just a               25     Q. Again, your policy is Symbol 1 policy. So the tractor


                                                                           Page 35                                                                         Page 37
                 1     whole other tangent for us. Okay. Because the tractor is            1     was a covered auto under your policy; correct?
                 2     what's important for this discussion. Would you agree?              2     A. Unless the policy is reformed.
                 3     A. Right.                                                           3     Q. Right. So the fact that it might not have been listed
                 4     Q. Okay. So --                                                      4     among the autos to be covered by the NAICO policy until some
                 5     A. Provides coverage for liability.                                 5     period of time after the accident is irrelevant to the
                 6     Q. Of the named insured and whoever? Any permissive                 6     coverage discussion.
                 7     user; right?                                                        7     A. Not irrelevant, no.
                 8     A. Right. But not the physical damage.                              8     Q. How is it relevant?
                 9     Q. None of my questions relate to physical damage. Okay.            9     A. Because after the accident they asked that it be
                10     Yeah. So May 4 of '15, your son, the associate general             10     listed on the policy for purposes of calculating the premium
                11     counsel, has sent this e-mail indicating his beliefs as to         11     and, also, for physical damage purposes. It also indicates
                12     whether or not there's coverage and who's primary.                 12     that they perhaps had a changed use for the vehicle. It
                13     A. It's his initial thoughts. I have to keep going back            13     indicates any number of things, but it's not irrelevant.
                14     to that, because there was also a meeting that was scheduled       14     Q. I mean, it has no impact, however slight, in terms of
                15     to talk about the initial thoughts.                                15     whether or not the tractor was covered at the time of the
                16     Q. All right.                                                      16     accident; correct?
                17     A. And that's much different than him giving an opinion.           17     A. Correct.
                18     Because this is not an opinion that he -- where he responds.       18     Q. All right. So even though Ryan Gilmore had at least
                19     This is where he's saying -- and that's what got my                19     initial thoughts concluding that NAICO not only provided
                20     attention. He's saying here are my initial thoughts; here's        20     coverage but also was primary, and Dick Harrison had prior
                21     what I think. So it's different than an opinion. But I             21     to that concluded there was coverage under your policy,
                22     will agree with you that these are his initial thoughts.           22     NAICO rejected the tender that Ms. Krmpotic made to NAICO;
                23     Q. Okay. And I'm not going to quibble with you about --            23     correct?
                24     I mean, he says what he believes, and somebody out there           24     A. Yes.
                25     could say, Well, in some context that's an opinion. But I          25     Q. Okay.



               10 (Pages 34 to 37)
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                                                                                  505-830-0600

                                                                           EXHIBIT 11
Electronically signed by Ruth Elwell (501-067-367-6980)                                                                                e44eb372-19db-443a-b420-0c38d22eb0bb
